     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 1 of 186 Page ID #:1049



1     Lenore L. Albert, Esq. SBN 210876
2     LAW OFFICES OF LENORE ALBERT
      1968 S. Coast Hwy #3960
3     Laguna Beach, CA 92651
4     Telephone (424)365-0741
      Email: lenalbert@InteractiveCounsel.com
5
      Attorney for Plaintiffs, John Roe 1, Jane Roe 1,
6     Jane Roe 2, Jane Roe 3, and John Roe 2, on behalf of
7      themselves and all others similarly situated
8                             UNITED STATES DISTRICT COURT
9
                            CENTRAL DISTRICT OF CALIFORNIA
10
11    JOHN ROE 1, an individual; JANE ROE 1, CASE NO. 22-cv-00983-DFM
12    an individual; JANE ROE 2 an individual;
      JANE ROE 3, an individual, JOHN ROE 2, Assigned to Hon. Douglas F. McCormick
13    on behalf of themselves and all others   Complaint filed: 03-18-2022
14    similarly situated,
15                              Plaintiff,             DECLARATION OF KEVAN
      vs.                                              SCHWITZER FILED IN SUPPORT
16                                                     MOTION FOR PRELIMINARY
17    THE STATE BAR OF CALIFORNIA;                     INJUNCTION
18    TYLER TECHNOLOGIES, INC.; KEVAN
      SCHWITZER; RICK RANKIN; and DOES Hearing Date: September 15, 2022
19
      4 through 10, inclusive,             Time: 2:00PM
20                             Defendants. Crtm: 6B
21
22
23
24
25
26
27
28
                                                       1
      DECLARATION OF KEVAN SCHWITZER FILED IN SUPPORT MOTION
      FOR PRELIMINARY INJUNCTION
                  Roe v The State Bar of California, et al.     22-CV-00983-DFM
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 2 of 186 Page ID #:1050

 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


                             AFFIDAVIT OF KEVAN SCHWITZER

                 I, Kevan Schwitzer, state and affirm as follows:

         1.      I am over eighteen (18) years of age and have personal knowledge of the facts and

 circumstances stated in this affidavit, and if called upon to testify as a witness, I would testify to

 these facts.

 Kevan Schwitzer Background Information

         2.      I am a software engineer who resides in Irving, Texas.

         3.      I studied finance for several years in college at the University of Iowa. Although I

 did not graduate, I also began learning computer programming while in college.

         4.      I have been learning and working in the field of computer programming for over

 10 years now and am currently employed as a software engineer at a company that provides

 software to the utility industry.

         5.      I am the creator, owner, and operator of judyrecords.com (“judyrecords”).

 judyrecords is a completely free nationwide public records search engine with over 600 million

 United States court cases and other public records.

 judyrecords.com Background Information

         6.      I first began collecting public records for judyrecords in 2014 and launched the site

 in August 2020. The search engine includes records pulled from hundreds of public records

 databases.

         7.      I built the automated program that judyrecords uses to pull public records from

 publicly maintained records databases.

         8.      judyrecords uses MySQL for the database, Elasticsearch for the search function,

 and the automated program mainly uses PHP code.



                                                           1
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 3 of 186 Page ID #:1051

 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


        9.        The public records systems that judyrecords pulls records from can largely be

 divided into two categories, which I call “Type I” and “Type II” Systems. The following

 information regarding these types of Systems and these definitions are based on my personal

 experiences downloading public records from many public record databases.

 Type I Systems

        10.       Type I Systems provide simple and straightforward access to the records

 maintained and hosted in the database.

        11.       Type I Systems typically use straightforward URLs (uniform resource locators) that

 are tied to a standardized case identification number (“Case ID Numbers”) and allow for a variety

 of search types, including for example, simply searching date filed to retrieve all the cases in a

 certain date range. These straightforward URLs and searches allow an automated program, like

 the one used by judyrecords, to collect records contained in the database by simple and

 straightforward means.

        12.       Examples of Type I Systems are those used by the Oklahoma Statewide Courts, the

 United States Patent and Trademark Office, the United States Trademark Trial and Appeal Inquiry,

 and the Supreme Court of the United States.

 Type II Systems

        13.       Type II Systems make access to the records maintained and hosted in the database

 much more difficult.

        14.       Type II Systems limit the ability to search for broad categories of records, use

 randomized URLs that are a string of letters and numbers that are not standardized, and use other

 methods such as CAPTCHA to slow down records collection. These types of systems make it




                                                  2
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 4 of 186 Page ID #:1052

 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


 much more difficult for an automated program to collect records maintained in the database by

 simple and straightforward means.

        15.     Examples of Type II Systems are those used by the California State Bar, the Kansas

 Statewide Courts, the Kane County, IL Courts, and the Dekalb County, GA Courts.

        16.     The aforementioned examples of Type II Systems were all designed and maintained

 by Tyler Technologies, Inc. (“Tyler Tech.”). Tyler Tech. calls these public records portals

 “Odyssey.”

        17.     Despite the roadblocks that Odyssey systems can present for the collection of public

 records, these roadblocks can be dealt with.

        18.     For example, although the Tyler Tech. Odyssey systems used randomized URL

 strings rather than more straightforward Case ID Numbers, the Tyler Tech. Odyssey systems used

 the exact same randomized URL strings for the same Case ID Numbers in each of the public

 records systems maintained by Tyler Tech.

        19.     The Application Programming Interface (“API”) data returned by each Tyler Tech.

 search result made it apparent (via publicly-returned API results) that Tyler Tech used the exact

 same randomized URL strings for the same Case ID Numbers in each Tyler Tech. Odyssey system.

        20.     This pattern allowed the automated program used by judyrecords to directly access

 each individual case record in a Tyler Tech. Odyssey system without entering search terms into

 the portal for a public records database using the Odyssey system.

        21.     This method is similar to accessing a sub-page of a website by entering the URL of

 the specific sub-page rather than first going to the homepage and then clicking the link to take you

 to the subpage.




                                                  3
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 5 of 186 Page ID #:1053

 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


 judyrecords Collection of California Bar Attorney Discipline Records

         22.      On or about October 15, 2021, judyrecords began to collect records using the

 automated program, using the pattern in Tyler Tech. Odyssey systems mentioned above.

 Specifically, the automated program began to directly access California Bar disciplinary records

 (“California Bar Disciplinary Records”) available on the Odyssey system designed and maintained

 by Tyler Tech.

         23.      The California Bar Disciplinary Records that the automated program accessed were

 located at: https://discipline.calbar.ca.gov/Portal/Home. The access port for all requests was port

 443, as this is the port for all traffic using a URL that beings with “https://”. This port ensures that

 any traffic to access the website is secure at the message transport level. The URLs that the

 automated program directly accessed were an API that returned HTML pages.

         24.      The automated program was designed to only access and pull publicly available

 information and records. The automated program does not have any method or ability to bypass

 access control checks. The automated program also does not have any capability to de-encrypt

 records that it retrieves.

         25.      If a record intended to be non-public performs an access control check, judyrecords’

 automated program will not be able to collect the record and will move on to the next record.

         26.      The California Bar Disciplinary Records Odyssey System, designed and

 maintained by Tyler Tech., did not perform access control checks when the automated program

 directly accessed the individual records.

         27.      As the Odyssey system that Tyler Tech. designed and maintained did not perform

 access control checks upon these requests, the automated program was able to collect




                                                    4
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 6 of 186 Page ID #:1054

 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


 approximately 48,000 intended-to-be-public California Bar Disciplinary Records as well as

 approximately 322,000 intended-to-be-non-public California Bar Disciplinary Records.

        28.     After the automated program finished its collection of the California Bar

 Disciplinary Records, I performed a brief quality control check of the records retrieved.

        29.     I do not recall the number of records that I briefly reviewed, but if I followed my

 standard practices, I likely briefly viewed between twenty and thirty of the California Bar

 Disciplinary Records for the sole purpose of performing a quality control check to ensure that the

 automated program had properly collected the records and to see if there were any other issues.

        30.     I do not recall the exact records I briefly reviewed for quality control, nor do I recall

 any specific information contained in those records. I did not take notes on or otherwise record

 any information from the records I briefly reviewed. After my quality control check and making

 the California Bar Disciplinary Records available on judyrecords, until the evening of February

 26, 2022, I did not take any other action with respect to the records I briefly reviewed or

 information they contained.

        31.     Of the California Bar Disciplinary Records I briefly reviewed, the records only

 contained docket information as displayed by the Odyssey system, I did not see any underlying

 documents, and I saw no indication that the records retrieved were anything other than records

 intended to be publicly available.

        32.     As the quality control check did not reveal any issues or concerns with the public

 records the automated program had collected, the approximately 370,000 California Bar

 Disciplinary Records were added to the judyrecords website.

        33.     Making direct case requests is the process I have followed for many other public

 records databases that constitute the hundreds of millions of public records available on




                                                   5
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 7 of 186 Page ID #:1055

 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


 judyrecords. To name a few, judyrecords makes available records from Oklahoma Statewide

 Courts, Wisconsin Statewide Courts, the District of Columbia Court of Appeals, Nevada Supreme

 & Appellate Courts, Clayton County GA Courts, Cobb County GA Courts, Shawnee County

 Kansas Courts, the Texas Department of Corrections, the Iowa Department of Corrections, the

 United States Trademark Trial and Appeal Inquiry and the United States Patent and Trademark

 Office. Despite using direct case requests for these public records databases, to this point issues of

 non-public records being available on judyrecords have not occurred.

         34.     The information contained within the records that were published on judyrecords

 was the information that had been available on the Odyssey system case details page. This

 information included at least the case title and the parties involved, but the California Bar would

 know what information was available for specific records or types of records.

         35.     Upon information and belief, based on information conveyed by the California Bar,

 the case details page for records intended to be public contained more information than records

 intended to be nonpublic.

 Discovery of California Bar Disciplinary Records Intended to be Nonpublic on judyrecords

         36.     The evening of February 26, 2022, I discovered allegations from online reports that

 judyrecords had “hacked” the California Bar Disciplinary Records database after googling

 judyrecords for recent mentions of the site on the Internet. I first discovered a news story1 and also




 1
          See https://web.archive.org/web/20220227032659/https:/www.pe.com/2022/02/26/260000-confidential-
 attorney-discipline-records-published-after-data-breach-state-bar-says/


                                                      6
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 8 of 186 Page ID #:1056

 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


 tweets2 from the same journalist. After reading this news story, I also found the press release3 the

 California State Bar had released.

         37.     Immediately after reading the news article, tweets, and press release, I removed all

 the California Bar Disciplinary Records in the judyrecords search index and then contacted the

 California Bar to address the issue. In my initial contact I informed the California State Bar that

 all of the California Bar Disciplinary Records accessed and pulled by the automated program and

 subsequently published by judyrecords had been publicly available.

         38.     The morning of February 28, 2022, as reflected in the emails and other documents

 accompanying this affidavit, I met with the California Bar to discuss the incident. The people at

 that meeting were Rick Rankin, the California Bar Chief Information Officer, Nick Albright, an

 IT security consultant from Emagined Security, and Steve Mazer, the California Bar’s Chief

 Administrative Officer. At that meeting the California Bar stated that, based on their investigation,

 their current belief was that there had not been an unlawful or malicious hack, and they wanted to

 quickly understand more about how these records were available to judyrecords.

         39.     Over the course of several subsequent communications, I shared the details of the

 direct access method and we concluded together that the California Bar Disciplinary Records

 Odyssey System, as designed and maintained by Tyler Tech., did not perform access control

 checks when the automated program, or anyone else, directly accessed California Bar Disciplinary

 Records with the direct URL.




 2
          See
 https://web.archive.org/web/20220423200147/https://twitter.com/TheChalkOutline/status/1497769824474128386
 and at
 https://web.archive.org/web/20220423200429/https://twitter.com/TheChalkOutline/status/1497791192049717248.
 3
          See https://web.archive.org/web/20220227005845/https:/www.calbar.ca.gov/About-Us/News/News-
 Releases/state-bar-of-california-addresses-breach-of-confidential-data.


                                                      7
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 9 of 186 Page ID #:1057

 Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


        40.    This lack of access control checks in Tyler Tech’s Odyssey system meant that

 California Bar Disciplinary Records that were intended to be nonpublic were in fact publicly

 accessible by any individual or program that entered the direct URL.

        41.    This ability to directly access intended-to-be-nonpublic California Bar Disciplinary

 Records via the direct URL combined with the lack of access control checks being performed by

 Tyler Tech.’s Odyssey system, meant that even though judyrecords’ automated program was

 designed and intended to only access publicly available records that were intended to be public,

 these intended-to-be-non-public records were inadvertently publicly available via this method.

 Corrective Actions Taken with California Bar

        42.    After the initial call with the California Bar, I began to work with Rick Rankin and

 Nick Albright to determine which California Bar Disciplinary Records intended to be nonpublic

 were retrieved by judyrecords and had been viewed on judyrecords, to remove the California Bar

 Disciplinary Records intended to be nonpublic from judyrecords, and to help the California Bar

 understand why this happened and how to mitigate and prevent any further publication of records

 intended to be nonpublic.

        43.     An examination of the records intended-to-be-nonpublic in the California Bar

 Disciplinary Odyssey System and records that had previously been available on judyrecords

 revealed that of the approximately 370,000 California Bar Disciplinary Records that the

 judyrecords’ automated program had collected, roughly 322,000 were intended to be nonpublic

 and roughly 47,000 were intended to be public.

        44.    Although all approximately 370,000 California Bar Disciplinary Records had been

 available on judyrecords, the California State Bar’s internal team and IT security consultants




                                                  8
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 10 of 186 Page ID #:1058

  Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


 determined, based on judyrecords Google analytics data and other page view data, that only

 approximately 1,034 of the records intended to be nonpublic showed evidence of a page view.

         45.    As substantiated by the documents and communications that I have produced

 contemporaneously with this affidavit, I was in contact with Rick Rankin and Nick Albright as

 we worked to resolve the issues as described in paragraphs 39 – 44.

         46.    I also communicated with Rick Rankin and Nick Albright through the encrypted

 messaging platform Signal. While I have produced some screenshots of these conversations, I may

 not have captured all of these communications through screenshots, and some may now have been

 deleted automatically by Signal.

         47.    Through our cooperation, testing, and collaboration, Rick Rankin, Nick Albright,

 and myself were able to further confirm that it was the lack of access control checks in Tyler

 Tech’s Odyssey system that had allowed the judyrecords automated program to collect records

 that the California Bar had intended-to-be-non-public and did not intend to allow to be publicly

 accessible. This cooperation, testing, and collaboration is substantiated by the documents and

 communications that I have produced concurrent with this affidavit.

 Corrective Actions Taken with Tyler Technologies

         48.     In addition to collaborating with the California State Bar and Emagined Security,

 I have also worked with Tyler Tech. to help them understand how the judyrecords automated

 program functioned and how records intended to be nonpublic were publicly available by their

 software through a lack of access control checks.

         49.    The primary individual at Tyler Tech. that I worked with was Jeremy Ward, a

 Senior Director of Systems Engineering for Tyler Tech.




                                                  9
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 11 of 186 Page ID #:1059

  Affidavit Executed in John Roe 1, et al v. The State Bar of California, et al


         50.     As with the California Bar, I have collaborated with Tyler Tech. and offered to

 remove records of Tyler Tech client jurisdictions that were intended to be nonpublic but were

 publicly available due to the lack of access control in the Tyler Tech. Odyssey system.

         51.     Judyrecords continues to collaborate with Tyler Tech. to mitigate further

 inadvertent exposure or publication of records that were intended-to-be-non-public.

         52.     My communications with Tyler Tech. were through the Kiteworks encrypted email

 platform. I have produced all of the records that I have access to, but it is possible that some

 communications and documents exchanged between Tyler Tech. and myself were no longer

 accessible from my end at the time I collected and preserved my documents and communications.

 It is possible Tyler Tech. may have additional responsive communications and documents that

 include myself.

         53.     In addition to communications through the Kiteworks encrypted email platform, I

 also initially communicated with Jeremy Ward on Reddit, and have provided screenshots of those

 communications.

 Miscellaneous

         54.     I have provided the public my thoughts, opinions, and information regarding my

 involvement in this matter on judyrecords, pdfs of which are produced concurrent with this

 affidavit. The representations I have made on these pages are consistent with the information

 contained within this affidavit, the documents and communications that I have produced, and are

 incorporated within this affidavit by reference through the date of the affidavit.

         55.     Although I have provided information and data related to this matter from

 judyrecords to the California Bar and Tyler Tech., at no time have I been involved in or have

 knowledge of any internal discussions, decisions, or actions taken regarding these California Bar




                                                  10
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 12 of 186 Page ID #:1060
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 13 of 186 Page ID #:1061
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 14 of 186 Page ID #:1062

5/3/22, 11:36 AM                                             What Happened With Tyler Technologies - judyrecords

                The night I learned of the issue, I'd immediately called out the CA State Bar saying that
                all the records accessed were publicly available (confidential & non-confidential).

                By Monday morning, however, the story had already hit local and national media.

                And (https://www.latimes.com/california/story/2022-02-27/california-bar-investigates-

                possible-data-breach-after-discipline-records-published-online) I

                (https://www.reuters.com/legal/legalindustry/california-bar-says-hack-exposed-1000s-

                attorney-discipline-cases-2022-02-28/) was (https://news.bloomberglaw.com/us-law-

                week/california-bar-disciplinary-lawyer-data-hack-under-investigation) a

                (https://finance.yahoo.com/news/california-bar-investigates-confidential-discipline-

                220622886.html) hacker

                (https://today.westlaw.com/Document/I73bd192098c311ec89d6c95015d2aa50/View/FullText.html?

                transitionType=CategoryPageItem&contextData=(sc Default)).

                In what can only be described as simultaneously the most bizarre and unbizzare meeting I
                have ever had, by the time the Monday morning meeting arrived, everyone already knew what
                the problem was. Direct case access did not perform any access control check before
                returning case data.

                Holy. Fucking. Shit.

                It's one of those things that almost doesn't compute, honestly. A security measure so
                fundamental, and without which the system can't even be called secure. There's no buildup
                or grand reveal on the technical side of things, if you were hoping for one.

                You might be wondering then, what's the most reliable way to size this up? What information
                available would have the highest liklihood of accurately reflecting what is actually true?

                And I would simply suggest looking at what happened in the following days.

                Tyler starts taking their portals offline accross the county. I disable the search on
                judyrecords, and disable all Tyler Technologies cases from direct access.

                Silence.



                The Great Retraction

                Given the severity of the software defect, I'd like to think it was an entirely foregone
                conclusion about what the Bar's response would be after the initial meeting.

                The California State Bar released the following statement that same day:

                     The State Bar has continued its investigation with the help of an IT
                     security firm, and has also been in contact with the owner of the
                     judyrecords site, who has been very responsive and collaborative. It is now
                     the State Bar’s belief that there was no malicious “hack” of its system.
                     Instead, it appears that a previously unknown security vulnerability in the
                     Tyler Technologies Odyssey case management portal allowed the nonpublic
                     records to be unintentionally swept up by judyrecords when they attempted to
                     access the public records, using a unique access method. The State Bar is
                     working with Tyler Technologies, the maker of the Odyssey system, to
                     remediate the security vulnerability, which we believe may not be unique to
                     the State Bar’s implementation and could impact other users of Odyssey
                     systems.


https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                   2/17


                                                                                                               Schwitzer000000908
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 15 of 186 Page ID #:1063

5/3/22, 11:36 AM                                             What Happened With Tyler Technologies - judyrecords

                Within the span of 48 hours, I had metamorphisized from an ordinary citizen to a hacker.
                And to an ordinary citizen, once more.

                The least biased reporting I've found up to this point here

                (https://followourcourts.com/2022/02/state-bar-case-website-exchange-allegations-over-data-

                illegally-made-public/).



                Requests, Requests, Requests

                At this point, you're undoubtedly wondering about this "unique access method" described
                above. Any funny business going on there?

                The short answer, is yes.

                But only from the court systems themselves, actually, not from me.

                Broadly speaking, there are 2 kinds of public data systems:

                   (1) Public data systems that make their public data available and accessible.

                   (2) Public data systems that make their public data available and accessible, while
                simultaneously and intentionally errecting barriers that make simple and straightforward
                access difficult. Two-faced (https://www.vocabulary.com/dictionary/two-faced) systems, if

                you will.

                     adjective: marked by deliberate deceptiveness especially by pretending one
                     set of feelings and acting under the influence of another

                     synonyms: Janus-faced, ambidextrous, deceitful, double-dealing, double-
                     faced, double-tongued, duplicitous, dishonest, dishonorable

                Type 1 systems

                   — Oklahoma Statewide Court System System

                   — United States Patent and Trademark Office System

                   — United States Trademark Trial and Appeal Inquiry System

                   — Clayton County, Georgia Court Records Inquiry

                   — Arkansas Statewide Courts System

                   — The Supreme Court of the United States

                What makes these and others Type 1 systems?

                Look at the URLs here (https://www.oscn.net/dockets/GetCaseInformation.aspx?

                db=adair&number=SC-2021-199), here (https://www.courts.mo.gov/casenet/cases/parties.do?

                inputVO.caseNumber=03CV215589&inputVO.courtId=CT16), here

                (https://ttabvue.uspto.gov/ttabvue/v?pno=91274902), here

                (https://caseinfo.arcourts.gov/cconnect/PROD/public/ck_public_qry_doct.cp_dktrpt_docket_report?

                case_id=CR-10-707), here (https://weba co clayton ga us/casinqcgi-bin/wci205r pgm?

                ctt=L&dvt=V&cyr=2013&ctp=CV&csq=01913&jdg=C), here

                (https://www.supremecourt.gov/opinions/slipopinion/21), here

                (https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/21-

                6826.html), here (https://apps.calbar.ca.gov/attorney/Licensee/Detail/206929), here

                (https://search.txcourts.gov/Case.aspx?cn=WR-93,354-04&coa=coscca), here

                (https://courtconnect.courts.delaware.gov/cc/cconnect/ck_public_qry_doct.cp_dktrpt_docket_report?

                backto=P&case id=JP16-09-000472), here

https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                   3/17


                                                                                                               Schwitzer000000909
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 16 of 186 Page ID #:1064

5/3/22, 11:36 AM                                               What Happened With Tyler Technologies - judyrecords

                (https://gscivildata.shelbycountytn.gov/pls/gnweb/ck public qry doct.cp dktrpt docket report?

                backto=P&case_id=1716876&begin_date=&end_date=), here

                (https://casesearch courts state md us/casesearch/inquiryDetail jis?

                caseId=24D82035328&loc=69&detailLoc=CC), and here (https://patft.uspto.gov/netacgi/nph-

                Parser?Sect1=PTO2&Sect2=HITOFF&p=1&u=%2Fnetahtml%2FPTO%2Fsearch-

                bool.html&r=1&f=G&l=50&co1=AND&d=PTXT&s1=PP11,170.PN.&OS=PN/PP11,170&RS=PN/PP11,170).

                Seriously, take a look at these URLs.

                Go ahead, open some new tabs, and check them out. By the way, I mean the URLs themselves,
                not the pages.

                And what do they all have in common?

                They all present simple and straightforward mechanisms to access data.

                Public records portals allowing simple and straigtforward access to public records. Great!

                And Type 2 systems?


                Well, in Type 2 systems you have garbage like this:

                   — /CV_CaseInformation_Summary.aspx?q=H7NlDikRRhKJF5LgUOpm6Q2

                   — /Case/CaseDetail?eid=cntgXDLsxsfSNXmdnHGDvA2

                   — /webcivil/FCASCaseInfo?

                index=m9hvMsrh7eR0g7Hq0FHhMA%3D%3D&county=EI3JYjjXFaKuMnnvdD2LYA%3D%3D&civilCaseId=yRBmzd3Mtkanyl9QS4lgsg%3D%3D

                What. The. Fuck.

                This is from organizations that are in the same class of entity as the Type 1 systems and
                URLs given above. Each of the URLs directly above, with less effort, could have been:

                   — /CV_CaseInformation_Summary.aspx?CaseId=500

                   — /Case/CaseDetail?CaseId=500

                   — /webcivil/FCASCaseInfo?index=5&county=2&civilCaseId=500

                But the programmers of these systems went out of their way to intentionally create barriers
                that make simple and straightforward access to public records difficult.

                In each of the cases above, a level of indirection was added to make the collection of
                public records as difficult as possible.

                This is a common anti-scraping technique, which is justifiable for those with proprietary
                data that aren't funded by taxpayer dollars, but has no place among publicly-funded public
                records systems.

                     judyrecords, YouTube, and others use this same technique, in fact. See here
                     (https://judyrecords.com/record/vz3qd3xny6ba2) and here
                     (https://www.youtube.com/watch?v=dQw4w9WgXcQ).

                But wait, more Type 2 public records systems glory!


                In addition to the above scheme, you also see garbage like this:

                   (1) Date filed searches are arbitrarily restricted, preventing the ability to simply
                query all cases filed within (even a small) date range and get all the cases.




https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                     4/17


                                                                                                                 Schwitzer000000910
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 17 of 186 Page ID #:1065

5/3/22, 11:36 AM                                             What Happened With Tyler Technologies - judyrecords

                   (2) Want to get an update to a case or download a public case document? Fill out a

                captcha first to request the case URL.

                   (3) Want to get all the cases of a type, filed within a certain date range? First specify
                at least 2 characters of the last name, and one first name character.

                I've just checked 10 random Odyssey Portals and not a single one allows doing a simple date
                filed search. Each one requires that additional information be supplied.

                Are you seeing a pattern here?

                In terms of public records access, this is intentionally antagonistic.



                Records Wide Open

                Tyler, as it happens, sells Type 2 public records systems. They've implemented every single
                tactic mentioned above to varying degrees across their portals.

                Honestly, you just deal with it.

                These systems and the people who sign off on them certainly have a special place in public
                records hell, but you take what you can get, and move on.

                I'd pulled data from about 20 of Tyler's Odyssey Portals from jurisdictions around the

                country. California, Georgia, Texas, and so on, marshalling through searches, farming out
                the captcha solving to a third-party service when needed.

                Another day in public records aggregation paradise.

                In Tyler's Odyssey Portal, cases could be requested directly, no need to jump through hoops

                for that part. More often than not, cases can be requested directly, but sometimes you have

                to do a search first, sometimes you need to fill out a captcha, etc. It depends on how far
                Type 2 they've made the system, but in this case, direct requests were available.

                So, remember that first set of garbage URLs from Type 2 systems above?

                The second one was actually one of Tyler's, corresponding to whatever case ID.

                I remember looking at the table (/public-uploads/tyler-urls-1.png) of a portal I'd already

                pulled from, and thinking:

                     Huh, maybe they're using the same URLs for the same case IDs?

                And it turns out, they were (/public-uploads/tyler-urls-2 png).

                At this point, it's just a matter of marching through case IDs, as usual.

                If you've followed all the way through to this point, you might've figured out what went
                wrong.

                Tyler went out of their way to implement Type 2 measures, intentionally requiring
                convoluted access approaches by their own design, but didn't bother with basic security.

                Did I ever think a direct case request could lead to private records?

                Not in a million years.

                Because that would mean the software had a defect so severe that any and all systems
                running that software would need to be taken offline immediately, due to its inability to
                perform arguably its most critical function.

https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                   5/17


                                                                                                               Schwitzer000000911
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 18 of 186 Page ID #:1066

5/3/22, 11:36 AM                                             What Happened With Tyler Technologies - judyrecords

                Well, that happened (https://www.law360.com/articles/1470532/court-files-offline-in-

                several-states-after-security-flaw-found).

                And I downloaded from about 30 different Tyler Odyssey portals this way.

                The California State Bar times 30 — potentially.



                It Gets Worse

                There's an old Internet adage:

                     On the Internet, nobody knows you're a dog.


                Tyler's software didn't know either.

                If you had a link, you were a fully authorized user — tail or otherwise.

                I pointed out early on that this isn't just a judyrecords problem.

                If these links are not performing access control checks, if a case is found by a docket
                aggregator, and then goes private and has updates, those updates that happened after the
                case became private are still public and subject to be downloaded.

                That would seem to be a large and widespread problem, but simply hasn't been noticed yet.

                Docket aggregators have millions of cases from this software system. Probably no less than
                10 million on average.

                According to Tyler's own spec sheet

                (https://web.archive.org/web/20220318140229/https://www.tylertech.com/Portals/0/OpenContent/Files/3651/O

                Portal-Product-Sheet.pdf), this software system serves more than 600 counties across 22
                states — although I believe this counts their legacy Odyssey system as well, which doesn't

                have the same issue.

                Two days in, I had two asks for Tyler.

                My exact message:

                     (#1 by Thursday)

                     #1. Publicly clarify: Based on Tyler's understanding of the situation, what is
                     Tyler's public position regarding whether it views the incident the same way as the
                     CA Bar or not.

                     #2. Willing to budget dedicated internal staff/resources toward helping individual
                     portals get their data up to date on judyrecords *and* other docket aggregators.

                     Solely from docket aggregators using URLs that, when those URLs become confidential,
                     those URLs are still public to have data updated from (and those URLs having been
                     this way for probably the entirety of the Odyssey case management system's
                     lifetime), that is more than enough for Tyler to reach the same conclusion and start
                     shepherding a unified data fix solution that can be checked and updated by other
                     docket aggregators.

                     (other known docket aggregators: DocketAlarm, LexisNexis CourtLink, West's docket
                     product, Bloomberg, UniCourt)



                Type 2 Collaboration And Disbelief




https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                   6/17


                                                                                                               Schwitzer000000912
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 19 of 186 Page ID #:1067

5/3/22, 11:36 AM                                             What Happened With Tyler Technologies - judyrecords

                By Thursday of the same week I had initially met with the California State Bar, I had
                already shared exactly how I downloaded cases from their portals.

                Some by search first, then direct access. The others just by direct access.

                By Friday, it was great to clear the air. We discussed leveraging the same ability to
                identify which cases were actually viewed that the CA State Bar used. That there are far
                fewer cases intended to be private that have been viewed vs. the number that have been

                downloaded is an incredibly tempering circumstance.

                judyrecords had also saved all case identifiers for every case downloaded, which would
                allow accurate cross-referencing between systems. I've done this for every system where
                possible, not just Odyssey.

                A strong point of contention was exactly how data would flow. I wanted data to flow from
                Tyler to me first, and Tyler wanted the opposite.

                When data flows from my end first, I have no ability to know what's what, Tyler can say
                whatever it wants about the data, and I don't have any basis to know, evaluate, or say
                anything. They control the information entirely. My main concern however, was that data
                flowing from me first would kill their incentive to collaborate back in kind.

                But by the end of Friday, still in the very first week of it all, I was already sending

                them data up front.

                I did manage to require that I wouldn't be sending more than 5 sources before they had to
                send data back before getting more. But I gave in to the next special request, and the
                next, and the next. By the middle of the next week, I had provided 15 data sources up
                front.

                Then, I went out of my way to create truncated files with actual data for every direct
                access portal. 10k-record files that could be used for testing, and for any data source for
                which I haven't given them a full file for yet.

                But two weeks later, after significant back and forth, and despite the nature of the
                software defect, they are unwilling to even say they believe the access to records meant to
                be nonpublic was inadvertent.

                And I've only received one data file back of nonpublic case IDs to remove.



                Where Do We Go From Here?

                As far as removing cases on judyrecords retrieved from Odyssey (non-legacy) portals that
                were meant to be nonpublic, I only need a list of case IDs. After that, a confirmation
                check on a sample of the cases provided, and confirmation of the records removed.

                As for general cleanup, the only viable solution I see is for Tyler to establish an API on
                their public records portals so that docket aggregators can voluntarily synchronize their
                datasets to remove currently nonpublic cases. This will have the effect of handling cases
                that became private, but updates were received after that.

                After that, I seriously hope they'll consider getting rid of Type 2 designs that
                intentionally errect barriers that make simple and straightforward access to public records
                difficult.


https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                   7/17


                                                                                                               Schwitzer000000913
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 20 of 186 Page ID #:1068

5/3/22, 11:36 AM                                               What Happened With Tyler Technologies - judyrecords

                Supplemental Q & A (last updated 4/29)

                Which versions of Odyssey Portal were affected by the direct access issue?


                Tyler has 2 major Odyssey products that I know of. Odyssey "New" (referred to as just
                Odyssey Portal now) and Odyssey "Old", their legacy Odyssey system.

                First one looks like this (https://discipline.calbar.ca.gov/portal/), second like this

                (http://ac5.co.anderson.tx.us/PublicAccess/default.aspx).

                I've asked Tyler multiple times.

                I finally caved.

                And just asked: What's the complicated part?

                My exact words:

                     ...confirming whether any portal has a direct access issue should be a
                     straightforward check that could be done by level 1 or level 2 support for any of
                     the portals.

                     If you don't mind me asking, what is the complicated part about verifying the
                     authorization issue?

                       1) Go to a case in a portal that is supposed to be non-public

                       2) Open the web tools network tab and copy the URL for the case

                       3) Open another browser and go to the URL. If the URL displays the case, there was
                     no authorization check.

                     So right now, my understanding is that any non classic Odyssey Portal had the issue
                     of no authorization check for direct access.

                It's like talking to a brick wall.



                Is sharing the access method or case IDs security sensitive?


                     Tyler sent this (/public-uploads/what-happened-with-tyler-technologies-response-
                     2022-03-20 png) 3/19. Response to #1.

                No, absolutely not.

                First, access method.

                Tyler has already taken their public portals offline across the country.

                If there are any portals that have either (1) been taken offline then brought back online
                without fixing the issue or (2) have the issue but have not been taken offline, that would
                be extrordinarily incompetent.

                If this is the case, there are even bigger problems with Tyler.

                Second, case IDs or URLs aren't sensitive information in any practical sense. Only the lack
                of access control upon those, is what can make them insecure.

                I just checked Washington's Odyssey system, just for the heck of it. Both identifiers exist
                in the case right now. See here (/public-uploads/tyler-washington-case-number-and-url-2022-

                03-20.png).

                Does that mean the system is insecure? No! It's entirely irrelevant.


https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                     8/17


                                                                                                                 Schwitzer000000914
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 21 of 186 Page ID #:1069

5/3/22, 11:36 AM                                               What Happened With Tyler Technologies - judyrecords

                As mentioned previously, judyrecords, YouTube, and others use the same type of URLs as
                Tyler's Odyssey system. In fact, here's an export of internal case ID mapping to URLs for
                judyrecords for a currently restricted datasource — 569k cases total!

                CaseIdPlusUrlMapping-AccessControlDemo.zip (/public-uploads/CaseIdPlusUrlMapping-

                AccessControlDemo.zip)

                Here's the format:

                      {"caseId":"1","url":"\/record\/jkhl7e7c"}
                      {"caseId":"2","url":"\/record\/v2bgn9bd1"}
                      {"caseId":"3","url":"\/record\/v6lcb2de6"}
                      {"caseId":"4","url":"\/record\/dh52mb1a9"}
                      {"caseId":"5","url":"\/record\/dg26f343d"}
                      ...


                These cases were blocked at the beginning of the month. (March)

                Am I any less secure now?

                No.

                I've implemented access control.

                Those cases are for my eyes only.

                It does not matter whether you have the case IDs or URLs.

                Does not fucking matter.

                Tyler not doing this is the exact cause of the current situation.

                Exact fucking cause.

                That Tyler thinks these IDs are security sensitive shows an unbelievable lack of

                understanding of security, and of access control specifically.



                Is Tyler Technologies a Type 2 collaborator?


                      Tyler sent this (/public-uploads/what-happened-with-tyler-technologies-response-
                      2022-03-20.png) 3/19. Response to #2.

                From Tyler:

                      "expect to get you some additional files back within the next couple of days" — 3/9

                      "we should be able to turn that around in relatively short order" — 3/9

                      "for clarity's sake, we're ready to pull the trigger" — 3/9

                      "6 clients that we are actively testing with" — 3/6


                Those are the only timetables I've known about.

                Kinda makes you feel like you're being hung out to dry.

                And a company has a defect in their software so bad, that by the admission of their own

                actions (https://www.law360.com/articles/1470532/court-files-offline-in-several-states-

                after-security-flaw-found) is enough to warrant immediately taking everything offline, but
                you can't be given the benefit of the doubt of relying on that circumstance not being true?
                And if it weren't true, the code would have retrieved exactly the information intended?


https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                     9/17


                                                                                                                 Schwitzer000000915
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 22 of 186 Page ID #:1070

5/3/22, 11:36 AM                                                 What Happened With Tyler Technologies - judyrecords

                I don't know how you can use the word responsible, not owning up to the issue, then leaving
                doubt to be cast on me for this entire clusterfuck.



                Tyler has said that judyrecords needs to provide full data about cases up front, and that this is necessary. Is that true?


                     Tyler sent this (/public-uploads/what-happened-with-tyler-technologies-response-
                     2022-03-20.png) 3/19. Response to #3.


                That's an absolute lie.

                Data in this situation can flow 2 ways and achieve the exact same end result:

                   — judyrecords to Tyler

                   — Tyler to judyrecords


                There is absolutely nothing in the way of achieving the exact same result when Tyler sends

                data to judyrecords first.

                How does it look like when data comes from judyrecords first?

                   1) judyrecords provides all case IDs to Tyler for a datasource, with supplemental view data

                   2) Tyler returns back intersection of case IDs of cases to remove

                   3) Done

                How does it look like when data comes from Tyler first?

                   1) Tyler provides case IDs to remove

                   2) judyrecords returns back intersection case IDs to Tyler, with supplemental view data

                   3) Done

                As of 3/26, I've told Tyler I will no longer be providing any data sources upfront, due to
                their extrordinary dishonesty and incompetence in the whole situation. Only in return.

                Also see the questions:

                - Is sharing the access method or case IDs security sensitive?

                - Which data sources were provided to Tyler upfront?



                How bad was the defect, 1 to 10?

                Case access is the most critical point to ensure access control. Everything else is a

                distant second. Security would easily be the most important non-functional

                (https://en.wikipedia.org/wiki/Non-functional_requirement) requirement of software handling

                sensitive information. Easily 10.


                Does Tyler Technologies have a page for this issue?

                Yes, this page (https://www.tylertech.com/dataharvest) whispered its way onto the Internet

                about 2 weeks ago.

                Interestingly, it was just updated today. (3/21)

                Earlier version here

                (https://web.archive.org/web/20220319203703/https://www.tylertech.com/dataharvest).


                How many Odyssey Portal cases meant to be private does judyrecords have?

                At this point, I believe this number is well into the millions.

https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                             10/17


                                                                                                                         Schwitzer000000916
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 23 of 186 Page ID #:1071

5/3/22, 11:36 AM                                                What Happened With Tyler Technologies - judyrecords

                These cases have been accessible over roughly the past year.

                Also, this is not considering the "any dog with a link" update issue described in the
                section "It Gets Worse".


                Where do things stand with the California State Bar?


                While the investigation is considered ongoing, the California State Bar has stated:

                      The State Bar plans to notify complainants, witnesses, and respondents whose
                      names appeared in the approximately 322,525 confidential records that were
                      available on judyrecords during the period in question, though the current
                      evidence suggests that only 1,034 of those were actually viewed. We continue
                      to investigate this incident and will provide additional details about the
                      notification plan and timeline as soon as possible.

                and

                      The majority of Cooley’s rates and costs will be covered by the State Bar’s
                      insurance. The State Bar and its carrier intend to pursue reimbursement from
                      Tyler Technologies.

                Updates here (https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates).


                I'm a CIO of a potentially affected jurisdiction. How can I contact judyrecords?


                You can email me at judyrecordssite@gmail.com.

                I've provided information for numerous portal sites to Tyler upfront. I'm sure you couldn't

                care less about that, and I wouldn't either, honestly.

                That said, I have never had any reservations about providing data, except that it will
                disincentivize returning data in kind.

                Toward that end, the best way to move forward is just to provide a list of case IDs of non-
                public cases that can be checked against. After that, I'd be happy to provide all relevant
                data back about those cases, and remove them.

                Tyler has taken the position that judyrecords not providing data first has held things up
                somehow. I cannot tell you how incredibly frustrating and outright dishonest that is.

                I'd be happy to help in this situation. Basically, you need to write a query that will
                return all non-public cases. Writing this query may not be just a plain query with a single
                filter, so it may be necessary to reach out to Tyler technical support to those who have
                worked on similar queries already. Obviously, you don't need judyrecords data to make this
                happen and move things forward. Two Four Five Six jurisdictions have done so already.


                Which Tyler Technologies Odyssey Portals were accessed by search, then direct case requests?

                   — Alameda County, California - Court Records

                   — Brazos County, Texas - Court Records

                   — Chambers County, Texas - Court Records

                   — DeKalb County, Georgia - Court Records

                   — Fresno County, California - Court Records

                   — Glenn County, California - Court Records


https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                      11/17


                                                                                                                  Schwitzer000000917
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 24 of 186 Page ID #:1072

5/3/22, 11:36 AM                                              What Happened With Tyler Technologies - judyrecords

                   — Glynn County, Georgia - Court Records

                   — Gwinnett County, Georgia - Court Records

                   — Harris County, Texas - Court Records

                   — Houston County, Georgia - Court Records

                   — Hunt County, Texas - Court Records

                   — Kansas - Statewide Court Records

                   — Kern County, California - Court Records

                   — Napa County, California - Court Records

                   — Ohio - Court Records

                   — Rockwall County, Texas - Court Records

                   — San Bernardino County, California - Court Records

                   — Santa Barbara County, California - Court Records

                   — Santa Clara County, California - Court Records

                   — Wichita County, Texas - Court Records

                   — Yolo County, California - Court Records


                Which Tyler Technologies Odyssey Portals were accessed by direct case requests?


                * Case IDs of cases meant to be nonpublic have been provided
                * Case IDs of cases meant to be nonpublic have not been provided

                Current progress as of 5/3:

                Odyssey Portal cases removed:

                1,384,523

                   — * California State Bar - Court Records

                       — 322,525 cases removed (Mar 2nd)

                   — * Forsyth County, Georgia - Superior & State Court Records

                       — 259,473 cases removed (Mar 9th)

                   — * Bell County, Texas - Court Records

                       — 286,200 cases removed (Mar 30th)

                   — * San Mateo County, California - Court Records

                       — 18,691 cases removed (Apr 5th)

                   — * San Diego County, California - Court Records

                       — 124,943 cases removed (Apr 13th)

                   — * Santa Cruz County, California - Court Records

                       — 30,381 cases removed (Apr 13th)

                   — * Tehama County, California - Court Records

                       — 27,526 cases removed (Apr 13th)

                   — * Bexar County, Texas - Court Records

                       — 105,136 cases removed (Apr 13th)

                   — * Sutter County, California - Court Records

                       — 946 cases removed (Apr 17th)

                   — * Yuba County, California - Court Records

                       — 1,136 cases removed (Apr 17th)


https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                    12/17


                                                                                                                Schwitzer000000918
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 25 of 186 Page ID #:1073

5/3/22, 11:36 AM                                              What Happened With Tyler Technologies - judyrecords

                   — * Mendocino County, California - Court Records

                       — 20,859 cases removed (Apr 17th)

                   — * Butte County, California - Court Records

                       — 1,193 cases removed (Apr 21st)

                   — * Stanislaus County, California - Court Records

                       — 6,505 cases removed (Apr 21st)

                   — * Kings County, California - Court Records

                       — 9,146 cases removed (Apr 21st)

                   — * Calaveras County, California - Court Records

                       — 5,513 cases removed (Apr 27th)

                   — * Washington - Statewide Court Records

                       — 12,151 cases removed (Apr 27th)

                   — * Sonoma County, California - Court Records

                       — 409 cases removed (Apr 29th)

                   — * Merced County, California - Court Records

                       — 151,790 cases removed (Apr 29th)


                   — * Chatham County, Georgia - Court Records

                   — * Dallas County, Texas - Court Records

                   — * Ector County, Texas - Court Records

                   — * Kane County, Illinois - Court Records

                   — * Lowndes County, Georgia - Court Records

                   — * Lubbock County, Texas - Court Records

                   — * Maine - Statewide Court Records

                   — * Muscogee County, Georgia - Court Records

                   — * New Hampshire - Statewide Court Records

                   — * Potter County, Texas - Court Records

                   — * Rhode Island - Statewide Court Records

                   — * Shelby County, Tennessee - Criminal Court Records

                   — * Spalding County, Georgia - Court Records

                   — * St Tammany, Louisiana - Court Records

                   — * Tazewell County, Illinois - Court Records

                   — * Vermont - Statewide Court Records


                Which data sources were provided to Tyler upfront?


                Complete record listings were provided to Tyler upfront for the following data sources on
                the dates noted:

                   — Butte County, California - Court Records (provided Mar 4th)

                   — Calaveras County, California - Court Records (provided Mar 4th)

                   — Kings County, California - Court Records (provided Mar 4th)

                   — Mendocino County, California - Court Records (provided Mar 4th)

                   — Merced County, California - Court Records (provided Mar 4th)

                   — Muscogee County, California - Court Records (provided Mar 4th)


https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                    13/17


                                                                                                                Schwitzer000000919
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 26 of 186 Page ID #:1074

5/3/22, 11:36 AM                                                What Happened With Tyler Technologies - judyrecords

                   — San Diego County, California - Court Records (provided Mar 4th)

                   — San Mateo County, California - Court Records (provided Mar 4th)

                   — Santa Cruz County, California - Court Records (provided Mar 4th)

                   — Sonoma County, California - Court Records (provided Mar 4th)

                   — Stanislaus County, California - Court Records (provided Mar 4th)

                   — Sutter County, California - Court Records (provided Mar 4th)

                   — Tehama County, California - Court Records (provided Mar 4th)

                   — Bexar County, Texas - Court Records (provided Mar 4th)

                   — Forsyth County, Georgia - Superior & State Court Records (provided Mar 5th)

                   — Dallas County, Texas - Court Records (provided Mar 9th)

                Data sources returned by Tyler as of Apr 1st:

                   — Forsyth County, Georgia - Superior & State Court Records (returned Mar 9th)


                According to Tyler's 4/1 update here (https://www.tylertech.com/dataharvest):

                     We continue to work on securing cooperation from judyrecords.com


                Considering I sent Tyler 16 data sources upfront nearly a month ago, while they've returned
                only 1, the above statement is extraordinarily dishonest.


                And previous updates:

                     judyrecords.com’s continued cooperation is extremely important

                     The operator of judyrecords.com has indicated a willingness to share
                     detailed information that will assist Tyler


                Additionally, my understanding now is that Tyler likely represented to California courts
                that I had provided data for only 3 California courts, when in fact I had actually provided
                all 13 California direct access data sources on March 4th.


                My jurisdiction was not in the first list. Does that mean nonpublic cases weren't exposed?


                In general, no.

                However, these are low risk at least as far as judyrecords is concerned.

                If judyrecords has any issues with these data sources, then Tyler's entire product was
                access control defective, not just the most important part (i.e., case access).

                As mentioned in the first question, it is my current understanding/assumption that any non
                classic Odyssey Portal had the issue of no authorization check for direct access.

                Depending on what the counts look like when data is provided, whether or the extent to
                which this is the case will become more apparent.

                Additionally, this is not considering the "any dog with a link" update issue described in
                the section "It Gets Worse".


                How long has Tyler known about which jurisdictions were accessed which way by judyrecords?

                I provided Tyler this information on March 4th, before the end of the first discussion I
                had with them.



https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                      14/17


                                                                                                                  Schwitzer000000920
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 27 of 186 Page ID #:1075

5/3/22, 11:36 AM                                              What Happened With Tyler Technologies - judyrecords

                How long has Tyler known about the "any dog with a link" problem?


                See the section "It Gets Worse" for details.

                I sent that message to the CA State Bar to forward to Tyler on March 2nd, who had been in
                communication with Tyler up to that point, whereas I had not.


                Will judyrecords be providing any more data upfront?


                      Tyler sent this (/public-uploads/tyler-technologies-3-26.png) 3/26.

                No.

                Only in return at this point.

                Any other form of collaboration is unacceptable.

                Tyler's software had an extrordinaliy (https://www.law360.com/articles/1470532/court-files-

                offline-in-several-states-after-security-flaw-found) bad

                (https://www.law360.com/articles/1473316/odyssey-portal-security-gap-verified-as-developer-

                tackles-fix) defect, we've got a huge fucking mess, and I've gone far beyond what was
                agreed. 3x more to be exact. See "Type 2 Collaboration And Disbelief" for details.

                Yet Tyler's position has been to continue to demand more without returning data in kind.

                At some point, you have to put on the brakes (/public-uploads/tyler-technologies-3-26-

                2.png).

                Tyler:

                You fucked up not implementing basic security, and you need to own it.

                I'm not going to do anything that will hamper your incentive to collaborate back at this
                point, and that means not providing data upfront, any longer. Only in return.

                Why?

                I have to do this because that's the only way I have a fighting chance of keeping you
                accountable and maximally ensuring I can get the data right on my side.

                Regarding #2, Odyssey Portals (non classic) that were accessed by direct case requests only
                would be the scope of cases at issue as far as judyrecords is concerned.

                Also see "Tyler has said that judyrecords needs to provide full data about cases up front,

                and that this is necessary. Is that true?".


                Were any of the unprotected case links indexed by Google from Odyssey Portals?


                Yes.

                The number still indexed by Google as of 4/4 in fact is around a quarter million — even
                after Tyler changed the case URLs for all their sites. See here

                (https://www.google.com/search?q=inurl:%22CaseDetail?eid%22&filter=0).

                The number for Idaho alone is sitting around 100k right now. See here

                (https://www.google.com/search?q=inurl:%22CaseDetail?

                eid%22%20site:https://mycourts.idaho.gov&filter=0).




https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                    15/17


                                                                                                                Schwitzer000000921
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 28 of 186 Page ID #:1076

5/3/22, 11:36 AM                                               What Happened With Tyler Technologies - judyrecords

                Even sealed (https://www.google.com/search?q=inurl:%22CaseDetail?

                eid%22%20site:https://mycourts.idaho.gov%20%22case%20sealed%22%20-%22un-sealed%22%20-

                %22unsealed%22&filter=0) cases (https://www google com/search?q=inurl:%22CaseDetail?

                eid%22%20site:https://mycourts.idaho.gov%20%22order%20expunging%20juvenile%22%20-

                %22denied%22&filter=0) — unprotected and publicly available in Google's index from Idaho's
                own Tyler portal. Google suggests the phrase "felony expungement (/public-

                uploads/screencapture-google-search-2022-04-04-11_45_40.png)", seemingly related to the
                contents of the search.

                According to Google (/public-uploads/2022-04-04 12-23-06.png), cases from Idaho's portal

                have been indexed as far back as 2015. This is consistent with the Internet Archive's
                capture of the Odyssey Portal at that link here

                (https://web.archive.org/web/20161124004111/https://mycourts.idaho.gov/).

                Has Google been keeping up to date on the sealed cases of Odyssey Portal clients?

                Well, yes. From Google's cache here (/public-uploads/2022-04-04 12-11-09.png). Sealed cases

                receiving updates on Google months, even years, after the fact.

                Does that mean sealed cases have been publicly available from other jurisdictions on
                Google, like Idaho?

                Also yes.

                The number of these unprotected case links still lingering in Google's index as of today,
                even though it's still almost a quarter million, is likely to be a small subset compared to
                what's been available over previous years.


                Where was the mapping of case ID to URL provided?

                The mapping was provided as part of the Odyssey search API case results object.

                An actual example:

                     "CaseResults": [{
                         "NodeID": "222223",
                         "LocationName": "Civil",
                         "CaseId": 2900,
                         "EncryptedCaseId": "3m9UXE4eRxReDKtlQO5X-A2",
                         "Charges": [],
                         "CaseLoadUrl": "https://caglennportal tylerhost net/Portal/Case/CaseDetail?eid=3m9UXE4eRxReDKtlQO5X-A2",
                         "CaseNumber": "02SC00272",
                         "Style": "THODAS VS FIPPS",
                         "FileDate": "10/7/2002 12:00:00 AM",
                         "CaseTypeId": {
                              "Word": "SCL",
                              "Description": "Small Claims",
                              "HasValue": true
                         },
                         "CaseStatusId": {
                              "Word": "OPE",
                              "Description": "Opened",
                              "HasValue": true
                         },
                         "DefendantName": "FIPPS, C    EDWARD",
                         "CaseCategoryKey": "CV",
                         "DateOfBirth": null,
                         "PartyTypeKey": "Defendant",


https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                     16/17


                                                                                                                 Schwitzer000000922
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 29 of 186 Page ID #:1077

5/3/22, 11:36 AM                                             What Happened With Tyler Technologies - judyrecords
                           "FileDateParsed": "\/Date(1033974000000)\/",
                           "DoBSortKey": "\/Date(-62135568000000)\/"
                     }],




https://www.judyrecords.com/what-happened-with-tyler-technologies                                                                   17/17


                                                                                                               Schwitzer000000923
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 30 of 186 Page ID #:1078
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 31 of 186 Page ID #:1079

5/3/22, 11:37 AM                                                         Info - judyrecords
                   Update (2/27 11:30AM CT): CA State Bar updated their press release to indicate the removal of
                   the records as noted above.

                   Update (2/27 4:45PM CT): CA State Bar has reached out in writing to discuss the issue.

                   Update (2/27 11:05PM CT): Accepted an invite to discuss the issue. Tentatively, the number of
                   affected cases is less than 1,000.

                   Update (2/28 8:40PM CT): CA State Bar has published an update here

                   (https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates) (2/28 update).

                   Update (3/1 12:30PM CT): Out of an abundance of caution, the search function is disabled while
                   any possible case access issues are resolved. Additionally, direct access to cases of the

                   affected case management system have been disabled.

                   Update (3/2 10:00PM CT): CA State Bar has published a noteworthy update here

                   (https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates) (3/2 update).


                   Update (3/3 11:45PM CT): No updates for today.

                   Update (3/4 6:15PM CT): Expect to have an update Monday.


                   Update (3/7 3:20PM CT): Expect to have an update tomorrow now (Tues) but a lot of positive

                   movement happening.

                   Update (3/8 4:10PM CT): Continued positive movement. Expect to have an update later tonight or
                   tomorrow (Wed) now.


                   Update (3/9 5:00PM CT): There have been significant steps in collaboration with Tyler

                   Technologies and the State Bar of California over the last week. I believe that Cal Bar will be

                   releasing more detailed information soon, but anticipate that the number of affected cases will

                   be relatively close to my original estimate of < 1,000.

                   In working with Tyler Technologies, we have identified a subset of portals that may be similarly

                   impacted, and judyrecords has saved case identifiers that will allow cross-referencing between

                   systems. Together, we have tentatively identified a process that will allow answering questions
                   about which non-public records may have been exposed.

                   The way in which non-public case data had been downloaded by judyrecords has been shared fully,

                   openly, and discussed with Tyler for about a week (since last Thursday). At this point, I have

                   let them know that I am asking them to take a public position on whether they believe, don't

                   believe, or are undecided about whether non-public cases were accessed inadvertently /
                   unintentionally by the end of the day tomorrow, and I have also let them know I intend to

                   collaborate fully as we have discussed/agreed regardless of the position they take. It is

                   important to me that if there is any belief or any question whatsoever as to whether the non-
                   public case data was accessed intentionally, that I make my position known openly and clearly

                   that the access to non-public cases was inadvertent and not intentional in any way.

                   Update (3/10 6:48PM CT): I am working to get the site back online for general access, minus

                   affected data sources, as well as a separate page for this issue.

                   Update (3/11 2:50PM CT): Tyler Technologies has put up a page for this issue here

                   (https://www.tylertech.com/dataharvest).




https://www.judyrecords.com/info                                                                                       2/8


                                                                                                  Schwitzer000000925
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 32 of 186 Page ID #:1080

5/3/22, 11:37 AM                                                        Info - judyrecords
                   Update (3/11 4:30PM CT): CA State Bar has published an update here

                   (https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates) (3/10 update). Related here

                   (https://www.law.com/therecorder/2022/03/10/bowing-to-pressure-state-bar-walks-back-comments-on-

                   illegality-of-posting-exposed-discipline-docs/) here

                   (https://firstamendmentcoalition.org/2022/02/fac-letter-to-california-state-bar-on-first-

                   amendment-concerns/), and here (https://s3.documentcloud.org/documents/21409065/response-to-

                   david-loy.pdf). Also, in the interest of transparency and clarity, the article leading me to
                   disable search and certain case access on 3/1 here

                   (https://www.law360.com/articles/1469291/calif-bar-leak-reveals-wider-exposure-of-court-

                   records). I'll be addressing the issues raised soon and provide updates. Related here

                   (https://www.law360.com/legalindustry/articles/1470532/court-files-offline-in-several-states-

                   after-security-flaw-found).


                   Update (3/14 11:30AM CT): General access will be restored this week, minus affected data
                   sources. A page will be available by the end of the week here (/what-happened-with-tyler-

                   technologies).

                   Update (3/14 7:25PM CT): CA State Bar has published an update here

                   (https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates) (3/14 update).

                   Update (3/16 8:15AM CT): CA State Bar has published an update here

                   (https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates) (3/15 update). They have re-
                   enabled their attorney discipline portal.

                   Update (3/18 3:02PM CT): What Happened With Tyler Technologies is now available here (/what-

                   happened-with-tyler-technologies). I'm going to push out restoring general access to at least

                   next week.

                   Update (3/20 10:15AM CT): Updated What Happened With Tyler Technologies to add Q&A here (/what-

                   happened-with-tyler-technologies).


                Extended searches

                The first 500K results are displayed instead of just the first 2K.

                      murder - 757K cases

                      fraud - 1.7 million cases

                      burglary - 3.4 million cases

                      assault - 7.3 million cases


                Downloadable datasets


                      All Digitized Texas Appeals Court Cases Since 1900 (download Kaggle dataset

                      (https://www.kaggle.com/judyrecords/all-digitized-texas-appeals-court-cases-since-

                      1900))

                Select upcoming datasources


                      US Tax Court

                      Minnesota Appeals Courts

                Search tips


                      Trigger name matching


https://www.judyrecords.com/info                                                                                       3/8


                                                                                                  Schwitzer000000926
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 33 of 186 Page ID #:1081

5/3/22, 11:37 AM                                                     Info - judyrecords

                           Strict name matching (name + 3 commas)

                                   first middle last,,,

                                   first m last,,,

                                   first last,,,

                           Lenient name matching (name + 2 commas)

                                   first middle last,,

                                   first m last,,

                                   first last,,

                           Trying strict then lenient matching each using a full middle name often

                           produces the most useful results.

                                   1st - donald john trump,,,

                                   2nd - donald john trump,,

                           If extra filtering is needed, additional qualifiers may be specified after the

                           name part.

                                   donald j trump,, texas

                                   barack obama,, ("affordable care act" OR "aca")

                           Sometimes both modes will produce the same results.

                     Exact phrase

                           "economic loss rule"

                           "46.2-806"

                           "donald j trump"

                     Exact phrase proximity

                           "donald j trump"~4 - allow those terms to be up to 4 words out of order.

                                   Matches "donald j trump" but also "trump donald j".

                           "trump casino"~5

                                   Search for trump close to the word casino.

                     Exclude

                           "donald trump" -florida

                           cnn.com -patent (exclude patents)

                     AND/OR/NOT/()

                           "summary judgment" AND "employment discrimination"

                           ("donald j trump"~4) OR ("donald john trump"~4) OR ("donald trump"~3)

                           AND/OR/NOT must be uppercase.

                           AND/OR/NOT should generally be used with parentheses to ensure you get the

                           expected results.

                                   For example, (donald trump) OR (paul manafort) will produce the expected

                                   results. donald trump OR paul manafort will not, and will be logically

                                   interpreted as donald AND (trump OR paul) AND manafort, rather than the

                                   expected (donald AND trump) OR (paul AND manafort).

                                   Combine with exact phrase proximity for better results: ("donald trump"~3)

                                   OR ("paul manafort"~3)

                           AND is the default operator implicitly used between terms.



https://www.judyrecords.com/info                                                                                  4/8


                                                                                             Schwitzer000000927
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 34 of 186 Page ID #:1082

5/3/22, 11:37 AM                                                     Info - judyrecords

                                   For example, ("donald trump"~3) AND ("paul manafort"~3) is the same thing

                                   as "donald trump"~3 "paul manafort"~3.


                Case count log

                2020-08-13 - 364.4 million/launch

                2020-08-19 - 377.1 million

                2020-08-20 - 379.5 million

                2020-08-26 - 393.2 million

                2020-09-24 - 397.3 million

                2020-09-26 - 402.1 million

                2020-09-27 - 404.4 million

                2020-09-28 - 409.2 million

                2020-09-30 - 409.8 million

                2020-10-02 - 410.6 million

                2020-10-05 - 413.6 million

                2020-10-16 - 418.9 million

                2020-10-28 - 419.3 million

                2020-11-05 - 426.6 million

                2020-11-16 - 435.4 million

                2020-11-18 - 439.8 million

                2020-12-02 - 440.3 million

                2020-12-03 - 441.1 million

                2020-12-05 - 444.0 million

                2020-12-07 - 446.3 million

                2020-12-09 - 448.4 million

                2020-12-10 - 449.0 million

                2020-12-12 - 449.4 million

                2020-12-14 - 451.6 million

                2020-12-15 - 453.2 million

                2020-12-18 - 464.4 million

                2021-01-09 - 477.8 million

                2021-02-23 - 480.7 million

                2021-02-25 - 480.9 million

                2021-02-26 - 481.3 million

                2021-02-27 - 481.5 million

                2021-03-22 - 485.6 million

                2021-03-23 - 487.6 million

                2021-03-24 - 489.3 million

                2021-03-28 - 495.1 million

                2021-03-29 - 498.0 million

                2021-03-31 - 507.7 million

                2021-04-01 - 511.3 million

                2021-04-02 - 514.8 million


https://www.judyrecords.com/info                                                                                  5/8


                                                                                             Schwitzer000000928
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 35 of 186 Page ID #:1083

5/3/22, 11:37 AM                             Info - judyrecords

                2021-04-05 - 518.3 million

                2021-04-12 - 529.7 million

                2021-04-17 - 541.2 million

                2021-04-20 - 563.7 million

                2021-04-21 - 564.1 million

                2021-04-24 - 564.6 million

                2021-04-26 - 565.6 million

                2021-04-29 - 566.1 million

                2021-05-04 - 566.8 million

                2021-05-05 - 567.6 million

                2021-05-07 - 568.1 million

                2021-05-08 - 569.0 million

                2021-05-14 - 569.3 million

                2021-05-20 - 570.5 million

                2021-05-27 - 571.8 million

                2021-06-01 - 574.2 million

                2021-06-12 - 574.9 million

                2021-06-19 - 575.0 million

                2021-06-22 - 582.6 million

                2021-07-12 - 583.5 million

                2021-07-27 - 584.1 million

                2021-08-01 - 584.3 million

                2021-09-25 - 584.5 million

                2021-09-26 - 584.8 million

                2021-10-05 - 585.3 million

                2021-10-13 - 588.3 million

                2021-10-14 - 589.5 million

                2021-10-15 - 591.1 million

                2021-10-24 - 592.6 million

                2021-10-25 - 593.3 million

                2021-10-26 - 593.8 million

                2021-10-27 - 594.3 million

                2021-10-28 - 595.6 million

                2021-10-29 - 596.5 million

                2021-10-30 - 597.0 million

                2021-10-31 - 597.9 million

                2021-11-01 - 598.1 million

                2021-11-02 - 599.2 million

                2021-11-05 - 601.6 million

                2021-11-07 - 602.4 million

                2021-11-10 - 605.5 million

                2021-11-13 - 607.8 million

                2021-11-14 - 608.3 million

https://www.judyrecords.com/info                                                       6/8


                                                                  Schwitzer000000929
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 36 of 186 Page ID #:1084

5/3/22, 11:37 AM                                              Info - judyrecords

                2021-11-19 - 608.7 million

                2021-11-23 - 608.9 million

                2021-11-25 - 609.1 million

                2021-11-28 - 609.3 million

                2021-11-30 - 609.4 million

                2021-12-04 - 609.6 million

                2021-12-05 - 610.0 million

                2021-12-07 - 610.2 million

                2021-12-11 - 611.8 million

                2021-12-13 - 612.5 million

                2021-12-19 - 612.9 million

                2021-12-28 - 614.0 million

                2022-01-02 - 620.6 million

                2022-01-04 - 621.3 million

                2022-01-06 - 621.6 million

                2022-01-10 - 624.1 million

                2022-01-13 - 637.3 million

                2022-02-08 - 637.4 million


                Other legal databases


                     Caselaw Access Project (https://case.law) – Free. 1.7 million+ federal cases. 4.9

                     million+ state cases.

                     CAP includes all official, book-published United States case law — every volume

                     designated as an official report of decisions by a court within the United States.

                     Cases years range from 1658 to 2018.

                     CourtListener (https://courtlistener.com) – Free. 4 million+ federal and state

                     court opinions. 70K+ oral arguments. 38K+ hours of oral argument audio.

                     Primarily focused on federal courts, state courts of last resort, and state

                     appellate courts. CourtListener features advanced search capability, alerts for

                     new opinions matching any search criteria, and ranking of search results that

                     takes into account the authority of opinions based on citation and precedence

                     factors. Individual opinion pages are richly cross-referenced to related case law.

                     PACER notwithstanding, CourtListener is the most powerful case law research tool

                     available online — and in many ways is much more powerful.

                     Fastcase Docket Alarm (https://www.docketalarm.com) – Several free searches

                     granted. Premium access upsell. 26 million+ federal cases. 91 million+ state

                     cases. 19 million+ specialized agency cases (patent, trademark, tax, international

                     trade, etc.). In addition to case tracking/alerts, Fastcase's Docket Alarm

                     includes advanced analytics and calendaring capabilities.

                     Google Scholar Case Law (https://scholar.google.com) – Free. Google doesn't

                     provide the exact number of court cases. Being focused on federal courts, state


https://www.judyrecords.com/info                                                                            7/8


                                                                                       Schwitzer000000930
  Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 37 of 186 Page ID #:1085

5/3/22, 11:37 AM                                              Info - judyrecords

                     courts of last resort, and state appellate courts, Google's case law database is
                     highly likely to be roughly the same size of CourtListener's case law database of

                     4-5 million cases.

                     Google's Case Law search is extremely fast to search and navigate, has a very

                     clean user interface, supports Google's standard query operators, and allows the

                     creation of alerts for new results that match a given search.

                     PACER (https://pacer.uscourts.gov) – Fee-based, unless usage is less than $30

                     within a quarter or you are an exempted group or individual. 56 million+ federal
                     court cases, including bankruptcy, criminal, civil, and appellate.

                     PACER is the official case management system of the United States federal
                     judiciary, run by the Administrative Office of the United States Courts (AOUSC).

                     Fees are charged for almost every kind of request for case info, including each

                     search result page viewed, and even when a search returns no results.

                     UniCourt (https://unicourt.com) – Several free searches granted. Premium access
                     upsell. 9 million+ federal cases. 114 million+ state cases.

                     UniCourt offers premium API-based access to legal data and case tracking/alerts

                     for the cases in its database and any case available in PACER. A large selling
                     point of UniCourt's solutions is that they use powerful data normalization

                     processes and algorithms to add value to their legal data, which includes
                     normalization of case classification and entity names (e.g., people, companies,

                     attorneys, law firms, judges).




https://www.judyrecords.com/info                                                                               8/8


                                                                                          Schwitzer000000931
0983-DFM Document 78 Filed 08/06/22 Page 38 of 186




                      Schwitzer000000882
00983-DFM Document 78 Filed 08/06/22 Page 39 of 186 P




                        Schwitzer000000883
00983-DFM Document 78 Filed 08/06/22 Page 40 of 186 P




                        Schwitzer000000884
0983-DFM Document 78 Filed 08/06/22 Page 41 of 186 P




                      Schwitzer000000885
00983-DFM Document 78 Filed 08/06/22 Page 42 of 186 P




                        Schwitzer000000886
00983-DFM Document 78 Filed 08/06/22 Page 43 of 186 P




                        Schwitzer000000887
0983-DFM Document 78 Filed 08/06/22 Page 44 of 186




                       Schwitzer000000888
0983-DFM Document 78 Filed 08/06/22 Page 45 of 186




                       Schwitzer000000889
983-DFM Document 78 Filed 08/06/22 Page 46 of 186




                    Schwitzer000000890
0983-DFM Document 78 Filed 08/06/22 Page 47 of 186 P




                       Schwitzer000000891
0983-DFM Document 78 Filed 08/06/22 Page 48 of 186




                      Schwitzer000000892
00983-DFM Document 78 Filed 08/06/22 Page 49 of 186 P




                        Schwitzer000000893
0983-DFM Document 78 Filed 08/06/22 Page 50 of 186




                       Schwitzer000000894
0983-DFM Document 78 Filed 08/06/22 Page 51 of 186




                       Schwitzer000000895
00983-DFM Document 78 Filed 08/06/22 Page 52 of 186 P




                        Schwitzer000000896
0983-DFM Document 78 Filed 08/06/22 Page 53 of 186




                      Schwitzer000000897
0983-DFM Document 78 Filed 08/06/22 Page 54 of 186




                       Schwitzer000000898
0983-DFM Document 78 Filed 08/06/22 Page 55 of 186




                      Schwitzer000000899
0983-DFM Document 78 Filed 08/06/22 Page 56 of 186




                      Schwitzer000000900
983-DFM Document 78 Filed 08/06/22 Page 57 of 186




                     Schwitzer000000901
0983-DFM Document 78 Filed 08/06/22 Page 58 of 186




                       Schwitzer000000902
0983-DFM Document 78 Filed 08/06/22 Page 59 of 186




                       Schwitzer000000903
0983-DFM Document 78 Filed 08/06/22 Page 60 of 186




                      Schwitzer000000904
00983-DFM Document 78 Filed 08/06/22 Page 61 of 186 P




                        Schwitzer000000905
00983-DFM Document 78 Filed 08/06/22 Page 62 of 186 P




                        Schwitzer000000906
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 63 of 186 Page ID #:1111
                      Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 64 of 186 Page ID #:1112

4/16/22, 3:38 PM                                                              Gmail - ca state bar confiden ial data publicly accesible



                                                                                                                                      Kevan Schwitzer <kevanschwitzer@gmail.com>



  ca state bar confidential data publicly accesible
  1 message

  Kevan Schwitzer <kevanschwitzer@gmail.com>                                                                                                          Sat, Feb 26, 2022 at 11:07 PM
  To: barcomm@calbar.ca.gov

    Hey, I saw these pages just a bit ago:
    https://www.pe.com/2022/02/26/260000-confidential-attorney-discipline-records-published-after-data-breach-state-bar-says/
    https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates
    https://www.calbar.ca.gov/About-Us/News/News-Releases/state-bar-of-california-addresses-breach-of-confidential-data

    First thing, I removed all the CA state bar court cases in the judyrecords search index. All the records downloaded were publicly accessible on this portal:
    https://discipline.calbar.ca.gov/

    Second, I haven't been contacted about this issue and just checked for any communication from my hosting provider. Also, anyone can contact me for example on
    reddit with a simple google search.

    These cases were publicly accessible, so my assumption is that those are the cases open to the public. They weren't protected from public access.

    If there's anything I can do please let me know. Also, my direct number is




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-a%3Ar-8939639363872803436&simpl=msg-a%3Ar-8931376943494415500                                  1/1


                                                                                                                                                          Schwitzer000000001
                          Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 65 of 186 Page ID #:1113

4/16/22, 3:38 PM                                                                       Gmail - ca state bar confidential data publicly accessible



                                                                                                                                               Kevan Schwitzer <kevanschwitzer@gmail.com>



  ca state bar confidential data publicly accessible
  7 messages

  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                                            Sun, Feb 27, 2022 at 4:46 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>

    Dear Mr. Schwitzer,

    We are in receipt of your email below and very much appreciate you reaching out to us.

    We would like to arrange a time to connect with you on this topic. Would you be available for a conference call with us at 8am or 830am PDT tomorrow,
    Monday Feb 28?

    Let me know if either of those times work for you and we will send over an invitation with connection details. If not, could you kindly propose some
    alternative times for us to speak?

    Sincerely,

    Rick Rankin

    --

    Rick Rankin | IT Director (Interim)
    The State Bar of California
    180 Howard St. | San Francisco, CA 94105
    845 S. Figueroa St. | Los Angeles, CA 90017

    NEW! Schedule time with me HERE

    This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for the intended recipient, you may
    not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

    ###

    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Saturday, February 26, 2022 9:07 PM
    To: The State Bar of California <BARCOMM@calbar.ca.gov>
    Subject: ca state bar confidential data publicly accesible


https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725958157881905343&simpl=msg-f%3A1725958157881905343&simpl=msg-a%3Ar-1194339205369087…                          1/5


                                                                                                                                                                          Schwitzer000000002
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 66 of 186 Page ID #:1114

4/16/22, 3:38 PM                                                             Gmail - ca state bar confidential data publicly accessible
    CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and know the content is safe.

    Hey, I saw these pages just a bit ago:
    https://www.pe.com/2022/02/26/260000-confidential-attorney-discipline-records-published-after-data-breach-state-bar-says/
    https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates
    https://www.calbar.ca.gov/About-Us/News/News-Releases/state-bar-of-california-addresses-breach-of-confidential-data

    First thing, I removed all the CA state bar court cases in the judyrecords search index. All the records downloaded were publicly accessible on this portal:
    https://discipline.calbar.ca.gov/

    Second, I haven't been contacted about this issue and just checked for any communication from my hosting provider. Also, anyone can contact me for example
    on reddit with a simple google search.

    These cases were publicly accessible, so my assumption is that those are the cases open to the public. They weren't protected from public access.

    If there's anything I can do please let me know. Also, my direct number is



  Kevan Schwitzer <kevanschwitzer@gmail.com>                                                                                                       Sun, Feb 27, 2022 at 5:20 PM
  To: "Rankin, Rick" <Rick.Rankin@calbar.ca.gov>

    Hi, sure I can meet at the 8:30am PDT time.
    [Quoted text hidden]



  Kevan Schwitzer <kevanschwitzer@gmail.com>                                                                                                       Sun, Feb 27, 2022 at 5:30 PM
  To: "Rankin, Rick" <Rick.Rankin@calbar.ca.gov>

    Also, the language in the original press release suggested there have been "unlawful activities". Is there any belief at this point that any kind of hacking or unlawful
    activities have taken place?

    I've posted on the info page details where this information was publicly accessible.
    [Quoted text hidden]



  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                         Sun, Feb 27, 2022 at 5:37 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>

    Thank you for your speedy reply. I’ll send out an invite later today for our call.

    Let’s discuss our press release in the context of the situation in it’s entirety tomorrow. I’m sure we can figure this all out together.

    Again, thank you for your quick reply. We look forward to speaking with you tomorrow.

    Rick

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725958157881905343&simpl=msg-f%3A1725958157881905343&simpl=msg-a%3Ar-1194339205369087…   2/5


                                                                                                                                                      Schwitzer000000003
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 67 of 186 Page ID #:1115

4/16/22, 3:38 PM                                                                       Gmail - ca state bar confidential data publicly accessible


    --

    Rick Rankin | IT Director (Interim)
    The State Bar of California
    180 Howard St. | San Francisco, CA 94105
    845 S. Figueroa St. | Los Angeles, CA 90017
    213-393-6725

    NEW! Schedule time with me HERE

    This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for the intended recipient, you may
    not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.



    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Sunday, February 27, 2022 15:30
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>
    Subject: Re: ca state bar confidential data publicly accessible

    [Quoted text hidden]



  Kevan Schwitzer <kevanschwitzer@gmail.com>                                                                                                                          Sun, Feb 27, 2022 at 5:52 PM
  To: "Rankin, Rick" <Rick.Rankin@calbar.ca.gov>

    Sounds good. However, I would like to ask that you provide clarity on whether there is any belief that any kind of unlawful, malicious, or hacking activity has taken
    place.

    If anyone believes this is the case, it's important that I know because it would be reckless to join a meeting about the issue with that backdrop.
    [Quoted text hidden]



  Kevan Schwitzer <kevanschwitzer@gmail.com>                                                                                                                          Sun, Feb 27, 2022 at 7:04 PM
  To: "Rankin, Rick" <Rick.Rankin@calbar.ca.gov>

    I'd also add that the search portal has been publicly available and indexed by Google as recently as the 25th, which includes links to search the records.

    [Quoted text hidden]


     4 attachments
                                                     2022-02-27_19-00-38.png
                                                     74K




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725958157881905343&simpl=msg-f%3A1725958157881905343&simpl=msg-a%3Ar-1194339205369087…                          3/5


                                                                                                                                                                          Schwitzer000000004
                      Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 68 of 186 Page ID #:1116

4/16/22, 3:38 PM                                                            Gmail - ca state bar confidential data publicly accessible




                                               2022-02-27_19-00-13.png
                                               147K




                                               2022-02-27_19-00-21.png
                                               189K




                                               2022-02-27_19-00-29.png
                                               101K




  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                        Sun, Feb 27, 2022 at 8:12 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>

    Hi Kevan,

    We greatly appreciate you making contact with us, for taking down the records, and for being willing to speak with us tomorrow.

    It is not our current belief that any unlawful or malicious hacking occurred. We look forward to learning more about your statement that the records
    were publicly available. Understanding how the nonpublic records may have been unintentionally swept up with the public records will help us to better
    secure our data.


https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725958157881905343&simpl=msg-f%3A1725958157881905343&simpl=msg-a%3Ar-1194339205369087…   4/5


                                                                                                                                                     Schwitzer000000005
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 69 of 186 Page ID #:1117

4/16/22, 3:38 PM                                                                       Gmail - ca state bar confidential data publicly accessible

    Sending over the invite for tomorrow's call shortly.

    Sincerely,

    Rick

    --

    Rick Rankin | IT Director (Interim)
    The State Bar of California
    180 Howard St. | San Francisco, CA 94105
    845 S. Figueroa St. | Los Angeles, CA 90017
    213-393-6725

    NEW! Schedule time with me HERE

    This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for the intended recipient, you may
    not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Sunday, February 27, 2022 15:52
    [Quoted text hidden]

    [Quoted text hidden]




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725958157881905343&simpl=msg-f%3A1725958157881905343&simpl=msg-a%3Ar-1194339205369087…                          5/5


                                                                                                                                                                          Schwitzer000000006
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 70 of 186 Page ID #:1118




                                                                                  Schwitzer000000007
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 71 of 186 Page ID #:1119




                                                                                  Schwitzer000000008
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 72 of 186 Page ID #:1120




                                                                                  Schwitzer000000009
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 73 of 186 Page ID #:1121
      Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 74 of 186 Page ID #:1122
      California State Bar Court                               3         3                    0                     $0.00
19.                                /record/igbwuyh2af5                        00:00:35             0.00%    0.00%
      Record - judyrecords                                (0.30%)   (0.33%)              (0.00%)                    (0.00%)

      California State Bar Court                               3         1                    0                     $0.00
20.                                /record/lyc0ehef774                        00:05:18             0.00%    0.00%
      Record - judyrecords                                (0.30%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               3         1                    0                     $0.00
21.                                /record/n1ewqpga4957                       00:00:51             0.00%    0.00%
      Record - judyrecords                                (0.30%)   (0.11%)              (0.00%)                    (0.00%)

      California State Bar Court                               3         1                    0                     $0.00
22.                                /record/n87l39tj956c                       00:06:36             0.00%    0.00%
      Record - judyrecords                                (0.30%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               3         1                    0                     $0.00
23.                                /record/nbjxnpqv951e                       00:01:10             0.00%    0.00%
      Record - judyrecords                                (0.30%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               3         1                    0                     $0.00
24.                                /record/ntnsiila1af1                       00:00:17             0.00%    0.00%
      Record - judyrecords                                (0.30%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               3         3                    0                     $0.00
25.                                /record/p8w9sevcdae                        00:00:19             0.00%    0.00%
      Record - judyrecords                                (0.30%)   (0.33%)              (0.00%)                    (0.00%)

      California State Bar Court                               3         2                    0                     $0.00
26.                                /record/sk06lu06782                        00:00:15             0.00%    0.00%
      Record - judyrecords                                (0.30%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               3         3                    0                     $0.00
27.                                /record/t8qkkeebe31                        00:00:21             0.00%   33.33%
      Record - judyrecords                                (0.30%)   (0.33%)              (0.00%)                    (0.00%)


      California State Bar Court                               3         3                    0                     $0.00
28.                                /record/u8q8t39d55d                        00:00:37             0.00%    0.00%
      Record - judyrecords                                (0.30%)   (0.33%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
29.                                /record/027en9v3b43                        00:00:44             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
30.                                /record/20fk5lqe9a5                        00:00:20             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         1                    0                     $0.00
31.                                /record/2bjeee1fe24                        00:00:15             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
32.                                /record/2uczrw90943                        00:00:29             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
33.                                /record/5u2cvba930f                        00:00:17             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
34.                                /record/co74fma63d3                        00:00:31             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
35.                                /record/d07rxve4c5a                        00:00:08             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
36.                                /record/d22k6v29b556                       00:00:29             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
37.                                /record/d2ti2h9e7ee0                       00:01:53             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
38.                                /record/d5y2cqi96333                       00:00:17             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
39.                                /record/daqv3crqcc53                       00:00:38             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
40.                                /record/dc0056709df0                       00:02:12             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
41.                                /record/dcu7ws91983b                       00:01:05             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
42.                                /record/dcw39h3h5ace                       00:00:12             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         1                    0                     $0.00
43.                                /record/ddrc0yevaa19                       00:00:36             0.00%   50.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
44.                                /record/ddusqj0v32ab                       00:00:31             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         1                    0                     $0.00
45.                                /record/de1dexj12bd2                       00:00:03             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
46.                                /record/djaqbck0b3e8                       00:00:10             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         2                    0                     $0.00
47.                                /record/dnpgcqsh1e66                       00:00:11             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
48.                                /record/dpjemma226e                        00:06:50             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         2                    0                     $0.00
49.                                /record/dt9eso70d163                       00:00:14             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         2                    0                     $0.00
50.                                /record/du11vy2hdf4f                       00:00:24             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         1                    0                     $0.00
51.                                /record/dudlxpve405f                       00:00:13             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

                                                                                  Schwitzer000000011
      Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 75 of 186 Page ID #:1123
      California State Bar Court                               2         2                    0                     $0.00
52.                                /record/duyys5ma91a6                       00:00:11             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         1                    0                     $0.00
53.                                /record/dvjg62d9d1ea                       00:00:05             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         1                    0                     $0.00
54.                                /record/dxaa3wvvc6a3                       00:00:32             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         2                    0                     $0.00
55.                                /record/f61gc8a8201                        00:00:10             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         2                    0                     $0.00
56.                                /record/kzr6it00bb0                        00:00:10             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
57.                                /record/lgv9g7j0015                        00:00:10             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         1                    0                     $0.00
58.                                /record/m9emzh6895                         00:00:03             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         1                    0                     $0.00
59.                                /record/n1yt0q8qb3db                       00:00:16             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         2                    0                     $0.00
60.                                /record/n3fygjfaa9a5                       00:00:44             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
61.                                /record/n4gg1sh18cbe                       00:04:24             0.00%   50.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         2                    0                     $0.00
62.                                /record/n8rck7mqcb79                       00:10:21             0.00%   50.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
63.                                /record/na8adr0e5f08                       00:00:34             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         1                    0                     $0.00
64.                                /record/nja1zxav978d                       00:00:46             0.00%   50.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
65.                                /record/nks20yh171dc                       00:00:25             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
66.                                /record/nmhhhs2haf67                       00:00:10             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
67.                                /record/nn7sb9v17cb                        00:00:25             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
68.                                /record/nrixby49ec6d                       00:00:14             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
69.                                /record/nzi4vhsh18d7                       00:00:19             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
70.                                /record/q1cwe299d6e                        00:00:10             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
71.                                /record/qgu8wvv0764                        00:02:59             0.00%   50.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
72.                                /record/qmchw2h6ee5                        00:00:07             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
73.                                /record/rasvj2971d2                        00:00:11             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
74.                                /record/rml6f9ve974                        00:00:10             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
75.                                /record/rxslc70f22c                        00:00:16             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
76.                                /record/t3ztl7j1f18                        00:02:37             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
77.                                /record/t833v1190d5                        00:00:14             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
78.                                /record/t8unc1e4792                        00:00:20             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
79.                                /record/tgzuugaf20e                        00:00:15             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
80.                                /record/tvi241vb429                        00:01:15             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
81.                                /record/u299w13h681e                       00:00:08             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         1                    0                     $0.00
82.                                /record/uj33xuvec42f                       00:00:18             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

      California State Bar Court                               2         1                    0                     $0.00
83.                                /record/ulm8mxo039ea                       00:01:23             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


      California State Bar Court                               2         2                    0                     $0.00
84.                                /record/upe4bfdhfab9                       00:00:29             0.00%    0.00%
      Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)

                                                                                  Schwitzer000000012
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 76 of 186 Page ID #:1124

       California State Bar Court                               2         2                    0                     $0.00
 85.                                /record/uppxvba29d1                        00:00:10             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)

       California State Bar Court                               2         2                    0                     $0.00
 86.                                /record/utjhqb7j2ecf                       00:00:42             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         1                    0                     $0.00
 87.                                /record/uydufbw9f832                       00:01:01             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         1                    0                     $0.00
 88.                                /record/v099y4vvb0c3                       00:00:21             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         1                    0                     $0.00
 89.                                /record/v45yxpmq961f                       00:01:33             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

       California State Bar Court                               2         1                    0                     $0.00
 90.                                /record/va1otpjcf67                        00:02:03             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         2                    0                     $0.00
 91.                                /record/ve47qv3hecda                       00:00:26             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         2                    1 100.00% 100.00%     $0.00
 92.                                /record/vehc9s493ebe                       00:00:00
       Record - judyrecords                                (0.20%)   (0.22%)              (7.14%)                    (0.00%)


       California State Bar Court                               2         1                    0                     $0.00
 93.                                /record/vfxuu2ih0022                       00:00:09             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

       California State Bar Court                               2         1                    0                     $0.00
 94.                                /record/vg8o4t706538                       00:00:34             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         2                    0                     $0.00
 95.                                /record/vgq77ycj6ccd                       00:00:16             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         2                    0                     $0.00
 96.                                /record/vgqe1w2h6670                       00:00:11             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         1                    0                     $0.00
 97.                                /record/vgupqla1300d                       00:00:11             0.00%   50.00%
       Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         2                    0                     $0.00
 98.                                /record/viwpl0ec583                        00:00:30             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         2                    0                     $0.00
 99.                                /record/vjoqrojea14                        00:00:21             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         1                    0                     $0.00
100.                                /record/vwi hiuj1263                       00:00:04             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         2                    0                     $0.00
101.                                /record/vx486j13000                        00:00:08             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         2                    0                     $0.00
102.                                /record/xqhu0gq084d                        00:00:06             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         2                    1 100.00% 100.00%     $0.00
103.                                /record/yczbgoj8a20                        00:00:00
       Record - judyrecords                                (0.20%)   (0.22%)              (7.14%)                    (0.00%)


       California State Bar Court                               2         2                    0                     $0.00
104.                                /record/ylrn19ebfab                        00:00:02             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.22%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         1                    0                     $0.00
105.                                /record/ylsdmw91791                        00:00:24             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)

       California State Bar Court                               2         1                    0                     $0.00
106.                                /record/ypjapqva4c6                        00:00:15             0.00%    0.00%
       Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               2         1                    0                     $0.00
107.                                /record/zm4vefa67d3                        00:00:08             0.00%   50.00%
       Record - judyrecords                                (0.20%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               1         1                    0                     $0.00
108.                                /record/0531wfqd6bf                        00:00:40             0.00%    0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               1         1                    0                     $0.00
109.                                /record/0vln03h2ad4                        00:00:12             0.00%    0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               1         1                    0                     $0.00
110.                                /record/0vq7sz91997                        00:00:21             0.00%    0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               1         1                    0                     $0.00
111.                                /record/0vqswevf256                        00:00:24             0.00%    0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               1         1                    0                     $0.00
112.                                /record/0vs13uj655a                        00:00:14             0.00%    0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               1         1                    0                     $0.00
113.                                /record/162ptpjf31b                        00:00:15             0.00%    0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               1         1                    0                     $0.00
114.                                /record/1haghi9b0fd                        00:00:02             0.00%    0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               1         1                    0                     $0.00
115.                                /record/1knuh0ved59                        00:00:13             0.00%    0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                    (0.00%)

       California State Bar Court                               1         1                    0                     $0.00
116.                                /record/1qmz3919176                        00:00:11             0.00%    0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                    (0.00%)


       California State Bar Court                               1         1                    0                     $0.00
117.                                /record/23j8ji9ab4d                        00:00:40             0.00%    0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                    (0.00%)

                                                                                   Schwitzer000000013
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 77 of 186 Page ID #:1125

       California State Bar Court                              1         1                    0                    $0.00
118.                                /record/27wooav3de5                       00:00:40             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
119.                                /record/2jqwowh7a65                       00:00:57             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
120.                                /record/2ndl59v57fb                       00:00:18             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
121.                                /record/2on03ev5ab0                       00:00:12             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
122.                                /record/2ujnmkj1b1f                       00:00:29             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
123.                                /record/3otu6pj3103                       00:02:36             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
124.                                /record/41tist0e22a                       00:00:00             0.00% 100.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
125.                                /record/4z0hu1e1ce1                       00:00:38             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
126.                                /record/50z23qe9862                       00:00:36             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
127.                                /record/5mk2vi974de                       00:01:28             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
128.                                /record/5v0oscje4a4                       00:00:03             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
129.                                /record/7n1oloj6191                       00:02:22             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
130.                                /record/81krtmq3a35                       00:00:05             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
131.                                /record/88i6k1e3205                       00:00:06             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
132.                                /record/8g0w18qe767                       00:00:14             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
133.                                /record/8havwla79e2                       00:00:23             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
134.                                /record/8xkmv0v14cc                       00:00:03             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
135.                                /record/a5qfw1v47bb                       00:00:01             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
136.                                /record/adhg7mqd27b                       00:00:15             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
137.                                /record/ar2mid951c6                       00:00:03             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
138.                                /record/atzb3d90795                       00:00:19             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
139.                                /record/bsthe115da2                       00:00:18             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
140.                                /record/c24qmkj0a35                       00:00:07             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
141.                                /record/c2675ojc1e5                       00:00:09             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
142.                                /record/c271pmq5dbd                       00:00:06             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
143.                                /record/c29z2ih9dec                       00:00:04             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
144.                                /record/c2bs1fa0f48                       00:00:06             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
145.                                /record/c2ed6qvdc36                       00:00:06             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
146.                                /record/c2exrw92357                       00:00:10             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
147.                                /record/c2wnit015f0                       00:00:05             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
148.                                /record/ccr5sihcb3b                       00:00:50             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
149.                                /record/cl kn0ea285                       00:00:19             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
150.                                /record/clpvz5a8cf0                       00:00:10             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)
                                                                                  Schwitzer000000014
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 78 of 186 Page ID #:1126
       Record judyrecords                                  (     )   (     )              (     )                   (     )


       California State Bar Court                               1         1                    0                    $0.00
151.                                /record/clswmc0f0eb                        00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
152.                                /record/cojmr0e5aec                        00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
153.                                /record/cqekk070c9                         00:00:35             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
154.                                /record/cr0ywae84a9                        00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
155.                                /record/cr2oslade6e                        00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
156.                                /record/crdfxav9f9e                        00:00:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
157.                                /record/ct4lnma94a4                        00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
158.                                /record/d015bboj82b8                       00:00:42             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
159.                                /record/d02we55q3329                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
160.                                /record/d0h6yyt04eef                       00:01:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
161.                                /record/d0ibw6ee0bad                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
162.                                /record/d0p9bq0vf629                       00:00:38             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
163.                                /record/d0qz6c0183e4                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
164.                                /record/d0tylw9096c                        00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
165.                                /record/d0vuppwh868c                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
166.                                /record/d1377q0vea18                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
167.                                /record/d1besjfa4d99                       00:00:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
168.                                /record/d1lo0q29c47c                       00:00:30             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
169.                                /record/d1tgzhhe3628                       00:00:20             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
170.                                /record/d1xrq0e1e088                       00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
171.                                /record/d1yvao1e923d                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
172.                                /record/d21vwt087a4                        00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
173.                                /record/d268ja600a58                       00:00:02             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
174.                                /record/d2f5hm0ef9b3                       00:00:01             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
175.                                /record/d2j1hi1v4f50                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
176.                                /record/d2ktv6na1ac9                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
177.                                /record/d2ou0c702bd5                       00:00:33             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
178.                                /record/d2qwtkj19070                       00:00:29             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
179.                                /record/d4rf4ibq9c98                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
180.                                /record/d5ayt0604ccc                       00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
181.                                /record/d5hmzyqe69b4                       00:03:43             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
182.                                /record/d5yvrh29ea34                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
183.                                /record/d62gahfad477                       00:00:11             0.00%   0.00%
       Record judyrecords                                  (0 10%)   (0 11%)              (0 00%)                   (0 00%)
                                                                                   Schwitzer000000015
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 79 of 186 Page ID #:1127
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
184.                                /record/d654mo1e7405                                               00:00:13             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
185.                                /record/d6lohafa3386                                               00:00:15             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                                                       1         1                    0                    $0.00
186.                                /record/d6ol2qv11f34                                               00:00:18             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
187.                                /record/d6zjdt1e362d                                               00:00:20             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
188.                                /record/d74nkduj4327                                               00:00:26             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
189.                                /record/d782fd1vaab2                                               00:00:06             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
190.                                /record/d9hv0q29de26                                               00:00:31             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
191.                                /record/danw6kqvda48                                               00:00:04             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                                                       1         1                    0                    $0.00
192.                                /record/db19kwev229a                                               00:00:21             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
193.                                /record/dbc9wz923c7                                                00:00:58             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
194.                                /record/dbkac9he2cf2                                               00:00:15             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
195.                                /record/dccl0i9e695                                                00:00:13             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                                                       1         1                    0                    $0.00
196.                                /record/dcpkl4x0f723                                               00:00:08             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                                                       1         1                    0                    $0.00
197.                                /record/dcr1ae299c24                                               00:00:17             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
198.                                /record/dd02yg9v1a97                                               00:00:43             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                                                       1         1                    0                    $0.00
199.                                /record/dd2w857j9864                                               00:00:15             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                                                       1         1                    0                    $0.00
200.                                /record/dddaayx0017b                                               00:01:07             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)

                                    /record/ddj5c5c001fc?fbclid=IwAR349COPIGSoAE
       California State Bar Court                                                       1         1                    1 100.00% 100.00%    $0.00
201.                                ZOczECwNzrZxrR6i-ZYoKVXLax_gr-_6rRxqqbU6eq                         00:00:00
       Record - judyrecords                                                        (0.10%)   (0.11%)              (7.14%)                   (0.00%)
                                    0js

       California State Bar Court                                                       1         1                    0                    $0.00
202.                                /record/ddm5ir5q2f45                                               00:00:24             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                                                       1         1                    0                    $0.00
203.                                /record/ddos6709752                                                00:00:17             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
204.                                /record/ddzny8q14f2c                                               00:00:15             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
205.                                /record/df33xj295a17                                               00:00:15             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                                                       1         1                    0                    $0.00
206.                                /record/dfb7f9e14597                                               00:00:06             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                                                       1         1                    0                    $0.00
207.                                /record/dfbi77qvd152                                               00:00:11             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
208.                                /record/dfef90298eb4                                               00:00:40             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
209.                                /record/dfelmn4haa82                                               00:00:09             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                                                       1         1                    0                    $0.00
210.                                /record/dfh16hi9c2f4                                               00:00:42             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
211.                                /record/dfkaskga271d                                               00:00:15             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                                                       1         1                    0                    $0.00
212.                                /record/dfmqmc01db0e                                               00:00:20             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
213.                                /record/dfspdjnq1f9b                                               00:00:11             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                                                       1         1                    0                    $0.00
214.                                /record/dfw93mje16f0                                               00:00:07             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                                                       1         1                    0                    $0.00
215.                                /record/dfy87upj84af                                               00:00:20             0.00%   0.00%
       Record - judyrecords                                                        (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       C lif   i S     B   C
                                                                                                           Schwitzer000000016               $
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 80 of 186 Page ID #:1128
       California State Bar Court                               1         1                    0                    $0.00
216.                                /record/dh0os9492a                         00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
217.                                /record/dh88fa0va39a                       00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
218.                                /record/dh8w0zvvb347                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
219.                                /record/dh8w3ei94fe3                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
220.                                /record/dhfa7cyh5f42                       00:00:31             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
221.                                /record/dhisbn0ebfa1                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
222.                                /record/dhncs45a760e                       00:00:18             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
223.                                /record/dhoasgu0b51e                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
224.                                /record/dhrgbu70ba49                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
225.                                /record/dhzqjlc0322c                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
226.                                /record/di6za249bcb2                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
227.                                /record/di9hds91582d                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
228.                                /record/die8n8q1a36d                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
229.                                /record/dig9qp39a403                       00:00:03             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
230.                                /record/dirvlu01942d                       00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
231.                                /record/divzkpna8f9f                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
232.                                /record/djc07iz94bb9                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
233.                                /record/djurhl5qfcdc                       00:00:26             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
234.                                /record/dk27hnra8ebe                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
235.                                /record/dkcjefa1611d                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
236.                                /record/dkegjuna8c80                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
237.                                /record/dkvluc39eb57                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
238.                                /record/dl006x8a0839                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
239.                                /record/dl0sc0he3e11                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
240.                                /record/dl4auw49cf2a                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
241.                                /record/dl4v74h12498                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
242.                                /record/dl7ef1tj4a4e                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
243.                                /record/dlqozx1ec36c                       00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
244.                                /record/dlqva8a1ab7a                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
245.                                /record/dlqvuunae001                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
246.                                /record/dlrcu8q12789                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
247.                                /record/dmi426ve3195                       00:00:56             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
248.                                /record/dn10oduj41a4                       00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


                                                                                   Schwitzer000000017
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 81 of 186 Page ID #:1129
       California State Bar Court                               1         1                    0                    $0.00
249.                                /record/dnc953vv533c                       00:01:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
250.                                /record/dnf43s2h5347                       00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
251.                                /record/dnkhius9d239                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
252.                                /record/dnpdrgy91d1f                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
253.                                /record/dnsd28ra77f2                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
254.                                /record/dnu6svv849c                        00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
255.                                /record/do07p3z90f26                       00:00:33             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
256.                                /record/do1xw6wh9421                       00:00:58             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
257.                                /record/do5xkit0c65d                       00:00:30             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
258.                                /record/do9s9nzh75ad                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
259.                                /record/dohfwyh1dfe2                       00:00:01             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
260.                                /record/dojsmsae1e4f                       00:01:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
261.                                /record/doozqflq3175                       00:00:31             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
262.                                /record/dopbotrq2ff0                       00:00:20             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
263.                                /record/doyh6nw9e7c2                       00:01:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
264.                                /record/doypjtmqf0ee                       00:00:23             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
265.                                /record/dp8p09e1e6f9                       00:00:41             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
266.                                /record/dpgwpfmad954                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
267.                                /record/dpk0wj601a5c                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
268.                                /record/dpl4izujf551                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
269.                                /record/dpr0hhnq6f85                       00:01:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
270.                                /record/dpyxqjp0a247                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
271.                                /record/drllpahe12f0                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
272.                                /record/drls5q600e7e                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
273.                                /record/drq04p3902f1                       00:26:24             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
274.                                /record/drq0pe0vf9b0                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
275.                                /record/drqgujhe6fe6                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
276.                                /record/drqr0r4h9646                       00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
277.                                /record/drqr3mc04b42                       00:01:30             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
278.                                /record/drqxy61e2bc9                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
279.                                /record/drr5pzlaf3c4                       00:00:22             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
280.                                /record/drs9z1vdc45                        00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
281.                                /record/drzumsihbc30                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


                                                                                   Schwitzer000000018
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 82 of 186 Page ID #:1130
       California State Bar Court                               1         1                    0                    $0.00
282.                                /record/dsmty66j78e4                       00:00:37             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
283.                                /record/dsnzuxna7be1                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
284.                                /record/dstbi8a1b3ce                       00:00:31             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
285.                                /record/dsvec1i9b403                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
286.                                /record/dt3irl7j06aa                       00:00:34             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
287.                                /record/dt4tx0608055                       00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
288.                                /record/dt7hgivve493                       00:00:20             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
289.                                /record/dt7ieunaeac8                       00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
290.                                /record/dtijzg7jca39                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
291.                                /record/du085boj5ed0                       00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
292.                                /record/du7qs7ga1c26                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
293.                                /record/due8332hef96                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
294.                                /record/duvs5k8a789f                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
295.                                /record/duzankeea814                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
296.                                /record/dv661la18500                       00:01:50             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
297.                                /record/dvl9ijv115ad                       00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
298.                                /record/dvlcnmhv7fc3                       00:00:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
299.                                /record/dvo9n7017abe                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
300.                                /record/dvpjozbq457b                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
301.                                /record/dvsnudz97f1e                       00:01:00             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
302.                                /record/dvtgtoga424f                       00:00:02             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
303.                                /record/dvvghxnafd55                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
304.                                /record/dw0rdkyh3e01                       00:00:22             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
305.                                /record/dw8l8y93bfa                        00:00:54             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
306.                                /record/dwkby111a5eb                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
307.                                /record/dx2rrprq6efb                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
308.                                /record/dxe4wu709a1f                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
309.                                /record/dy36emma53e5                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
310.                                /record/dy5nmk8a5286                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
311.                                /record/dy6ifprq7926                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
312.                                /record/dy6nhkwh2bba                       00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
313.                                /record/dy6vj2vvac45                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
314.                                /record/dy70txveee2f                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

                                                                                   Schwitzer000000019
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 83 of 186 Page ID #:1131

       California State Bar Court                               1         1                    0                    $0.00
315.                                /record/dy91hbma1800                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
316.                                /record/dy9fjcwh36cd                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
317.                                /record/dy9k6kve03f8                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
318.                                /record/dy9krok0aa1c                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
319.                                /record/dy9ub54hb062                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
320.                                /record/dyakuuvee89d                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
321.                                /record/dyde903hbb91                       00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
322.                                /record/dyghproj1126                       00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
323.                                /record/dyhciba1ff67                       00:00:32             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
324.                                /record/dyl385c008ec                       00:01:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
325.                                /record/dypclf9vf6c5                       00:00:35             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
326.                                /record/dypk22ha62f                        00:00:20             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
327.                                /record/dypz8uga0279                       00:02:30             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
328.                                /record/dyy2menq28c1                       00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
329.                                /record/dyzpa08q0282                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
330.                                /record/dz4l5unaade5                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
331.                                /record/dz6qwkav0096                       00:00:48             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
332.                                /record/dz6wxibq376f                       00:00:03             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
333.                                /record/dzbcee182e2                        00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
334.                                /record/dzqyzbkj8475                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
335.                                /record/dzrvhb4hf2c9                       00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
336.                                /record/dzt3unma7d52                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
337.                                /record/ef1hx0184dd                        00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
338.                                /record/en3d1v178b3                        00:00:27             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
339.                                /record/f762wt02ceb                        00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
340.                                /record/fakf9tjeb3f                        00:00:20             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
341.                                /record/fqcst702e6c                        00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
342.                                /record/frv2ep07db3                        00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
343.                                /record/fstaoav4bae                        00:00:27             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
344.                                /record/gbqi80eeb41                        00:00:27             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
345.                                /record/h00d21v3ceb                        00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
346.                                /record/h31npwha923                        00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
347.                                /record/h3w6l5q6a09                        00:00:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

                                                                                   Schwitzer000000020
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 84 of 186 Page ID #:1132

       California State Bar Court                              1         1                    0                    $0.00
348.                                /record/h4xyp706afe                       00:00:02             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
349.                                /record/h60tuee7fff                       00:00:57             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
350.                                /record/h8l7nzh9169                       00:00:15             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
351.                                /record/hd6zicj9ea3                       00:00:44             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
352.                                /record/hjg5ma2fa5                        00:00:16             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
353.                                /record/hlqpcs944da                       00:00:08             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
354.                                /record/hqfwb5q56e4                       00:00:07             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
355.                                /record/hwgixgac738                       00:00:08             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
356.                                /record/i2w4h3h29cf                       00:00:12             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    1 100.00% 100.00%    $0.00
357.                                /record/i7jhi9f0e9                        00:00:00
       Record - judyrecords                               (0.10%)   (0.11%)              (7.14%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
358.                                /record/i7jpboj2e19                       00:00:24             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
359.                                /record/ia0f66jcc52                       00:00:20             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
360.                                /record/idpfvjv245a                       00:00:08             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
361.                                /record/itkafy90765                       00:00:07             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
362.                                /record/j0nupveda1e                       00:00:32             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
363.                                /record/j58igc01b28                       00:00:01             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
364.                                /record/j9y74eve246                       00:00:13             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
365.                                /record/jdpb9tj6213                       00:00:33             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    1 100.00% 100.00%    $0.00
366.                                /record/jh4wn7j4a0c                       00:00:00
       Record - judyrecords                               (0.10%)   (0.11%)              (7.14%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
367.                                /record/jrzvih15402                       00:00:01             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
368.                                /record/k9tllu05a5d                       00:00:17             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
369.                                /record/kjd6jba772f                       00:00:26             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
370.                                /record/l7lj1nqec3c                       00:00:12             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
371.                                /record/lbbz55q3c91                       00:00:20             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
372.                                /record/le8m8w90b18                       00:00:23             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
373.                                /record/lewgc0efdf                        00:02:34             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
374.                                /record/lgampna5175                       00:00:11             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
375.                                /record/llbaahe20f3                       00:00:11             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
376.                                /record/lpj76o03d84                       00:00:29             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
377.                                /record/lwp37nadbc5                       00:00:17             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
378.                                /record/m1eyvhe740a                       00:00:09             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                              1         1                    0                    $0.00
379.                                /record/mbn7zz950bd                       00:01:40             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                              1         1                    0                    $0.00
380.                                /record/mgyar9v00b9                       00:00:04             0.00%   0.00%
       Record - judyrecords                               (0.10%)   (0.11%)              (0.00%)                   (0.00%)
                                                                                  Schwitzer000000021
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 85 of 186 Page ID #:1133
                j   y

       California State Bar Court                               1         1                    0                    $0.00
381.                                /record/n0am6n4hb84e                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
382.                                /record/n0befyt00490                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
383.                                /record/n0i9yla819a                        00:10:23             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
384.                                /record/n0vbi6ve9f06                       00:00:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
385.                                /record/n0xawy1v5a12                       00:00:20             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
386.                                /record/n0yr60p0f371                       00:00:51             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
387.                                /record/n14xvvtj99d0                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
388.                                /record/n16vsrma0aa6                       00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
389.                                /record/n17xjomqd64f                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
390.                                /record/n18mff4hf730                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
391.                                /record/n1lf8os9ce0c                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
392.                                /record/n1nc3n4h98bb                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
393.                                /record/n1q70av1f4fa                       00:00:23             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
394.                                /record/n27dps90e94                        00:24:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
395.                                /record/n2hkzbkjbfa2                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
396.                                /record/n2tidbra9fce                       00:01:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
397.                                /record/n2ulbj8q264e                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
398.                                /record/n2xnpjfa82ca                       00:00:02             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
399.                                /record/n2z87h606ec9                       00:00:03             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
400.                                /record/n2zc19he4220                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
401.                                /record/n30ewr9v13c0                       00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
402.                                /record/n359za0vf0bf                       00:00:30             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
403.                                /record/n36bifw94340                       00:00:20             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
404.                                /record/n36vqpo09940                       00:00:22             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
405.                                /record/n3808c010637                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
406.                                /record/n39tag0e140d                       00:00:22             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
407.                                /record/n3g4f45aeb98                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
408.                                /record/n3nfe5kjc5be                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
409.                                /record/n3w806pjaade                       00:01:35             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
410.                                /record/n3xkmap0114f                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
411.                                /record/n3yiy6yh1cb9                       00:00:18             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
412.                                /record/n4no7h3h6c71                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
413.                                /record/n4nos4ujabbe                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0 10%)   (0 11%)              (0 00%)                   (0 00%)
                                                                                   Schwitzer000000022
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 86 of 186 Page ID #:1134
       Record judyrecords                                  (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
414.                                /record/n4pir6j17e28                       00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
415.                                /record/n53o5u013346                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
416.                                /record/n54bso6j86e2                       00:00:33             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
417.                                /record/n57ast8a9f80                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
418.                                /record/n57hhck0a68f                       00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
419.                                /record/n5eajxk0ce22                       00:00:24             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
420.                                /record/n5ewh0sh1c97                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
421.                                /record/n5pgonw90b9d                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
422.                                /record/n5rms8dhdaa2                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
423.                                /record/n65cwz495694                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
424.                                /record/n65kx13hfe6e                       00:00:24             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
425.                                /record/n69mqajv19c8                       00:00:30             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
426.                                /record/n6am2929646a                       00:00:02             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
427.                                /record/n6ih7foj293a                       00:01:28             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
428.                                /record/n6ob77j1bd40                       00:00:31             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
429.                                /record/n6omcwujc996                       00:01:02             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
430.                                /record/n6sc6enq63e0                       00:00:30             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
431.                                /record/n6tc2vsh9f1c                       00:00:31             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
432.                                /record/n6u5tp011138                       00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
433.                                /record/n6v1eegq9003                       00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
434.                                /record/n78a4w9110bb                       00:00:40             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
435.                                /record/n7aetyx02fce                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
436.                                /record/n7lfnq0v3e24                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
437.                                /record/n7pvusz94e36                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
438.                                /record/n7x63e8q7e33                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
439.                                /record/n89k39jv9b17                       00:02:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
440.                                /record/n8amrxwh093e                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
441.                                /record/n8pbjv9ec8b1                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
442.                                /record/n8pidu0175d5                       00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
443.                                /record/n8qnwr7j4fdb                       00:00:23             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
444.                                /record/n8vzcqtj13dd                       00:01:18             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
445.                                /record/n90f557j811d                       00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
446.                                /record/n91un6ga0ae8                       00:00:38             0.00%   0.00%
       R     d j d        d
                                                                                   Schwitzer000000023
                                                           (0 10%)   (0 11%)              (0 00%)                   (0 00%)
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 87 of 186 Page ID #:1135
  6.                                /record/n91un6ga0ae8                       00:00:38             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
447.                                /record/n98el19ebc41                       00:00:42             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
448.                                /record/n998957j485c                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
449.                                /record/n99mg90v256b                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
450.                                /record/n9a37d5a46d1                       00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
451.                                /record/n9c2wfzhed0b                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
452.                                /record/n9cf21gq6fc0                       00:00:18             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
453.                                /record/n9deblc098ee                       00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
454.                                /record/n9duadevc6c6                       00:00:18             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
455.                                /record/n9ihfmhvf2cd                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
456.                                /record/n9in7axjaa62                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
457.                                /record/n9nb9vv10782                       00:00:35             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
458.                                /record/n9nq5gmaf962                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
459.                                /record/n9rkyma1ba56                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
460.                                /record/n9ukv5jeb72d                       00:00:37             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
461.                                /record/n9v8w739913f                       00:00:22             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
462.                                /record/n9wfh3490c52                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
463.                                /record/na098zih2c44                       00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
464.                                /record/na2m7i1v5582                       00:00:44             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
465.                                /record/na7q8iev85a9                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
466.                                /record/nabv1c01d822                       00:00:38             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
467.                                /record/naj3b42hcd38                       00:00:26             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
468.                                /record/nak0mfa17acd                       00:00:36             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
469.                                /record/nal7vji9ec80                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
470.                                /record/nap66f7jcb18                       00:00:29             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
471.                                /record/nax1ukga2739                       00:00:27             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
472.                                /record/nayn9xav5ce0                       00:03:31             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
473.                                /record/naysyt038e4                        00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
474.                                /record/nb34iv9e9bf2                       00:00:27             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
475.                                /record/nb5gzep01e81                       00:00:23             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
476.                                /record/nb6usy2h56bc                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
477.                                /record/nbdpavxjaf94                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
478.                                /record/nbxz17s9c44d                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
479                                 /record/nbzhomq14f00                       00:00:17             0 00%   0 00%
                                                                                   Schwitzer000000024
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 88 of 186 Page ID #:1136
479.                                /record/nbzhomq14f00                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
480.                                /record/nc1c69jvc6bd                       00:00:43             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
481.                                /record/nc8955w9261d                       00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
482.                                /record/ncdbzk6j2d15                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
483.                                /record/ncj99tve1787                       00:00:27             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
484.                                /record/ndgcv8q3943                        00:00:01             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
485.                                /record/ndxwtmq4a93                        00:00:47             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
486.                                /record/negnrr5q2c99                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
487.                                /record/nei29ba7584                        00:00:58             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
488.                                /record/nett7xee0442                       00:00:02             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
489.                                /record/nev1gwujcef9                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
490.                                /record/nf7zhpav7bd9                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
491.                                /record/nfe11ehef4fa                       00:00:01             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
492.                                /record/nfgnwyx0ddb4                       00:00:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
493.                                /record/nfqnlcna19fb                       00:00:33             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
494.                                /record/nfs79tmq2905                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
495.                                /record/nfz6rcj133c4                       00:00:23             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
496.                                /record/ngjb5rlq7f9b                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
497.                                /record/nh85xtga28c4                       00:00:22             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
498.                                /record/nhewpu6j54bb                       00:00:26             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
499.                                /record/nhr3txj1efb6                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
500.                                /record/ni4h4cna333a                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
501.                                /record/ni774gq1de3f                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
502.                                /record/ni9xsoav981f                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
503.                                /record/nibhotyh7eb5                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
504.                                /record/nif1knma9304                       00:00:30             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
505.                                /record/nim53q3hdeb0                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
506.                                /record/niqk3lkj4002                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
507.                                /record/niss1ga1d73b                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
508.                                /record/niuzuqgqd12e                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
509.                                /record/nj0wr3vv3b4d                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
510.                                /record/nj9lmqv192e9                       00:00:30             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
511.                                /record/njaf3hba66b0                       00:00:28             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0 00
512                                 /    d/ j 6f3 j 080
                                                                                   Schwitzer000000025
                                                                               00 00 05       0 00% 0 00%
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 89 of 186 Page ID #:1137
       California State Bar Court                               1         1                    0                    $0.00
512.                                /record/njg6f3cja080                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
513.                                /record/njg9ij606975                       00:00:22             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
514.                                /record/njkd0jba580a                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
515.                                /record/njsq570116e2                       00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
516.                                /record/njtn6n7jd6a6                       00:03:24             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
517.                                /record/nk6u30p07dac                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
518.                                /record/nkf95mq1e73c                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
519.                                /record/nkfwhdbq0d4e                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
520.                                /record/nkgw20tj249f                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
521.                                /record/nkn9z4d92a05                       00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
522.                                /record/nkxxbgzh7c1e                       00:00:30             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
523.                                /record/nl28u00vae80                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
524.                                /record/nldv5xrq27cc                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
525.                                /record/nllzev9ed544                       00:01:37             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
526.                                /record/nlr52r7j0c9b                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
527.                                /record/nlreu84hf033                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
528.                                /record/nlrtup8adabf                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
529.                                /record/nm6ei2fq31dc                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
530.                                /record/nm7uzw2he758                       00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
531.                                /record/nm9ncz1v82ce                       00:00:23             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
532.                                /record/nmd0n4fq8b9c                       00:00:18             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
533.                                /record/nmtokw2h4158                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
534.                                /record/nnqoca113c58                       00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
535.                                /record/nnt5v59v0cd5                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
536.                                /record/nnvfs39122fb                       00:00:18             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
537.                                /record/nobu6av1dbaa                       00:01:47             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
538.                                /record/np5ptunabe61                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
539.                                /record/np8fi7ee5fab                       00:02:43             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
540.                                /record/npkn46pja4d1                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
541.                                /record/npm5vv9ed5b0                       00:00:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
542.                                /record/npupd0i925ad                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
543.                                /record/nr22ajv9254                        00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
544.                                /record/nr8s984hb64f                       00:00:28             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0 00
                                                                                   Schwitzer000000026
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 90 of 186 Page ID #:1138
       California State Bar Court                               1         1                    0                    $0.00
545.                                /record/nrar43z9c08b                       00:00:22             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
546.                                /record/nre1dvhea854                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
547.                                /record/nred5ibq967a                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
548.                                /record/nrg59s1vf4c6                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
549.                                /record/nrmy1vgq1968                       00:16:35             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
550.                                /record/nrtvhpgaf801                       00:00:56             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
551.                                /record/nsfzbsqe66f5                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
552.                                /record/nsz349tjc37e                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
553.                                /record/nt2eo89vac76                       00:00:26             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
554.                                /record/ntc41cyh19fe                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
555.                                /record/ntu69dh1a216                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
556.                                /record/nvs2j08qf201                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
557.                                /record/nvxz639ed1e                        00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
558.                                /record/nw3dey91c563                       00:00:25             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
559.                                /record/nw64zwd9b365                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
560.                                /record/nw96bee16cc5                       00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
561.                                /record/nwa8snw9495a                       00:00:27             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
562.                                /record/nweszycj28ed                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
563.                                /record/nwjbal0ebd87                       00:00:18             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
564.                                /record/nwurte113936                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
565.                                /record/nwxpy7s92014                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
566.                                /record/nxbykfzh5c20                       00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
567.                                /record/nxfl0m7j76cc                       00:00:01             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
568.                                /record/nxilo6jb9ae                        00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
569.                                /record/nxjaj29274c                        00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
570.                                /record/nxjsn0shdb3d                       00:00:18             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
571.                                /record/nxsh31i96d78                       00:00:18             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
572.                                /record/ny3ggps99e92                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
573.                                /record/nykinuyhe52a                       00:00:30             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
574.                                /record/nyp0ezx03d6d                       00:00:23             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
575.                                /record/nyrrl12941fd                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
576.                                /record/nyyvrzvvc7ea                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
577.                                /record/nz03qu8aa494                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


                                                                                   Schwitzer000000027
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 91 of 186 Page ID #:1139
       California State Bar Court                               1         1                    0                    $0.00
578.                                /record/nz3qudqe7bcc                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
579.                                /record/nz5i8v110afd                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
580.                                /record/nzndg55q8aa6                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
581.                                /record/nzoq6dev83db                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
582.                                /record/nzu2b9sha21e                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
583.                                /record/nzz3rwvvb9f8                       00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
584.                                /record/paac5dh6679                        00:00:18             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
585.                                /record/pakv9hee456                        00:00:20             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
586.                                /record/patl2z9650e                        00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
587.                                /record/pbcei9177c0                        00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
588.                                /record/pdjw2499185                        00:01:31             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
589.                                /record/pemp9fa8f55                        00:00:35             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
590.                                /record/pib5iihb5ed                        00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
591.                                /record/pkuqprq5c64                        00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
592.                                /record/pl6q5a154c7                        00:00:18             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
593.                                /record/pmy91gqd4a0                        00:00:20             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
594.                                /record/qbsfqxjbf60                        00:00:28             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
595.                                /record/qdpzav1f25e                        00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
596.                                /record/qf93gdh40f1                        00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
597.                                /record/qt4xnojf111                        00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
598.                                /record/qtgqzih2609                        00:00:29             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
599.                                /record/qu4j2ihcda5                        00:00:33             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
600.                                /record/qu9ts2he3d3                        00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
601.                                /record/r4e331v7854                        00:00:32             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    1                    $0.00
602.                                /record/r5zfnw96a75                        00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (7.14%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
603.                                /record/r6btmkj5140                        00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
604.                                /record/r6wv6qv8bc6                        00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
605.                                /record/rdj6s91b30b                        00:00:47             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
606.                                /record/rr0zz2hdfde                        00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
607.                                /record/rvvt706235                         00:01:26             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
608.                                /record/s0py91132f7                        00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
609.                                /record/s11ygzh5848                        00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
610.                                /record/s5x5f5q367a                        00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


                                                                                   Schwitzer000000028
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 92 of 186 Page ID #:1140
       California State Bar Court                               1         1                    0                    $0.00
611.                                /record/sf9sry944b2                        00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
612.                                /record/sinzesha993                        00:00:23             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
613.                                /record/sl2cwvvae09                        00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
614.                                /record/slqcove86d5                        00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
615.                                /record/slr2qi97421                        00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
616.                                /record/slr5atjdb83                        00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
617.                                /record/slt4ck0f2e3                        00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
618.                                /record/slthuwh8eca                        00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
619.                                /record/sn7inw91f54                        00:00:32             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
620.                                /record/spex601bbeb                        00:00:22             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
621.                                /record/spwaiuja228                        00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
622.                                /record/spwu2z9148c                        00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
623.                                /record/srnz5je96d0                        00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
624.                                /record/t1mngma2a9e                        00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
625.                                /record/t8kjxrqc352                        00:00:26             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
626.                                /record/tde9ibq173c                        00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
627.                                /record/tf5wos9a082                        00:01:34             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
628.                                /record/tg7y8zhae8f                        00:00:24             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
629.                                /record/th6gflqd65a                        00:01:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
630.                                /record/tjfkq299e0f                        00:01:40             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
631.                                /record/tl2lzuj3b9e                        00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
632.                                /record/tuc585qbaad                        00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
633.                                /record/txbsfojc6db                        00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
634.                                /record/u04cjtyh1e5b                       00:00:28             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
635.                                /record/u0i1466j55ed                       00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
636.                                /record/u0ux0zx06073                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
637.                                /record/u18ouo39e7d3                       00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
638.                                /record/u1g7jogac745                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
639.                                /record/u1hm96014dc                        00:00:28             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
640.                                /record/u1q4f7whbecb                       00:00:02             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
641.                                /record/u1rdw1jv8602                       00:02:41             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
642.                                /record/u1u6nt1e7005                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
643.                                /record/u1wjkb9v097f                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

                                                                                   Schwitzer000000029
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 93 of 186 Page ID #:1141
       California State Bar Court                               1         1                    0                    $0.00
644.                                /record/u1y2qkna09f7                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
645.                                /record/u2ovjjv5898                        00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
646.                                /record/u2tv02fq8de7                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
647.                                /record/u4huove5eda                        00:01:36             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
648.                                /record/u5cywfqbd9a                        00:00:33             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
649.                                /record/u83a9p8abc1f                       00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
650.                                /record/u859n41va46a                       00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
651.                                /record/u8kxftpj5d92                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
652.                                /record/u8qpd55q6b93                       00:00:01             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
653.                                /record/u8sxsb5qf183                       00:01:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
654.                                /record/u9orcve177b                        00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
655.                                /record/ualw5r9v375d                       00:13:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
656.                                /record/uaxb761e3afc                       00:00:20             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
657.                                /record/uce62n9v00ae                       00:00:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
658.                                /record/uctdhduj7bf1                       00:00:32             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
659.                                /record/udeditna6f14                       00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
660.                                /record/udhmxna7d00                        00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
661.                                /record/udpau291d74a                       00:00:35             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
662.                                /record/udyqna16e49                        00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
663.                                /record/uf1xtok0862e                       00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
664.                                /record/uf4nfk01b830                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
665.                                /record/ufc63e609f1f                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
666.                                /record/ufkpjpve05cf                       00:00:18             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
667.                                /record/uh7pd2uj5444                       00:00:24             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
668.                                /record/uhr5ek6jce40                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
669.                                /record/ui75zcrqc0fc                       00:00:24             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
670.                                /record/uib4plc0bbbe                       00:00:38             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
671.                                /record/uib5rus98122                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
672.                                /record/uiyx56o0b278                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
673.                                /record/uj1xyc8aaaa6                       00:00:37             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
674.                                /record/uj6ics9e4ba                        00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
675.                                /record/uj9o9e8qd2d3                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
676.                                /record/ujej0c1e105f                       00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

                                                                                   Schwitzer000000030
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 94 of 186 Page ID #:1142

       California State Bar Court                               1         1                    0                    $0.00
677.                                /record/ujj1pqxj9471                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
678.                                /record/ujm37mc07924                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
679.                                /record/ukr677qv1228                       00:00:23             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
680.                                /record/uktpcrra1b7f                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
681.                                /record/ul46zfhvf367                       00:00:48             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
682.                                /record/ula2jc704963                       00:00:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
683.                                /record/uldj7701b405                       00:00:20             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
684.                                /record/ulndjvnqc97b                       00:00:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
685.                                /record/ulo7jtwh1b49                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
686.                                /record/ulxns4493915                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
687.                                /record/um05g670670b                       00:00:32             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
688.                                /record/umdf3tava8a3                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
689.                                /record/umjr1ts92b2d                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
690.                                /record/umv21saef860                       00:00:10             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
691.                                /record/umwh hfabd2c                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
692.                                /record/un0vje1d232                        00:00:42             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
693.                                /record/un6gx9i925b2                       00:00:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
694.                                /record/unc1djnq6450                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
695.                                /record/unm3pgq13242                       00:00:20             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
696.                                /record/untvpi2hd272                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
697.                                /record/unuefuk0ccc8                       00:00:05             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
698.                                /record/uo7gg06059b5                       00:00:13             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
699.                                /record/uobun3918c54                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
700.                                /record/uogu2mra569c                       00:00:21             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
701.                                /record/uokyr4fq0063                       00:00:01             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
702.                                /record/uosmvbabcdf                        00:00:00             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
703.                                /record/upl12x0ecef                        00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
704.                                /record/upsb5dh4fff                        00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
705.                                /record/upsslkj940b                        00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
706.                                /record/upxphuga4ccf                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
707.                                /record/uqbn1fc08555                       00:00:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
708.                                /record/uqgybck0bfd2                       00:00:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
709.                                /record/uqpbh3evb82a                       00:00:26             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

                                                                                   Schwitzer000000031
       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 95 of 186 Page ID #:1143

       California State Bar Court                               1         1                    0                    $0.00
710.                                /record/urzi7a0v7a46                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
711.                                /record/us78y90v74a6                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
712.                                /record/uscvln9v5316                       00:00:31             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
713.                                /record/usphmyaeeaac                       00:00:16             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
714.                                /record/ut4lkscj8cdf                       00:00:40             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
715.                                /record/ut4t1u8aa2bc                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
716.                                /record/utbmowhb344                        00:00:03             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
717.                                /record/utmb2pqvde4b                       00:00:19             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
718.                                /record/uty1jcqvecdd                       00:00:28             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)

       California State Bar Court                               1         1                    0                    $0.00
719.                                /record/uv83o3494aaf                       00:00:01             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
720.                                /record/uvb2oajv9f50                       00:00:04             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
721.                                /record/uvjxsx0616b                        00:00:14             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
722.                                /record/uvp7303heed3                       00:00:03             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
723.                                /record/uvsm05w91bb2                       00:00:08             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
724.                                /record/uvtkcco08768                       00:03:03             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
725.                                /record/uy1xnp1e32d9                       00:00:17             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
726.                                /record/uygu9nlq693f                       00:00:11             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
727.                                /record/uytr8y1v757b                       00:00:09             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
728.                                /record/uyzhn87jf02d                       00:00:43             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
729.                                /record/uzt5ahtjd8f4                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
730.                                /record/v0q6fok0d504                       00:01:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
731.                                /record/v1ibuc8a1382                       00:00:49             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
732.                                /record/v1irpo04cf5                        00:02:12             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
733.                                /record/v1ykdei9f574                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
734.                                /record/v1ykxhtj3fe1                       00:00:06             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
735.                                /record/v25z2eshe7fd                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
736.                                /record/v25z6p70d323                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
737.                                /record/v2qn8kgaa576                       00:00:15             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
738.                                /record/v3tvvbq1604c                       00:00:38             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
739.                                /record/v3y28us97b33                       00:00:07             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
740.                                /record/v3yp1kpj45eb                       00:00:22             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
741.                                /record/v3zf8z5a45b3                       00:00:24             0.00%   0.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)


       California State Bar Court                               1         1                    0                    $0.00
742.                                /record/v43nvxqv2564                       00:00:00             0.00% 100.00%
       Record - judyrecords                                (0.10%)   (0.11%)              (0.00%)                   (0.00%)
                                                                                   Schwitzer000000032
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 96 of 186 Page ID #:1144
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 97 of 186 Page ID #:1145
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 98 of 186 Page ID #:1146
Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 99 of 186 Page ID #:1147
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 100 of 186 Page ID #:1148

4/16/22, 3:39 PM                                                                              Gmail - zoom link



                                                                                                                              Kevan Schwitzer <kevanschwitzer@gmail.com>



  zoom link
  1 message

  Kevan Schwitzer <kevanschwitzer@gmail.com>                                                                                                     Mon, Feb 28, 2022 at 10:30 AM
  To: "Rankin, Rick" <Rick.Rankin@calbar.ca.gov>

    https://us05web.zoom.us/j/6518577100?pwd=bGhnVGl5Z0s4ZmFDdXNQM1MzV21hZz09




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-a%3Ar2387593658977421702&simpl=msg-a%3Ar4333087074444638296                               1/1


                                                                                                                                                     Schwitzer000000037
                        Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 101 of 186 Page ID #:1149

4/16/22, 3:40 PM                                                                   Gmail - State Bar statement draft for review



                                                                                                                                  Kevan Schwitzer <kevanschwitzer@gmail.com>



  State Bar statement draft for review
  1 message

  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                         Mon, Feb 28, 2022 at 5:48 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>
  Cc: Nicholas Albright <NicholasAlbright@emagined.com>, "Mazer, Steve" <Steve.Mazer@calbar.ca.gov>

    Hi Kevan,

    In advance of our call, we wanted to share a draft of the statement we are planning on making regarding this matter.

            The State Bar has continued its investigation with the help of an IT security firm, and has also been in contact with the owner of the judyrecords
            site, who has been very responsive and collaborative. It is now the State Bar’s belief that there was no malicious “hack” of its system. Instead, it
            appears that a previously unknown security vulnerability in the Tyler Technologies Odyssey case management portal allowed the nonpublic
            records to be unintentionally swept up by judyrecords when they attempted to access the public records, using a sophisticated access method. The
            State Bar is working with Tyler Technologies, the maker of the Odyssey system, to remediate the security vulnerability, which we believe may not
            be unique to the State Bar’s implementation and could impact other users of Odyssey systems.

            The State Bar and the owner of the judyrecords site are working together to ensure that nonpublic State Bar records are permanently purged from
            the site and that State Bar public records can be made available on the site.


            “Our obligation and responsibility are to the respondents and witnesses whose nonpublic information may have been shared, and again I
            apologize to them for this breach,” said Leah Wilson, State Bar Executive Director. “We have confirmed that this was not a hack, but rather an
            access vulnerability problem with our Odyssey system. We thank judyrecords for quickly removing the files, and we have directed Tyler
            Technologies to give their highest priority to resolving this systems issue and helping us implement the needed fixes.”


    Look forward to speaking with you soon,

    Rick
    --

    Rick Rankin | IT Director (Interim)
    The State Bar of California
    180 Howard St. | San Francisco, CA 94105
    845 S. Figueroa St. | Los Angeles, CA 90017
    213-393-6725

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726052678828266413&simpl=msg-f%3A1726052678828266413                                  1/2


                                                                                                                                                      Schwitzer000000038
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 102 of 186 Page ID #:1150

4/16/22, 3:40 PM                                                                             Gmail - State Bar statement draft for review


    NEW! Schedule time with me HERE

    This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for the intended recipient, you may
    not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726052678828266413&simpl=msg-f%3A1726052678828266413                                                            2/2


                                                                                                                                                                          Schwitzer000000039
                         Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 103 of 186 Page ID #:1151

4/16/22, 3:40 PM                                                                               Gmail - State Bar file promised tonight



                                                                                                                                             Kevan Schwitzer <kevanschwitzer@gmail.com>



  State Bar file promised tonight
  1 message

  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                                            Mon, Feb 28, 2022 at 8:56 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>
  Cc: Nicholas Albright <NicholasAlbright@emagined.com>, "Mazer, Steve" <Steve.Mazer@calbar.ca.gov>

    Hi Kevan,

    I met with our team to QA the file of cases that were meant to be "non-public" and to get an exact match to your data set we do in fact need the encrypted
    case IDs from Tyler.

    The file we have assembled now could have cases in it that you in fact do not have and we dont want that added confusion.

    We asked Tyler to make that x-ref a priority for first thing tomorrow, we'll update you when we can commit to getting you that dataset. If you think you could
    use the file we have and the fact that there could be some cases in our list that are not in judyrecords, let me know and I can get that file to you right away.

    Thanks so much for your partnership!

    Rick

    --

    Rick Rankin | IT Director (Interim)
    The State Bar of California
    180 Howard St. | San Francisco, CA 94105
    845 S. Figueroa St. | Los Angeles, CA 90017
    213-393-6725

    NEW! Schedule time with me HERE

    This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for the intended recipient, you may
    not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726064484089037310&simpl=msg-f%3A1726064484089037310                                                            1/1


                                                                                                                                                                          Schwitzer000000040
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 104 of 186 Page ID #:1152

4/16/22, 3:40 PM                                                             Gmail - State Bar of California + judyrecords.com connect



                                                                                                                                    Kevan Schwitzer <kevanschwitzer@gmail.com>



  State Bar of California + judyrecords.com connect
  1 message

  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                      Tue, Mar 1, 2022 at 9:31 AM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>, "nicholasalbright@emagined.com" <nicholasalbright@emagined.com>, "Mazer, Steve"
  <Steve.Mazer@calbar.ca.gov>

    https://calbar.zoom.us/j/2386983752

    Rick Rankin is inviting you to a scheduled Zoom meeting.

    Join Zoom Meeting
    https://calbar.zoom.us/j/2386983752

    Meeting ID: 238 698 3752
    One tap mobile
    +16699009128,,2386983752# US (San Jose)
    +12532158782,,2386983752# US (Tacoma)


    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Monday, February 28, 2022 5:57:52 PM
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>; nicholasalbright@emagined.com <nicholasalbright@emagined.com>
    Subject: Re: State Bar of California + judyrecords.com connect

    Thanks guys,

    I appreciate your time discussing the issue and moving forward with next steps. To recap, we discussed 2 things to move forward on:
    - Working with Tyler to get a list of IDs of publicly accessible cases that should not have been accessible. This would include the domain, eid, and case id
    parameters so they can be removed. This can be provided in a single spreadsheet or in smaller ones by site.
    - I'll check into the reporting to see about the extended dates regarding the CA State Bar cases and how granular/time specific the data can get.

    As mentioned in the last email and in the discussion, my main priority is to get the data right on the judyrecords site, and remove the cases that were publicly
    accessible that shouldn't have been able to be accessed. We'll continue to work as well on addressing the scope of the CA State Bar data.

    We'll meet again at 4PT to discuss steps made on the issue and steps to take going forward.

    On Mon, Feb 28, 2022 at 10:32 AM <kevanschwitzer@gmail.com> wrote:

       https://us05web.zoom.us/j/6518577100?pwd=bGhnVGl5Z0s4ZmFDdXNQM1MzV21hZz09

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726111992176239975&simpl=msg-f%3A1726111992176239975                                 1/7


                                                                                                                                                        Schwitzer000000041
                      Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 105 of 186 Page ID #:1153

4/16/22, 3:40 PM                                                             Gmail - State Bar of California + judyrecords.com connect


         State Bar of California + judyrecords.com connect
         When      Mon Feb 28, 2022 10:30am – 11:20am Central Time - Chicago
         Who       • Rankin, Rick - organizer
                   • kevanschwitzer@gmail.com - creator
                   • Nicholas Albright




         ________________________________

         From: Rankin, Rick

         Sent: Monday, February 28, 2022 2:12:37 AM

         To: Kevan Schwitzer

         Subject: Re: ca state bar confidential data publicly accessible

         Hi Kevan,



         We greatly appreciate you making contact with us, for taking down the records, and for being willing to speak with us tomorrow.



         It is not our current belief that any unlawful or malicious hacking occurred. We look forward to learning more about your statement that the records were
         publicly available. Understanding how the nonpublic records may have been unintentionally swept up with
         the public records will help us to better secure our data.



         Sending over the invite for tomorrow's call shortly.



         Sincerely,



         Rick



         --



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726111992176239975&simpl=msg-f%3A1726111992176239975                         2/7


                                                                                                                                                 Schwitzer000000042
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 106 of 186 Page ID #:1154

4/16/22, 3:40 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

         ________________________________

         From: Kevan Schwitzer

         Sent: Sunday, February 27, 2022 15:52

         To: Rankin, Rick

         Subject: Re: ca state bar confidential data publicly accessible



         Sounds good. However, I would like to ask that you provide clarity on whether there is any belief that any kind of unlawful, malicious, or hacking activity has
         taken place.



         If anyone believes this is the case, it's important that I know because it would be reckless to join a meeting about the issue with that backdrop.



         On Sun, Feb 27, 2022 at 5:37 PM Rankin, Rick > wrote:

         Thank you for your speedy reply. I’ll send out an invite later today for our call.



         Let’s discuss our press release in the context of the situation in it’s entirety tomorrow. I’m sure we can figure this all out together.



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726111992176239975&simpl=msg-f%3A1726111992176239975                               3/7


                                                                                                                                                    Schwitzer000000043
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 107 of 186 Page ID #:1155

4/16/22, 3:40 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Again, thank you for your quick reply. We look forward to speaking with you tomorrow.



         Rick




         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.



         ________________________________

         From: Kevan Schwitzer >

         Sent: Sunday, February 27, 2022 15:30

         To: Rankin, Rick >

         Subject: Re: ca state bar confidential data publicly accessible



         Also, the language in the original press release suggested there have been "unlawful activities". Is there any belief at this point that any kind of hacking or
         unlawful activities have taken place?

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726111992176239975&simpl=msg-f%3A1726111992176239975                               4/7


                                                                                                                                                    Schwitzer000000044
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 108 of 186 Page ID #:1156

4/16/22, 3:40 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         I've posted on the info page details where this information was publicly accessible.



         On Sun, Feb 27, 2022 at 5:20 PM Kevan Schwitzer > wrote:

         Hi, sure I can meet at the 8:30am PDT time.



         On Sun, Feb 27, 2022 at 4:46 PM Rankin, Rick > wrote:

         Dear Mr. Schwitzer,



         We are in receipt of your email below and very much appreciate you reaching out to us.



         We would like to arrange a time to connect with you on this topic. Would you be available for a conference call with us at 8am or 830am PDT tomorrow,
         Monday Feb 28?



         Let me know if either of those times work for you and we will send over an invitation with connection details. If not, could you kindly propose some alternative
         times for us to speak?



         Sincerely,



         Rick Rankin



         --



         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726111992176239975&simpl=msg-f%3A1726111992176239975                                5/7


                                                                                                                                                  Schwitzer000000045
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 109 of 186 Page ID #:1157

4/16/22, 3:40 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.




         ###




         From: Kevan Schwitzer >

         Sent: Saturday, February 26, 2022 9:07 PM

         To: The State Bar of California >

         Subject: ca state bar confidential data publicly accesible




         CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and know the
         content is safe.




         Hey, I saw these pages just a bit ago:



         https://www.pe.com/2022/02/26/260000-confidential-attorney-discipline-records-published-after-data-breach-state-bar-says/



         https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates<https://gcc02.safelinks.protection.outlook.com/?url=https%3A%2F%2Fwww.
         calbar.ca.gov%2FAbout-Us%2FNews%2FData-Breach-Updates&data=04%7C01%7CRick.Ranki



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726111992176239975&simpl=msg-f%3A1726111992176239975                              6/7


                                                                                                                                                 Schwitzer000000046
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 110 of 186 Page ID #:1158

4/16/22, 3:40 PM                                                             Gmail - State Bar of California + judyrecords.com connect




          invite.ics
          13K




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726111992176239975&simpl=msg-f%3A1726111992176239975                   7/7


                                                                                                                                               Schwitzer000000047
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 111 of 186 Page ID #:1159

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect



                                                                                                                                    Kevan Schwitzer <kevanschwitzer@gmail.com>



  State Bar of California + judyrecords.com connect
  1 message

  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                           Tue, Mar 1, 2022 at 12:19 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>, "nicholasalbright@emagined.com" <nicholasalbright@emagined.com>

    https://calbar.zoom.us/j/2386983752

    Rick Rankin is inviting you to a scheduled Zoom meeting.

    Join Zoom Meeting
    https://calbar.zoom.us/j/2386983752

    Meeting ID: 238 698 3752
    One tap mobile
    +16699009128,,2386983752# US (San Jose)
    +12532158782,,2386983752# US (Tacoma)


    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Monday, February 28, 2022 5:57:52 PM
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>; nicholasalbright@emagined.com <nicholasalbright@emagined.com>
    Subject: Re: State Bar of California + judyrecords.com connect

    Thanks guys,

    I appreciate your time discussing the issue and moving forward with next steps. To recap, we discussed 2 things to move forward on:
    - Working with Tyler to get a list of IDs of publicly accessible cases that should not have been accessible. This would include the domain, eid, and case id
    parameters so they can be removed. This can be provided in a single spreadsheet or in smaller ones by site.
    - I'll check into the reporting to see about the extended dates regarding the CA State Bar cases and how granular/time specific the data can get.

    As mentioned in the last email and in the discussion, my main priority is to get the data right on the judyrecords site, and remove the cases that were publicly
    accessible that shouldn't have been able to be accessed. We'll continue to work as well on addressing the scope of the CA State Bar data.

    We'll meet again at 4PT to discuss steps made on the issue and steps to take going forward.

    On Mon, Feb 28, 2022 at 10:32 AM <kevanschwitzer@gmail.com> wrote:

       https://us05web.zoom.us/j/6518577100?pwd=bGhnVGl5Z0s4ZmFDdXNQM1MzV21hZz09


https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726122561439601772&simpl=msg-f%3A1726122561439601772                                    1/7


                                                                                                                                                        Schwitzer000000048
                      Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 112 of 186 Page ID #:1160

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect

         State Bar of California + judyrecords.com connect
         When      Mon Feb 28, 2022 10:30am – 11:20am Central Time - Chicago
         Who       • Rankin, Rick - organizer
                   • kevanschwitzer@gmail.com - creator
                   • Nicholas Albright




         ________________________________

         From: Rankin, Rick

         Sent: Monday, February 28, 2022 2:12:37 AM

         To: Kevan Schwitzer

         Subject: Re: ca state bar confidential data publicly accessible

         Hi Kevan,



         We greatly appreciate you making contact with us, for taking down the records, and for being willing to speak with us tomorrow.



         It is not our current belief that any unlawful or malicious hacking occurred. We look forward to learning more about your statement that the records were
         publicly available. Understanding how the nonpublic records may have been unintentionally swept up with
         the public records will help us to better secure our data.



         Sending over the invite for tomorrow's call shortly.



         Sincerely,



         Rick



         --




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726122561439601772&simpl=msg-f%3A1726122561439601772                         2/7


                                                                                                                                                 Schwitzer000000049
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 113 of 186 Page ID #:1161

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

         ________________________________

         From: Kevan Schwitzer

         Sent: Sunday, February 27, 2022 15:52

         To: Rankin, Rick

         Subject: Re: ca state bar confidential data publicly accessible



         Sounds good. However, I would like to ask that you provide clarity on whether there is any belief that any kind of unlawful, malicious, or hacking activity has
         taken place.



         If anyone believes this is the case, it's important that I know because it would be reckless to join a meeting about the issue with that backdrop.



         On Sun, Feb 27, 2022 at 5:37 PM Rankin, Rick > wrote:

         Thank you for your speedy reply. I’ll send out an invite later today for our call.



         Let’s discuss our press release in the context of the situation in it’s entirety tomorrow. I’m sure we can figure this all out together.



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726122561439601772&simpl=msg-f%3A1726122561439601772                               3/7


                                                                                                                                                    Schwitzer000000050
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 114 of 186 Page ID #:1162

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Again, thank you for your quick reply. We look forward to speaking with you tomorrow.



         Rick




         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.



         ________________________________

         From: Kevan Schwitzer >

         Sent: Sunday, February 27, 2022 15:30

         To: Rankin, Rick >

         Subject: Re: ca state bar confidential data publicly accessible



         Also, the language in the original press release suggested there have been "unlawful activities". Is there any belief at this point that any kind of hacking or
         unlawful activities have taken place?

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726122561439601772&simpl=msg-f%3A1726122561439601772                               4/7


                                                                                                                                                    Schwitzer000000051
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 115 of 186 Page ID #:1163

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         I've posted on the info page details where this information was publicly accessible.



         On Sun, Feb 27, 2022 at 5:20 PM Kevan Schwitzer > wrote:

         Hi, sure I can meet at the 8:30am PDT time.



         On Sun, Feb 27, 2022 at 4:46 PM Rankin, Rick > wrote:

         Dear Mr. Schwitzer,



         We are in receipt of your email below and very much appreciate you reaching out to us.



         We would like to arrange a time to connect with you on this topic. Would you be available for a conference call with us at 8am or 830am PDT tomorrow,
         Monday Feb 28?



         Let me know if either of those times work for you and we will send over an invitation with connection details. If not, could you kindly propose some alternative
         times for us to speak?



         Sincerely,



         Rick Rankin



         --



         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726122561439601772&simpl=msg-f%3A1726122561439601772                                5/7


                                                                                                                                                  Schwitzer000000052
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 116 of 186 Page ID #:1164

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.




         ###




         From: Kevan Schwitzer >

         Sent: Saturday, February 26, 2022 9:07 PM

         To: The State Bar of California >

         Subject: ca state bar confidential data publicly accesible




         CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and know the
         content is safe.




         Hey, I saw these pages just a bit ago:



         https://www.pe.com/2022/02/26/260000-confidential-attorney-discipline-records-published-after-data-breach-state-bar-says/



         https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates<https://gcc02.safelinks.protection.outlook.com/?url=https%3A%2F%2Fwww.
         calbar.ca.gov%2FAbout-Us%2FNews%2FData-Breach-Updates&data=04%7C01%7CRick.Ranki



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726122561439601772&simpl=msg-f%3A1726122561439601772                              6/7


                                                                                                                                                 Schwitzer000000053
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 117 of 186 Page ID #:1165

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect




          invite.ics
          13K




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726122561439601772&simpl=msg-f%3A1726122561439601772                   7/7


                                                                                                                                               Schwitzer000000054
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 118 of 186 Page ID #:1166

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect



                                                                                                                                    Kevan Schwitzer <kevanschwitzer@gmail.com>



  State Bar of California + judyrecords.com connect
  1 message

  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                      Tue, Mar 1, 2022 at 5:54 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>, "nicholasalbright@emagined.com" <nicholasalbright@emagined.com>, "Mazer, Steve"
  <Steve.Mazer@calbar.ca.gov>

    https://calbar.zoom.us/j/2386983752

    Rick Rankin is inviting you to a scheduled Zoom meeting.

    Join Zoom Meeting
    https://calbar.zoom.us/j/2386983752

    Meeting ID: 238 698 3752
    One tap mobile
    +16699009128,,2386983752# US (San Jose)
    +12532158782,,2386983752# US (Tacoma)


    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Monday, February 28, 2022 5:57:52 PM
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>; nicholasalbright@emagined.com <nicholasalbright@emagined.com>
    Subject: Re: State Bar of California + judyrecords.com connect

    Thanks guys,

    I appreciate your time discussing the issue and moving forward with next steps. To recap, we discussed 2 things to move forward on:
    - Working with Tyler to get a list of IDs of publicly accessible cases that should not have been accessible. This would include the domain, eid, and case id
    parameters so they can be removed. This can be provided in a single spreadsheet or in smaller ones by site.
    - I'll check into the reporting to see about the extended dates regarding the CA State Bar cases and how granular/time specific the data can get.

    As mentioned in the last email and in the discussion, my main priority is to get the data right on the judyrecords site, and remove the cases that were publicly
    accessible that shouldn't have been able to be accessed. We'll continue to work as well on addressing the scope of the CA State Bar data.

    We'll meet again at 4PT to discuss steps made on the issue and steps to take going forward.

    On Mon, Feb 28, 2022 at 10:32 AM <kevanschwitzer@gmail.com> wrote:

       https://us05web.zoom.us/j/6518577100?pwd=bGhnVGl5Z0s4ZmFDdXNQM1MzV21hZz09

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726143630311290404&simpl=msg-f%3A1726143630311290404                                 1/7


                                                                                                                                                        Schwitzer000000055
                      Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 119 of 186 Page ID #:1167

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect


         State Bar of California + judyrecords.com connect
         When      Mon Feb 28, 2022 10:30am – 11:20am Central Time - Chicago
         Who       • Rankin, Rick - organizer
                   • kevanschwitzer@gmail.com - creator
                   • Nicholas Albright




         ________________________________

         From: Rankin, Rick

         Sent: Monday, February 28, 2022 2:12:37 AM

         To: Kevan Schwitzer

         Subject: Re: ca state bar confidential data publicly accessible

         Hi Kevan,



         We greatly appreciate you making contact with us, for taking down the records, and for being willing to speak with us tomorrow.



         It is not our current belief that any unlawful or malicious hacking occurred. We look forward to learning more about your statement that the records were
         publicly available. Understanding how the nonpublic records may have been unintentionally swept up with
         the public records will help us to better secure our data.



         Sending over the invite for tomorrow's call shortly.



         Sincerely,



         Rick



         --



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726143630311290404&simpl=msg-f%3A1726143630311290404                         2/7


                                                                                                                                                 Schwitzer000000056
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 120 of 186 Page ID #:1168

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

         ________________________________

         From: Kevan Schwitzer

         Sent: Sunday, February 27, 2022 15:52

         To: Rankin, Rick

         Subject: Re: ca state bar confidential data publicly accessible



         Sounds good. However, I would like to ask that you provide clarity on whether there is any belief that any kind of unlawful, malicious, or hacking activity has
         taken place.



         If anyone believes this is the case, it's important that I know because it would be reckless to join a meeting about the issue with that backdrop.



         On Sun, Feb 27, 2022 at 5:37 PM Rankin, Rick > wrote:

         Thank you for your speedy reply. I’ll send out an invite later today for our call.



         Let’s discuss our press release in the context of the situation in it’s entirety tomorrow. I’m sure we can figure this all out together.



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726143630311290404&simpl=msg-f%3A1726143630311290404                               3/7


                                                                                                                                                    Schwitzer000000057
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 121 of 186 Page ID #:1169

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Again, thank you for your quick reply. We look forward to speaking with you tomorrow.



         Rick




         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.



         ________________________________

         From: Kevan Schwitzer >

         Sent: Sunday, February 27, 2022 15:30

         To: Rankin, Rick >

         Subject: Re: ca state bar confidential data publicly accessible



         Also, the language in the original press release suggested there have been "unlawful activities". Is there any belief at this point that any kind of hacking or
         unlawful activities have taken place?

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726143630311290404&simpl=msg-f%3A1726143630311290404                               4/7


                                                                                                                                                    Schwitzer000000058
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 122 of 186 Page ID #:1170

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         I've posted on the info page details where this information was publicly accessible.



         On Sun, Feb 27, 2022 at 5:20 PM Kevan Schwitzer > wrote:

         Hi, sure I can meet at the 8:30am PDT time.



         On Sun, Feb 27, 2022 at 4:46 PM Rankin, Rick > wrote:

         Dear Mr. Schwitzer,



         We are in receipt of your email below and very much appreciate you reaching out to us.



         We would like to arrange a time to connect with you on this topic. Would you be available for a conference call with us at 8am or 830am PDT tomorrow,
         Monday Feb 28?



         Let me know if either of those times work for you and we will send over an invitation with connection details. If not, could you kindly propose some alternative
         times for us to speak?



         Sincerely,



         Rick Rankin



         --



         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726143630311290404&simpl=msg-f%3A1726143630311290404                                5/7


                                                                                                                                                  Schwitzer000000059
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 123 of 186 Page ID #:1171

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.




         ###




         From: Kevan Schwitzer >

         Sent: Saturday, February 26, 2022 9:07 PM

         To: The State Bar of California >

         Subject: ca state bar confidential data publicly accesible




         CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and know the
         content is safe.




         Hey, I saw these pages just a bit ago:



         https://www.pe.com/2022/02/26/260000-confidential-attorney-discipline-records-published-after-data-breach-state-bar-says/



         https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates<https://gcc02.safelinks.protection.outlook.com/?url=https%3A%2F%2Fwww.
         calbar.ca.gov%2FAbout-Us%2FNews%2FData-Breach-Updates&data=04%7C01%7CRick.Ranki



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726143630311290404&simpl=msg-f%3A1726143630311290404                              6/7


                                                                                                                                                 Schwitzer000000060
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 124 of 186 Page ID #:1172

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect




          invite.ics
          13K




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726143630311290404&simpl=msg-f%3A1726143630311290404                   7/7


                                                                                                                                               Schwitzer000000061
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 125 of 186 Page ID #:1173

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect



                                                                                                                                    Kevan Schwitzer <kevanschwitzer@gmail.com>



  State Bar of California + judyrecords.com connect
  1 message

  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                           Wed, Mar 2, 2022 at 8:34 AM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>, "nicholasalbright@emagined.com" <nicholasalbright@emagined.com>

    https://calbar.zoom.us/j/2386983752

    Rick Rankin is inviting you to a scheduled Zoom meeting.

    Join Zoom Meeting
    https://calbar.zoom.us/j/2386983752

    Meeting ID: 238 698 3752
    One tap mobile
    +16699009128,,2386983752# US (San Jose)
    +12532158782,,2386983752# US (Tacoma)


    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Monday, February 28, 2022 5:57:52 PM
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>; nicholasalbright@emagined.com <nicholasalbright@emagined.com>
    Subject: Re: State Bar of California + judyrecords.com connect

    Thanks guys,

    I appreciate your time discussing the issue and moving forward with next steps. To recap, we discussed 2 things to move forward on:
    - Working with Tyler to get a list of IDs of publicly accessible cases that should not have been accessible. This would include the domain, eid, and case id
    parameters so they can be removed. This can be provided in a single spreadsheet or in smaller ones by site.
    - I'll check into the reporting to see about the extended dates regarding the CA State Bar cases and how granular/time specific the data can get.

    As mentioned in the last email and in the discussion, my main priority is to get the data right on the judyrecords site, and remove the cases that were publicly
    accessible that shouldn't have been able to be accessed. We'll continue to work as well on addressing the scope of the CA State Bar data.

    We'll meet again at 4PT to discuss steps made on the issue and steps to take going forward.

    On Mon, Feb 28, 2022 at 10:32 AM <kevanschwitzer@gmail.com> wrote:

       https://us05web.zoom.us/j/6518577100?pwd=bGhnVGl5Z0s4ZmFDdXNQM1MzV21hZz09


https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726198999938037280&simpl=msg-f%3A1726198999938037280                                   1/7


                                                                                                                                                        Schwitzer000000062
                      Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 126 of 186 Page ID #:1174

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect

         State Bar of California + judyrecords.com connect
         When      Mon Feb 28, 2022 10:30am – 11:20am Central Time - Chicago
         Who       • Rankin, Rick - organizer
                   • kevanschwitzer@gmail.com - creator
                   • Nicholas Albright




         ________________________________

         From: Rankin, Rick

         Sent: Monday, February 28, 2022 2:12:37 AM

         To: Kevan Schwitzer

         Subject: Re: ca state bar confidential data publicly accessible

         Hi Kevan,



         We greatly appreciate you making contact with us, for taking down the records, and for being willing to speak with us tomorrow.



         It is not our current belief that any unlawful or malicious hacking occurred. We look forward to learning more about your statement that the records were
         publicly available. Understanding how the nonpublic records may have been unintentionally swept up with
         the public records will help us to better secure our data.



         Sending over the invite for tomorrow's call shortly.



         Sincerely,



         Rick



         --




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726198999938037280&simpl=msg-f%3A1726198999938037280                         2/7


                                                                                                                                                 Schwitzer000000063
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 127 of 186 Page ID #:1175

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

         ________________________________

         From: Kevan Schwitzer

         Sent: Sunday, February 27, 2022 15:52

         To: Rankin, Rick

         Subject: Re: ca state bar confidential data publicly accessible



         Sounds good. However, I would like to ask that you provide clarity on whether there is any belief that any kind of unlawful, malicious, or hacking activity has
         taken place.



         If anyone believes this is the case, it's important that I know because it would be reckless to join a meeting about the issue with that backdrop.



         On Sun, Feb 27, 2022 at 5:37 PM Rankin, Rick > wrote:

         Thank you for your speedy reply. I’ll send out an invite later today for our call.



         Let’s discuss our press release in the context of the situation in it’s entirety tomorrow. I’m sure we can figure this all out together.



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726198999938037280&simpl=msg-f%3A1726198999938037280                               3/7


                                                                                                                                                    Schwitzer000000064
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 128 of 186 Page ID #:1176

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Again, thank you for your quick reply. We look forward to speaking with you tomorrow.



         Rick




         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.



         ________________________________

         From: Kevan Schwitzer >

         Sent: Sunday, February 27, 2022 15:30

         To: Rankin, Rick >

         Subject: Re: ca state bar confidential data publicly accessible



         Also, the language in the original press release suggested there have been "unlawful activities". Is there any belief at this point that any kind of hacking or
         unlawful activities have taken place?

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726198999938037280&simpl=msg-f%3A1726198999938037280                               4/7


                                                                                                                                                    Schwitzer000000065
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 129 of 186 Page ID #:1177

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         I've posted on the info page details where this information was publicly accessible.



         On Sun, Feb 27, 2022 at 5:20 PM Kevan Schwitzer > wrote:

         Hi, sure I can meet at the 8:30am PDT time.



         On Sun, Feb 27, 2022 at 4:46 PM Rankin, Rick > wrote:

         Dear Mr. Schwitzer,



         We are in receipt of your email below and very much appreciate you reaching out to us.



         We would like to arrange a time to connect with you on this topic. Would you be available for a conference call with us at 8am or 830am PDT tomorrow,
         Monday Feb 28?



         Let me know if either of those times work for you and we will send over an invitation with connection details. If not, could you kindly propose some alternative
         times for us to speak?



         Sincerely,



         Rick Rankin



         --



         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726198999938037280&simpl=msg-f%3A1726198999938037280                                5/7


                                                                                                                                                  Schwitzer000000066
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 130 of 186 Page ID #:1178

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.




         ###




         From: Kevan Schwitzer >

         Sent: Saturday, February 26, 2022 9:07 PM

         To: The State Bar of California >

         Subject: ca state bar confidential data publicly accesible




         CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and know the
         content is safe.




         Hey, I saw these pages just a bit ago:



         https://www.pe.com/2022/02/26/260000-confidential-attorney-discipline-records-published-after-data-breach-state-bar-says/



         https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates<https://gcc02.safelinks.protection.outlook.com/?url=https%3A%2F%2Fwww.
         calbar.ca.gov%2FAbout-Us%2FNews%2FData-Breach-Updates&data=04%7C01%7CRick.Ranki



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726198999938037280&simpl=msg-f%3A1726198999938037280                              6/7


                                                                                                                                                 Schwitzer000000067
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 131 of 186 Page ID #:1179

4/16/22, 3:41 PM                                                             Gmail - State Bar of California + judyrecords.com connect




          invite.ics
          13K




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726198999938037280&simpl=msg-f%3A1726198999938037280                   7/7


                                                                                                                                               Schwitzer000000068
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 132 of 186 Page ID #:1180

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect



                                                                                                                                    Kevan Schwitzer <kevanschwitzer@gmail.com>



  State Bar of California + judyrecords.com connect
  1 message

  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                           Wed, Mar 2, 2022 at 8:35 AM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>, "nicholasalbright@emagined.com" <nicholasalbright@emagined.com>

    https://calbar.zoom.us/j/2386983752

    Rick Rankin is inviting you to a scheduled Zoom meeting.

    Join Zoom Meeting
    https://calbar.zoom.us/j/2386983752

    Meeting ID: 238 698 3752
    One tap mobile
    +16699009128,,2386983752# US (San Jose)
    +12532158782,,2386983752# US (Tacoma)


    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Monday, February 28, 2022 5:57:52 PM
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>; nicholasalbright@emagined.com <nicholasalbright@emagined.com>
    Subject: Re: State Bar of California + judyrecords.com connect

    Thanks guys,

    I appreciate your time discussing the issue and moving forward with next steps. To recap, we discussed 2 things to move forward on:
    - Working with Tyler to get a list of IDs of publicly accessible cases that should not have been accessible. This would include the domain, eid, and case id
    parameters so they can be removed. This can be provided in a single spreadsheet or in smaller ones by site.
    - I'll check into the reporting to see about the extended dates regarding the CA State Bar cases and how granular/time specific the data can get.

    As mentioned in the last email and in the discussion, my main priority is to get the data right on the judyrecords site, and remove the cases that were publicly
    accessible that shouldn't have been able to be accessed. We'll continue to work as well on addressing the scope of the CA State Bar data.

    We'll meet again at 4PT to discuss steps made on the issue and steps to take going forward.

    On Mon, Feb 28, 2022 at 10:32 AM <kevanschwitzer@gmail.com> wrote:

       https://us05web.zoom.us/j/6518577100?pwd=bGhnVGl5Z0s4ZmFDdXNQM1MzV21hZz09


https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726199073280512277&simpl=msg-f%3A1726199073280512277                                   1/7


                                                                                                                                                        Schwitzer000000069
                      Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 133 of 186 Page ID #:1181

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect

         State Bar of California + judyrecords.com connect
         When      Mon Feb 28, 2022 10:30am – 11:20am Central Time - Chicago
         Who       • Rankin, Rick - organizer
                   • kevanschwitzer@gmail.com - creator
                   • Nicholas Albright




         ________________________________

         From: Rankin, Rick

         Sent: Monday, February 28, 2022 2:12:37 AM

         To: Kevan Schwitzer

         Subject: Re: ca state bar confidential data publicly accessible

         Hi Kevan,



         We greatly appreciate you making contact with us, for taking down the records, and for being willing to speak with us tomorrow.



         It is not our current belief that any unlawful or malicious hacking occurred. We look forward to learning more about your statement that the records were
         publicly available. Understanding how the nonpublic records may have been unintentionally swept up with
         the public records will help us to better secure our data.



         Sending over the invite for tomorrow's call shortly.



         Sincerely,



         Rick



         --




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726199073280512277&simpl=msg-f%3A1726199073280512277                         2/7


                                                                                                                                                 Schwitzer000000070
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 134 of 186 Page ID #:1182

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

         ________________________________

         From: Kevan Schwitzer

         Sent: Sunday, February 27, 2022 15:52

         To: Rankin, Rick

         Subject: Re: ca state bar confidential data publicly accessible



         Sounds good. However, I would like to ask that you provide clarity on whether there is any belief that any kind of unlawful, malicious, or hacking activity has
         taken place.



         If anyone believes this is the case, it's important that I know because it would be reckless to join a meeting about the issue with that backdrop.



         On Sun, Feb 27, 2022 at 5:37 PM Rankin, Rick > wrote:

         Thank you for your speedy reply. I’ll send out an invite later today for our call.



         Let’s discuss our press release in the context of the situation in it’s entirety tomorrow. I’m sure we can figure this all out together.



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726199073280512277&simpl=msg-f%3A1726199073280512277                               3/7


                                                                                                                                                    Schwitzer000000071
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 135 of 186 Page ID #:1183

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Again, thank you for your quick reply. We look forward to speaking with you tomorrow.



         Rick




         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.



         ________________________________

         From: Kevan Schwitzer >

         Sent: Sunday, February 27, 2022 15:30

         To: Rankin, Rick >

         Subject: Re: ca state bar confidential data publicly accessible



         Also, the language in the original press release suggested there have been "unlawful activities". Is there any belief at this point that any kind of hacking or
         unlawful activities have taken place?

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726199073280512277&simpl=msg-f%3A1726199073280512277                               4/7


                                                                                                                                                    Schwitzer000000072
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 136 of 186 Page ID #:1184

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         I've posted on the info page details where this information was publicly accessible.



         On Sun, Feb 27, 2022 at 5:20 PM Kevan Schwitzer > wrote:

         Hi, sure I can meet at the 8:30am PDT time.



         On Sun, Feb 27, 2022 at 4:46 PM Rankin, Rick > wrote:

         Dear Mr. Schwitzer,



         We are in receipt of your email below and very much appreciate you reaching out to us.



         We would like to arrange a time to connect with you on this topic. Would you be available for a conference call with us at 8am or 830am PDT tomorrow,
         Monday Feb 28?



         Let me know if either of those times work for you and we will send over an invitation with connection details. If not, could you kindly propose some alternative
         times for us to speak?



         Sincerely,



         Rick Rankin



         --



         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726199073280512277&simpl=msg-f%3A1726199073280512277                                5/7


                                                                                                                                                  Schwitzer000000073
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 137 of 186 Page ID #:1185

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.




         ###




         From: Kevan Schwitzer >

         Sent: Saturday, February 26, 2022 9:07 PM

         To: The State Bar of California >

         Subject: ca state bar confidential data publicly accesible




         CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and know the
         content is safe.




         Hey, I saw these pages just a bit ago:



         https://www.pe.com/2022/02/26/260000-confidential-attorney-discipline-records-published-after-data-breach-state-bar-says/



         https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates<https://gcc02.safelinks.protection.outlook.com/?url=https%3A%2F%2Fwww.
         calbar.ca.gov%2FAbout-Us%2FNews%2FData-Breach-Updates&data=04%7C01%7CRick.Ranki



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726199073280512277&simpl=msg-f%3A1726199073280512277                              6/7


                                                                                                                                                 Schwitzer000000074
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 138 of 186 Page ID #:1186

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect




          invite.ics
          13K




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726199073280512277&simpl=msg-f%3A1726199073280512277                   7/7


                                                                                                                                               Schwitzer000000075
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 139 of 186 Page ID #:1187

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect



                                                                                                                                    Kevan Schwitzer <kevanschwitzer@gmail.com>



  State Bar of California + judyrecords.com connect
  1 message

  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                           Wed, Mar 2, 2022 at 2:04 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>, "nicholasalbright@emagined.com" <nicholasalbright@emagined.com>

    https://calbar.zoom.us/j/2386983752

    Rick Rankin is inviting you to a scheduled Zoom meeting.

    Join Zoom Meeting
    https://calbar.zoom.us/j/2386983752

    Meeting ID: 238 698 3752
    One tap mobile
    +16699009128,,2386983752# US (San Jose)
    +12532158782,,2386983752# US (Tacoma)


    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Monday, February 28, 2022 5:57:52 PM
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>; nicholasalbright@emagined.com <nicholasalbright@emagined.com>
    Subject: Re: State Bar of California + judyrecords.com connect

    Thanks guys,

    I appreciate your time discussing the issue and moving forward with next steps. To recap, we discussed 2 things to move forward on:
    - Working with Tyler to get a list of IDs of publicly accessible cases that should not have been accessible. This would include the domain, eid, and case id
    parameters so they can be removed. This can be provided in a single spreadsheet or in smaller ones by site.
    - I'll check into the reporting to see about the extended dates regarding the CA State Bar cases and how granular/time specific the data can get.

    As mentioned in the last email and in the discussion, my main priority is to get the data right on the judyrecords site, and remove the cases that were publicly
    accessible that shouldn't have been able to be accessed. We'll continue to work as well on addressing the scope of the CA State Bar data.

    We'll meet again at 4PT to discuss steps made on the issue and steps to take going forward.

    On Mon, Feb 28, 2022 at 10:32 AM <kevanschwitzer@gmail.com> wrote:

       https://us05web.zoom.us/j/6518577100?pwd=bGhnVGl5Z0s4ZmFDdXNQM1MzV21hZz09


https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726219781389554666&simpl=msg-f%3A1726219781389554666                                   1/7


                                                                                                                                                        Schwitzer000000076
                      Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 140 of 186 Page ID #:1188

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect

         State Bar of California + judyrecords.com connect
         When      Mon Feb 28, 2022 10:30am – 11:20am Central Time - Chicago
         Who       • Rankin, Rick - organizer
                   • kevanschwitzer@gmail.com - creator
                   • Nicholas Albright




         ________________________________

         From: Rankin, Rick

         Sent: Monday, February 28, 2022 2:12:37 AM

         To: Kevan Schwitzer

         Subject: Re: ca state bar confidential data publicly accessible

         Hi Kevan,



         We greatly appreciate you making contact with us, for taking down the records, and for being willing to speak with us tomorrow.



         It is not our current belief that any unlawful or malicious hacking occurred. We look forward to learning more about your statement that the records were
         publicly available. Understanding how the nonpublic records may have been unintentionally swept up with
         the public records will help us to better secure our data.



         Sending over the invite for tomorrow's call shortly.



         Sincerely,



         Rick



         --




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726219781389554666&simpl=msg-f%3A1726219781389554666                         2/7


                                                                                                                                                 Schwitzer000000077
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 141 of 186 Page ID #:1189

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

         ________________________________

         From: Kevan Schwitzer

         Sent: Sunday, February 27, 2022 15:52

         To: Rankin, Rick

         Subject: Re: ca state bar confidential data publicly accessible



         Sounds good. However, I would like to ask that you provide clarity on whether there is any belief that any kind of unlawful, malicious, or hacking activity has
         taken place.



         If anyone believes this is the case, it's important that I know because it would be reckless to join a meeting about the issue with that backdrop.



         On Sun, Feb 27, 2022 at 5:37 PM Rankin, Rick > wrote:

         Thank you for your speedy reply. I’ll send out an invite later today for our call.



         Let’s discuss our press release in the context of the situation in it’s entirety tomorrow. I’m sure we can figure this all out together.



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726219781389554666&simpl=msg-f%3A1726219781389554666                               3/7


                                                                                                                                                    Schwitzer000000078
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 142 of 186 Page ID #:1190

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Again, thank you for your quick reply. We look forward to speaking with you tomorrow.



         Rick




         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.



         ________________________________

         From: Kevan Schwitzer >

         Sent: Sunday, February 27, 2022 15:30

         To: Rankin, Rick >

         Subject: Re: ca state bar confidential data publicly accessible



         Also, the language in the original press release suggested there have been "unlawful activities". Is there any belief at this point that any kind of hacking or
         unlawful activities have taken place?

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726219781389554666&simpl=msg-f%3A1726219781389554666                               4/7


                                                                                                                                                    Schwitzer000000079
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 143 of 186 Page ID #:1191

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         I've posted on the info page details where this information was publicly accessible.



         On Sun, Feb 27, 2022 at 5:20 PM Kevan Schwitzer > wrote:

         Hi, sure I can meet at the 8:30am PDT time.



         On Sun, Feb 27, 2022 at 4:46 PM Rankin, Rick > wrote:

         Dear Mr. Schwitzer,



         We are in receipt of your email below and very much appreciate you reaching out to us.



         We would like to arrange a time to connect with you on this topic. Would you be available for a conference call with us at 8am or 830am PDT tomorrow,
         Monday Feb 28?



         Let me know if either of those times work for you and we will send over an invitation with connection details. If not, could you kindly propose some alternative
         times for us to speak?



         Sincerely,



         Rick Rankin



         --



         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726219781389554666&simpl=msg-f%3A1726219781389554666                                5/7


                                                                                                                                                  Schwitzer000000080
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 144 of 186 Page ID #:1192

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.




         ###




         From: Kevan Schwitzer >

         Sent: Saturday, February 26, 2022 9:07 PM

         To: The State Bar of California >

         Subject: ca state bar confidential data publicly accesible




         CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and know the
         content is safe.




         Hey, I saw these pages just a bit ago:



         https://www.pe.com/2022/02/26/260000-confidential-attorney-discipline-records-published-after-data-breach-state-bar-says/



         https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates<https://gcc02.safelinks.protection.outlook.com/?url=https%3A%2F%2Fwww.
         calbar.ca.gov%2FAbout-Us%2FNews%2FData-Breach-Updates&data=04%7C01%7CRick.Ranki



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726219781389554666&simpl=msg-f%3A1726219781389554666                              6/7


                                                                                                                                                 Schwitzer000000081
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 145 of 186 Page ID #:1193

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect




          invite.ics
          13K




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726219781389554666&simpl=msg-f%3A1726219781389554666                   7/7


                                                                                                                                               Schwitzer000000082
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 146 of 186 Page ID #:1194

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect



                                                                                                                                    Kevan Schwitzer <kevanschwitzer@gmail.com>



  State Bar of California + judyrecords.com connect
  1 message

  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                           Wed, Mar 2, 2022 at 5:15 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>, "nicholasalbright@emagined.com" <nicholasalbright@emagined.com>

    https://calbar.zoom.us/j/2386983752

    Rick Rankin is inviting you to a scheduled Zoom meeting.

    Join Zoom Meeting
    https://calbar.zoom.us/j/2386983752

    Meeting ID: 238 698 3752
    One tap mobile
    +16699009128,,2386983752# US (San Jose)
    +12532158782,,2386983752# US (Tacoma)


    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Monday, February 28, 2022 5:57:52 PM
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>; nicholasalbright@emagined.com <nicholasalbright@emagined.com>
    Subject: Re: State Bar of California + judyrecords.com connect

    Thanks guys,

    I appreciate your time discussing the issue and moving forward with next steps. To recap, we discussed 2 things to move forward on:
    - Working with Tyler to get a list of IDs of publicly accessible cases that should not have been accessible. This would include the domain, eid, and case id
    parameters so they can be removed. This can be provided in a single spreadsheet or in smaller ones by site.
    - I'll check into the reporting to see about the extended dates regarding the CA State Bar cases and how granular/time specific the data can get.

    As mentioned in the last email and in the discussion, my main priority is to get the data right on the judyrecords site, and remove the cases that were publicly
    accessible that shouldn't have been able to be accessed. We'll continue to work as well on addressing the scope of the CA State Bar data.

    We'll meet again at 4PT to discuss steps made on the issue and steps to take going forward.

    On Mon, Feb 28, 2022 at 10:32 AM <kevanschwitzer@gmail.com> wrote:

       https://us05web.zoom.us/j/6518577100?pwd=bGhnVGl5Z0s4ZmFDdXNQM1MzV21hZz09


https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726231810445815982&simpl=msg-f%3A1726231810445815982                                   1/7


                                                                                                                                                        Schwitzer000000083
                      Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 147 of 186 Page ID #:1195

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect

         State Bar of California + judyrecords.com connect
         When      Mon Feb 28, 2022 10:30am – 11:20am Central Time - Chicago
         Who       • Rankin, Rick - organizer
                   • kevanschwitzer@gmail.com - creator
                   • Nicholas Albright




         ________________________________

         From: Rankin, Rick

         Sent: Monday, February 28, 2022 2:12:37 AM

         To: Kevan Schwitzer

         Subject: Re: ca state bar confidential data publicly accessible

         Hi Kevan,



         We greatly appreciate you making contact with us, for taking down the records, and for being willing to speak with us tomorrow.



         It is not our current belief that any unlawful or malicious hacking occurred. We look forward to learning more about your statement that the records were
         publicly available. Understanding how the nonpublic records may have been unintentionally swept up with
         the public records will help us to better secure our data.



         Sending over the invite for tomorrow's call shortly.



         Sincerely,



         Rick



         --




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726231810445815982&simpl=msg-f%3A1726231810445815982                         2/7


                                                                                                                                                 Schwitzer000000084
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 148 of 186 Page ID #:1196

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

         ________________________________

         From: Kevan Schwitzer

         Sent: Sunday, February 27, 2022 15:52

         To: Rankin, Rick

         Subject: Re: ca state bar confidential data publicly accessible



         Sounds good. However, I would like to ask that you provide clarity on whether there is any belief that any kind of unlawful, malicious, or hacking activity has
         taken place.



         If anyone believes this is the case, it's important that I know because it would be reckless to join a meeting about the issue with that backdrop.



         On Sun, Feb 27, 2022 at 5:37 PM Rankin, Rick > wrote:

         Thank you for your speedy reply. I’ll send out an invite later today for our call.



         Let’s discuss our press release in the context of the situation in it’s entirety tomorrow. I’m sure we can figure this all out together.



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726231810445815982&simpl=msg-f%3A1726231810445815982                               3/7


                                                                                                                                                    Schwitzer000000085
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 149 of 186 Page ID #:1197

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Again, thank you for your quick reply. We look forward to speaking with you tomorrow.



         Rick




         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.



         ________________________________

         From: Kevan Schwitzer >

         Sent: Sunday, February 27, 2022 15:30

         To: Rankin, Rick >

         Subject: Re: ca state bar confidential data publicly accessible



         Also, the language in the original press release suggested there have been "unlawful activities". Is there any belief at this point that any kind of hacking or
         unlawful activities have taken place?

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726231810445815982&simpl=msg-f%3A1726231810445815982                               4/7


                                                                                                                                                    Schwitzer000000086
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 150 of 186 Page ID #:1198

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         I've posted on the info page details where this information was publicly accessible.



         On Sun, Feb 27, 2022 at 5:20 PM Kevan Schwitzer > wrote:

         Hi, sure I can meet at the 8:30am PDT time.



         On Sun, Feb 27, 2022 at 4:46 PM Rankin, Rick > wrote:

         Dear Mr. Schwitzer,



         We are in receipt of your email below and very much appreciate you reaching out to us.



         We would like to arrange a time to connect with you on this topic. Would you be available for a conference call with us at 8am or 830am PDT tomorrow,
         Monday Feb 28?



         Let me know if either of those times work for you and we will send over an invitation with connection details. If not, could you kindly propose some alternative
         times for us to speak?



         Sincerely,



         Rick Rankin



         --



         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726231810445815982&simpl=msg-f%3A1726231810445815982                                5/7


                                                                                                                                                  Schwitzer000000087
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 151 of 186 Page ID #:1199

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.




         ###




         From: Kevan Schwitzer >

         Sent: Saturday, February 26, 2022 9:07 PM

         To: The State Bar of California >

         Subject: ca state bar confidential data publicly accesible




         CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and know the
         content is safe.




         Hey, I saw these pages just a bit ago:



         https://www.pe.com/2022/02/26/260000-confidential-attorney-discipline-records-published-after-data-breach-state-bar-says/



         https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates<https://gcc02.safelinks.protection.outlook.com/?url=https%3A%2F%2Fwww.
         calbar.ca.gov%2FAbout-Us%2FNews%2FData-Breach-Updates&data=04%7C01%7CRick.Ranki



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726231810445815982&simpl=msg-f%3A1726231810445815982                              6/7


                                                                                                                                                 Schwitzer000000088
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 152 of 186 Page ID #:1200

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect




          invite.ics
          13K




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726231810445815982&simpl=msg-f%3A1726231810445815982                   7/7


                                                                                                                                               Schwitzer000000089
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 153 of 186 Page ID #:1201

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect



                                                                                                                                    Kevan Schwitzer <kevanschwitzer@gmail.com>



  State Bar of California + judyrecords.com connect
  1 message

  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                            Thu, Mar 3, 2022 at 4:42 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>, "nicholasalbright@emagined.com" <nicholasalbright@emagined.com>

    https://calbar.zoom.us/j/2386983752

    Rick Rankin is inviting you to a scheduled Zoom meeting.

    Join Zoom Meeting
    https://calbar.zoom.us/j/2386983752

    Meeting ID: 238 698 3752
    One tap mobile
    +16699009128,,2386983752# US (San Jose)
    +12532158782,,2386983752# US (Tacoma)


    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Monday, February 28, 2022 5:57:52 PM
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>; nicholasalbright@emagined.com <nicholasalbright@emagined.com>
    Subject: Re: State Bar of California + judyrecords.com connect

    Thanks guys,

    I appreciate your time discussing the issue and moving forward with next steps. To recap, we discussed 2 things to move forward on:
    - Working with Tyler to get a list of IDs of publicly accessible cases that should not have been accessible. This would include the domain, eid, and case id
    parameters so they can be removed. This can be provided in a single spreadsheet or in smaller ones by site.
    - I'll check into the reporting to see about the extended dates regarding the CA State Bar cases and how granular/time specific the data can get.

    As mentioned in the last email and in the discussion, my main priority is to get the data right on the judyrecords site, and remove the cases that were publicly
    accessible that shouldn't have been able to be accessed. We'll continue to work as well on addressing the scope of the CA State Bar data.

    We'll meet again at 4PT to discuss steps made on the issue and steps to take going forward.

    On Mon, Feb 28, 2022 at 10:32 AM <kevanschwitzer@gmail.com> wrote:

       https://us05web.zoom.us/j/6518577100?pwd=bGhnVGl5Z0s4ZmFDdXNQM1MzV21hZz09


https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726320338236431432&simpl=msg-f%3A1726320338236431432                                    1/7


                                                                                                                                                        Schwitzer000000090
                      Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 154 of 186 Page ID #:1202

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect

         State Bar of California + judyrecords.com connect
         When      Mon Feb 28, 2022 10:30am – 11:20am Central Time - Chicago
         Who       • Rankin, Rick - organizer
                   • kevanschwitzer@gmail.com - creator
                   • Nicholas Albright




         ________________________________

         From: Rankin, Rick

         Sent: Monday, February 28, 2022 2:12:37 AM

         To: Kevan Schwitzer

         Subject: Re: ca state bar confidential data publicly accessible

         Hi Kevan,



         We greatly appreciate you making contact with us, for taking down the records, and for being willing to speak with us tomorrow.



         It is not our current belief that any unlawful or malicious hacking occurred. We look forward to learning more about your statement that the records were
         publicly available. Understanding how the nonpublic records may have been unintentionally swept up with
         the public records will help us to better secure our data.



         Sending over the invite for tomorrow's call shortly.



         Sincerely,



         Rick



         --




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726320338236431432&simpl=msg-f%3A1726320338236431432                         2/7


                                                                                                                                                 Schwitzer000000091
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 155 of 186 Page ID #:1203

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

         ________________________________

         From: Kevan Schwitzer

         Sent: Sunday, February 27, 2022 15:52

         To: Rankin, Rick

         Subject: Re: ca state bar confidential data publicly accessible



         Sounds good. However, I would like to ask that you provide clarity on whether there is any belief that any kind of unlawful, malicious, or hacking activity has
         taken place.



         If anyone believes this is the case, it's important that I know because it would be reckless to join a meeting about the issue with that backdrop.



         On Sun, Feb 27, 2022 at 5:37 PM Rankin, Rick > wrote:

         Thank you for your speedy reply. I’ll send out an invite later today for our call.



         Let’s discuss our press release in the context of the situation in it’s entirety tomorrow. I’m sure we can figure this all out together.



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726320338236431432&simpl=msg-f%3A1726320338236431432                               3/7


                                                                                                                                                    Schwitzer000000092
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 156 of 186 Page ID #:1204

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect
         Again, thank you for your quick reply. We look forward to speaking with you tomorrow.



         Rick




         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

         213-393-6725



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.



         ________________________________

         From: Kevan Schwitzer >

         Sent: Sunday, February 27, 2022 15:30

         To: Rankin, Rick >

         Subject: Re: ca state bar confidential data publicly accessible



         Also, the language in the original press release suggested there have been "unlawful activities". Is there any belief at this point that any kind of hacking or
         unlawful activities have taken place?

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726320338236431432&simpl=msg-f%3A1726320338236431432                               4/7


                                                                                                                                                    Schwitzer000000093
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 157 of 186 Page ID #:1205

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         I've posted on the info page details where this information was publicly accessible.



         On Sun, Feb 27, 2022 at 5:20 PM Kevan Schwitzer > wrote:

         Hi, sure I can meet at the 8:30am PDT time.



         On Sun, Feb 27, 2022 at 4:46 PM Rankin, Rick > wrote:

         Dear Mr. Schwitzer,



         We are in receipt of your email below and very much appreciate you reaching out to us.



         We would like to arrange a time to connect with you on this topic. Would you be available for a conference call with us at 8am or 830am PDT tomorrow,
         Monday Feb 28?



         Let me know if either of those times work for you and we will send over an invitation with connection details. If not, could you kindly propose some alternative
         times for us to speak?



         Sincerely,



         Rick Rankin



         --



         Rick Rankin | IT Director (Interim)

         The State Bar of California

         180 Howard St. | San Francisco, CA 94105

         845 S. Figueroa St. | Los Angeles, CA 90017

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726320338236431432&simpl=msg-f%3A1726320338236431432                                5/7


                                                                                                                                                  Schwitzer000000094
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 158 of 186 Page ID #:1206

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect



         NEW! Schedule time with me HERE



         This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
         the intended recipient, you may not use, copy, or disclose the message in whole or in part. If
         you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.




         ###




         From: Kevan Schwitzer >

         Sent: Saturday, February 26, 2022 9:07 PM

         To: The State Bar of California >

         Subject: ca state bar confidential data publicly accesible




         CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and know the
         content is safe.




         Hey, I saw these pages just a bit ago:



         https://www.pe.com/2022/02/26/260000-confidential-attorney-discipline-records-published-after-data-breach-state-bar-says/



         https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates<https://gcc02.safelinks.protection.outlook.com/?url=https%3A%2F%2Fwww.
         calbar.ca.gov%2FAbout-Us%2FNews%2FData-Breach-Updates&data=04%7C01%7CRick.Ranki



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726320338236431432&simpl=msg-f%3A1726320338236431432                              6/7


                                                                                                                                                 Schwitzer000000095
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 159 of 186 Page ID #:1207

4/16/22, 3:42 PM                                                             Gmail - State Bar of California + judyrecords.com connect




          invite.ics
          13K




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1726320338236431432&simpl=msg-f%3A1726320338236431432                   7/7


                                                                                                                                               Schwitzer000000096
                         Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 160 of 186 Page ID #:1208

4/16/22, 3:43 PM                                                                                            Gmail - Zoom



                                                                                                                                             Kevan Schwitzer <kevanschwitzer@gmail.com>



  Zoom
  1 message

  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                                             Tue, Mar 15, 2022 at 1:19 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>

    https://calbar.zoom.us/j/2386983752

    --

    Rick Rankin | IT Director (Interim)
    The State Bar of California
    180 Howard St. | San Francisco, CA 94105
    845 S. Figueroa St. | Los Angeles, CA 90017
    213-393-6725

    NEW! Schedule time with me HERE

    This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for the intended recipient, you may
    not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1727390944126525252&simpl=msg-f%3A1727390944126525252                                                            1/1


                                                                                                                                                                          Schwitzer000000097
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 161 of 186 Page ID #:1209

4/16/22, 3:43 PM                                                                             Gmail - zoom connect



                                                                                                                              Kevan Schwitzer <kevanschwitzer@gmail.com>



  zoom connect
  1 message

  Kevan Schwitzer <kevanschwitzer@gmail.com>                                                                                                       Fri, Mar 25, 2022 at 3:07 PM
  To: "Rankin, Rick" <Rick.Rankin@calbar.ca.gov>

    https://us05web.zoom.us/j/3293341379?pwd=Wkh0RnlMODlMWWdIZVEzdjgxVmcyUT09




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-a%3Ar-5030897257376354395&simpl=msg-a%3Ar-4406595349537829701                              1/1


                                                                                                                                                    Schwitzer000000098
                        Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 162 of 186 Page ID #:1210

4/16/22, 3:43 PM                                                           Gmail - State Bar of California + judyrecords.com connect



                                                                                                                                  Kevan Schwitzer <kevanschwitzer@gmail.com>



  State Bar of California + judyrecords.com connect
  42 messages

  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                         Sun, Feb 27, 2022 at 8:22 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>




    From: Rankin, Rick <Rick.Rankin@calbar.ca.gov>
    Sent: Monday, February 28, 2022 2:12:37 AM
    To: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Subject: Re: ca state bar confidential data publicly accessible

    Hi Kevan,

    We greatly appreciate you making contact with us, for taking down the records, and for being willing to speak with us tomorrow.

    It is not our current belief that any unlawful or malicious hacking occurred. We look forward to learning more about your statement that the records
    were publicly available. Understanding how the nonpublic records may have been unintentionally swept up with the public records will help us to better
    secure our data.

    Sending over the invite for tomorrow's call shortly.

    Sincerely,

    Rick

    --

    Rick Rankin | IT Director (Interim)
    The State Bar of California
    180 Howard St. | San Francisco, CA 94105
    845 S. Figueroa St. | Los Angeles, CA 90017
    213-393-6725

    NEW! Schedule time with me HERE




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-735680400023335…   1/19


                                                                                                                                                      Schwitzer000000099
                        Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 163 of 186 Page ID #:1211

4/16/22, 3:43 PM                                                                      Gmail - State Bar of California + judyrecords.com connect
    This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for the intended recipient, you may
    not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Sunday, February 27, 2022 15:52
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>
    Subject: Re: ca state bar confidential data publicly accessible

    Sounds good. However, I would like to ask that you provide clarity on whether there is any belief that any kind of unlawful, malicious, or hacking activity has taken
    place.

    If anyone believes this is the case, it's important that I know because it would be reckless to join a meeting about the issue with that backdrop.

    On Sun, Feb 27, 2022 at 5:37 PM Rankin, Rick <Rick.Rankin@calbar.ca.gov> wrote:
     Thank you for your speedy reply. I’ll send out an invite later today for our call.

       Let’s discuss our press release in the context of the situation in it’s entirety tomorrow. I’m sure we can figure this all out together.

       Again, thank you for your quick reply. We look forward to speaking with you tomorrow.

       Rick


       --

       Rick Rankin | IT Director (Interim)
       The State Bar of California
       180 Howard St. | San Francisco, CA 94105
       845 S. Figueroa St. | Los Angeles, CA 90017
       213-393-6725

       NEW! Schedule time wi h me HERE

       This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for the intended recipient, you may
       not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.



       From: Kevan Schwitzer <kevanschwitzer@gmail.com>
       Sent: Sunday, February 27, 2022 15:30
       To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>
       Subject: Re: ca state bar confidential data publicly accessible

       Also, the language in the original press release suggested there have been "unlawful activities". Is there any belief at this point that any kind of hacking or
       unlawful activities have taken place?

       I've posted on the info page details where this information was publicly accessible.

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-735680400023335…                              2/19


                                                                                                                                                                           Schwitzer000000100
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 164 of 186 Page ID #:1212

4/16/22, 3:43 PM                                                                     Gmail - State Bar of California + judyrecords.com connect


       On Sun, Feb 27, 2022 at 5:20 PM Kevan Schwitzer <kevanschwitzer@gmail.com> wrote:
        Hi, sure I can meet at the 8:30am PDT time.

         On Sun, Feb 27, 2022 at 4:46 PM Rankin, Rick <Rick.Rankin@calbar.ca.gov> wrote:
            Dear Mr. Schwitzer,

            We are in receipt of your email below and very much appreciate you reaching out to us.

            We would like to arrange a time to connect with you on this topic. Would you be available for a conference call with us at 8am or 830am PDT
            tomorrow, Monday Feb 28?

            Let me know if either of those times work for you and we will send over an invitation with connection details. If not, could you kindly propose some
            alternative times for us to speak?

            Sincerely,

            Rick Rankin

            --

            Rick Rankin | IT Director (Interim)
            The State Bar of California
            180 Howard St. | San Francisco, CA 94105
            845 S. Figueroa St. | Los Angeles, CA 90017

            NEW! Schedule time with me HERE

            This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for the intended recipient, you
            may not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message.
            Thank you.

            ###

            From: Kevan Schwitzer <kevanschwitzer@gmail.com>
            Sent: Saturday, February 26, 2022 9:07 PM
            To: The State Bar of California <BARCOMM@calbar.ca.gov>
            Subject: ca state bar confidential data publicly accesible

            CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and know the content is safe.

            Hey, I saw these pages just a bit ago:
            https://www.pe.com/2022/02/26/260000-confidential-attorney-discipline-records-published-after-data-breach-state-bar-says/
            https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-735680400023335…                            3/19


                                                                                                                                                                        Schwitzer000000101
                       Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 165 of 186 Page ID #:1213

4/16/22, 3:43 PM                                                           Gmail - State Bar of California + judyrecords.com connect

            https://www.calbar.ca.gov/About-Us/News/News-Releases/state-bar-of-california-addresses-breach-of-confidential-data

            First thing, I removed all the CA state bar court cases in the judyrecords search index. All the records downloaded were publicly accessible on this
            portal:
            https://discipline.calbar.ca.gov/

            Second, I haven't been contacted about this issue and just checked for any communication from my hosting provider. Also, anyone can contact me for
            example on reddit with a simple google search.

            These cases were publicly accessible, so my assumption is that those are the cases open to the public. They weren't protected from public access.

            If there's anything I can do please let me know. Also, my direct number is


    ________________________________________________________________________________



    Microsoft Teams meeting
    Join on your computer or mobile app
    Click here to join the meeting

    Or call in (audio only)
    +1 323-433-2365,,180533399# United States, Los Angeles
    Phone Conference ID: 180 533 399#
    Find a local number | Reset PIN

    Learn More | Meeting options

    ________________________________________________________________________________


          invite.ics
          15K


  Kevan Schwitzer <kevanschwitzer@gmail.com>                                                                                                    Sun, Feb 27, 2022 at 10:33 PM
  To: "Rankin, Rick" <Rick.Rankin@calbar.ca.gov>

    OK, will see you then.

    What I can tell you after some digging is that I was able to pull a list of all the page CA State Bar page views between Oct 15 and Feb 23 and the number of total
    page views is 913 total. So a subset of this number would be the affected cases.
https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-735680400023335…   4/19


                                                                                                                                                     Schwitzer000000102
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 166 of 186 Page ID #:1214

4/16/22, 3:43 PM                                                                      Gmail - State Bar of California + judyrecords.com connect


    Fortunately, I was also able to pull the exact list of URLs as well. Attached.


    [Quoted text hidden]


           CA State Bar page views.pdf
           269K


  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                                            Mon, Feb 28, 2022 at 8:34 AM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>

    HI Kevan,

    Thank you for this additional information. Are you able to produce this data from Feb 23rd to the time the data was taken down, and is it possible to get the
    date and time each record was accessed?

    Much appreciated, speak with you soon.

    Rick

    --

    Rick Rankin | IT Director (Interim)
    The State Bar of California
    180 Howard St. | San Francisco, CA 94105
    845 S. Figueroa St. | Los Angeles, CA 90017
    213-393-6725

    NEW! Schedule time with me HERE

    This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for the intended recipient, you may
    not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.

    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Sunday, February 27, 2022 20:33
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>
    Subject: Re: State Bar of California + judyrecords.com connect

    [Quoted text hidden]



  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                                            Mon, Feb 28, 2022 at 8:34 AM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>, Nicholas Albright <NicholasAlbright@emagined.com>
https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-735680400023335…                           5/19


                                                                                                                                                                          Schwitzer000000103
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 167 of 186 Page ID #:1215

4/16/22, 3:43 PM                                                           Gmail - State Bar of California + judyrecords.com connect

    [Quoted text hidden]


          invite.ics
          15K


  Kevan Schwitzer <kevanschwitzer@gmail.com>                                                                                                     Mon, Feb 28, 2022 at 9:17 AM
  To: "Rankin, Rick" <Rick.Rankin@calbar.ca.gov>

    I think I can get that information, but need to check into exactly how.
    [Quoted text hidden]



  Kevan Schwitzer <kevanschwitzer@gmail.com>                                                                                                     Mon, Feb 28, 2022 at 9:19 AM
  To: "Rankin, Rick" <Rick.Rankin@calbar.ca.gov>

    After reviewing the issue, I'd like to take the lead on an action plan for immediate next steps and outline what I think is the right thing to do and logical way to
    proceed.

    Currently, all the CA State Bar cases have been taken down from judyrecords. At this point, however, the urgent priority needs to be on making sure any other
    cases that were publicly accessible but shouldn't have been are removed ASAP. For this, I'll basically need to get in contact with a capable engineer on the Tyler
    side to get a list of IDs that can be cross-referenced so that appropriate action can be taken. The 2nd part isn't specifically related to CA State Bar cases but is
    what needs to be the priority right now. This will allow identifying the scope of the issue and most importantly getting right with the data and making sure any
    issue of non-public cases being accessible is resolved.

    After these steps are taken, then it would make sense to take next steps as far as understanding the situation and moving from there. And at that point, all parties
    are in a justifiable position to report on the issue, it's scope, and how the issue has been dealt with and steps taken going forward. I think this makes the most
    sense from a public relations perspective but most importantly the steps above are the right thing to do today/right now. So to clarify, right now the issue needs to
    be treated as a technical one and once the steps above are handled, the appropriate non-technical steps can be taken and be appropriately informed.

    Will see you at the 10:30CT meeting time. We can discuss this plan and your feedback.


    [Quoted text hidden]



  kevanschwitzer@gmail.com <kevanschwitzer@gmail.com>                                                                                           Mon, Feb 28, 2022 at 10:32 AM
  Reply-To: kevanschwitzer@gmail.com
  To: rick.rankin@calbar.ca.gov, nicholasalbright@emagined.com, kevanschwitzer@gmail.com


    https://us05web.zoom.us/j/6518577100?pwd=bGhnVGl5Z0s4ZmFDdXNQM1MzV21hZz09


      State Bar of California + judyrecords.com connect


https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-735680400023335…   6/19


                                                                                                                                                     Schwitzer000000104
                        Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 168 of 186 Page ID #:1216

4/16/22, 3:43 PM                                                           Gmail - State Bar of California + judyrecords.com connect
      When         Mon Feb 28, 2022 10:30am – 11:20am Central Time - Chicago
      Who          • Rankin, Rick - organizer
                   • kevanschwitzer@gmail.com - creator
                   • Nicholas Albright


      ________________________________
      From: Rankin, Rick
      Sent: Monday, February 28, 2022 2:12:37 AM
      To: Kevan Schwitzer
      Subject: Re: ca state bar confidential data publicly accessible

      Hi Kevan,

      We greatly appreciate you making contact with us, for taking down the records, and for being willing to speak with us tomorrow.

      It is not our current belief that any unlawful or malicious hacking occurred. We look forward to learning more about your statement that the records were publicly
      available. Understanding how the nonpublic records may have been unintentionally swept up with the public records will help us to better secure our data.

      Sending over the invite for tomorrow's call shortly.

      Sincerely,

      Rick

      --

      Rick Rankin | IT Director (Interim)
      The State Bar of California
      180 Howard St. | San Francisco, CA 94105
      845 S. Figueroa St. | Los Angeles, CA 90017
      213-393-6725

      NEW! Schedule time with me HERE

      This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
      the intended recipient, you may not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender
      by reply e-mail and delete all copies of the message. Thank you.
      ________________________________
      From: Kevan Schwitzer
      Sent: Sunday, February 27, 2022 15:52
      To: Rankin, Rick
      Subject: Re: ca state bar confidential data publicly accessible

      Sounds good. However, I would like to ask that you provide clarity on whether there is any belief that any kind of unlawful, malicious, or hacking activity has
      taken place.

      If anyone believes this is the case, it's important that I know because it would be reckless to join a meeting about the issue with that backdrop.


https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-735680400023335…   7/19


                                                                                                                                                     Schwitzer000000105
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 169 of 186 Page ID #:1217

4/16/22, 3:43 PM                                                             Gmail - State Bar of California + judyrecords.com connect
      On Sun, Feb 27, 2022 at 5:37 PM Rankin, Rick > wrote:
      Thank you for your speedy reply. I’ll send out an invite later today for our call.

      Let’s discuss our press release in the context of the situation in it’s entirety tomorrow. I’m sure we can figure this all out together.

      Again, thank you for your quick reply. We look forward to speaking with you tomorrow.

      Rick


      --

      Rick Rankin | IT Director (Interim)
      The State Bar of California
      180 Howard St. | San Francisco, CA 94105
      845 S. Figueroa St. | Los Angeles, CA 90017
      213-393-6725

      NEW! Schedule time with me HERE

      This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
      the intended recipient, you may not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender
      by reply e-mail and delete all copies of the message. Thank you.

      ________________________________
      From: Kevan Schwitzer >
      Sent: Sunday, February 27, 2022 15:30
      To: Rankin, Rick >
      Subject: Re: ca state bar confidential data publicly accessible

      Also, the language in the original press release suggested there have been "unlawful activities". Is there any belief at this point that any kind of hacking or
      unlawful activities have taken place?

      I've posted on the info page details where this information was publicly accessible.

      On Sun, Feb 27, 2022 at 5:20 PM Kevan Schwitzer > wrote:
      Hi, sure I can meet at the 8:30am PDT time.

      On Sun, Feb 27, 2022 at 4:46 PM Rankin, Rick > wrote:
      Dear Mr. Schwitzer,

      We are in receipt of your email below and very much appreciate you reaching out to us.

      We would like to arrange a time to connect with you on this topic. Would you be available for a conference call with us at 8am or 830am PDT tomorrow,
      Monday Feb 28?

      Let me know if either of those times work for you and we will send over an invitation with connection details. If not, could you kindly propose some alternative
      times for us to speak?

      Sincerely,


https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-735680400023335…   8/19


                                                                                                                                                     Schwitzer000000106
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 170 of 186 Page ID #:1218

4/16/22, 3:43 PM                                                           Gmail - State Bar of California + judyrecords.com connect
      Rick Rankin

      --

      Rick Rankin | IT Director (Interim)
      The State Bar of California
      180 Howard St. | San Francisco, CA 94105
      845 S. Figueroa St. | Los Angeles, CA 90017

      NEW! Schedule time with me HERE

      This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for
      the intended recipient, you may not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender
      by reply e-mail and delete all copies of the message. Thank you.


      ###


      From: Kevan Schwitzer >
      Sent: Saturday, February 26, 2022 9:07 PM
      To: The State Bar of California >
      Subject: ca state bar confidential data publicly accesible

      CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and know the content
      is safe.

      Hey, I saw these pages just a bit ago:

      https://www.pe.com/2022/02/26/260000-confidential-attorney-discipline-records-published-after-data-breach-state-bar-says/

      https://www.calbar.ca.gov/About-Us/News/Data-Breach-Updates<https://gcc02.safelinks.protection.outlook.com/?url=https%3A%2F%2Fwww.
      calbar.ca.gov%2FAbout-Us%2FNews%2FData-Breach-Updates&data=04%7C01%7CRick.Ranki




  Kevan Schwitzer <kevanschwitzer@gmail.com>                                                                                                    Mon, Feb 28, 2022 at 11:57 AM
  To: "Rankin, Rick" <rick.rankin@calbar.ca.gov>, nicholasalbright@emagined.com

    Thanks guys,

    I appreciate your time discussing the issue and moving forward with next steps. To recap, we discussed 2 things to move forward on:
    - Working with Tyler to get a list of IDs of publicly accessible cases that should not have been accessible. This would include the domain, eid, and case id
    parameters so they can be removed. This can be provided in a single spreadsheet or in smaller ones by site.
    - I'll check into the reporting to see about the extended dates regarding the CA State Bar cases and how granular/time specific the data can get.

    As mentioned in the last email and in the discussion, my main priority is to get the data right on the judyrecords site, and remove the cases that were publicly
    accessible that shouldn't have been able to be accessed. We'll continue to work as well on addressing the scope of the CA State Bar data.
https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-735680400023335…   9/19


                                                                                                                                                     Schwitzer000000107
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 171 of 186 Page ID #:1219

4/16/22, 3:43 PM                                                            Gmail - State Bar of California + judyrecords.com connect


    We'll meet again at 4PT to discuss steps made on the issue and steps to take going forward.
    [Quoted text hidden]



  Rankin, Rick Rick Rankin@calbar ca gov                                                                                      Mon, Feb 28, 2022 at 12 11 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>, "nicholasalbright@emagined.com" <nicholasalbright@emagined.com>, "Mazer, Steve"
  <Steve.Mazer@calbar.ca.gov>

    https://calbar.zoom.us/j/2386983752

    Rick Rankin is inviting you to a scheduled Zoom meeting.

    Join Zoom Meeting
    https://calbar.zoom.us/j/2386983752

    Meeting ID: 238 698 3752
    One tap mobile
    +16699009128,,2386983752# US (San Jose)
    +12532158782,,2386983752# US (Tacoma)


    From Kevan Schwitzer kevan chwitzer@gmail com
    Sent: Monday, February 28, 2022 5:57:52 PM
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>; nicholasalbright@emagined.com <nicholasalbright@emagined.com>
    Subject: Re: State Bar of California + judyrecords.com connect

    [Quoted text hidden]


           invite.ics
           13K


  Rankin, Rick <Rick.Rankin@calbar.ca.gov>                                                                                                       Mon, Feb 28, 2022 at 5:28 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>, "nicholasalbright@emagined.com" <nicholasalbright@emagined.com>

    Thank you Kevan as well.

    Look forward to our update call at 4pm / 6pm. We have a few updates to share with you.

    RIck

    --

    Rick Rankin | IT Director (Interim)

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-73568040002333…   10/19


                                                                                                                                                     Schwitzer000000108
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 172 of 186 Page ID #:1220

4/16/22, 3:43 PM                                                                      Gmail - State Bar of California + judyrecords.com connect
    The State Bar of California
    180 Howard St. | San Francisco, CA 94105
    845 S. Figueroa St. | Los Angeles, CA 90017
    213-393-6725

    NEW! Schedule time with me HERE

    This message contains confidential information that may also be privileged. Unless you are the intended recipient or are authorized to receive information for the intended recipient, you may
    not use, copy, or disclose the message in whole or in part. If you have received this message in error, please advise the sender by reply e-mail and delete all copies of the message. Thank you.



    From: Kevan Schwitzer <kevanschwitzer@gmail.com>
    Sent: Monday, February 28, 2022 09:57
    To: Rankin, Rick <Rick.Rankin@calbar.ca.gov>; nicholasalbright@emagined.com <nicholasalbright@emagined.com>
    Subject: Re: State Bar of California + judyrecords.com connect

    [Quoted text hidden]



  Nicholas Albright <NicholasAlbright@emagined.com>                                                                                                                   Mon, Feb 28, 2022 at 8:51 PM
  To: Kevan Schwitzer <kevanschwitzer@gmail.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>


    You've received an encrypted message from NicholasAlbright@emagined.com
    To view your message
    Save and open the attachment (message html), and follow the instructions
    Sign in using the following email address kevanschwitzer@gmail.com



    This email message and its attachments are for the sole use of the intended recipient or recipients and may contain
    confidential information. If you have received this email in error, please notify the sender and delete this message.




         Message encryption by Microsoft Office 365



          message.html
          103K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                                                                   Tue, Mar 1, 2022 at 1:05 AM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>

https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-73568040002333…                            11/19


                                                                                                                                                                          Schwitzer000000109
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 173 of 186 Page ID #:1221

4/16/22, 3:43 PM                                                            Gmail - State Bar of California + judyrecords.com connect
  Cc: Kevan Schwitzer <kevanschwitzer@gmail.com>


    You've received an encrypted message from kevanschwitzer@gmail.com
    [Quoted text hidden]


          message.html
          102K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                               Tue, Mar 1, 2022 at 1:32 AM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          117K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                               Tue, Mar 1, 2022 at 1:51 AM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          121K


  rick.rankin@calbar.ca.gov <Office365@messaging.microsoft.com>                                                                                   Tue, Mar 1, 2022 at 10:03 AM
  Reply-To: "rick.rankin@calbar.ca.gov" <rick.rankin@calbar.ca.gov>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  Cc: "rick.rankin@calbar.ca.gov" <rick.rankin@calbar.ca.gov>


    You've received an encrypted message from rick.rankin@calbar.ca.gov
    [Quoted text hidden]


          message.html
          123K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                                             Wed, Mar 2, 2022 at 4:39 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>
https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-73568040002333…   12/19


                                                                                                                                                     Schwitzer000000110
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 174 of 186 Page ID #:1222

4/16/22, 3:43 PM                                                            Gmail - State Bar of California + judyrecords.com connect
  Cc: Kevan Schwitzer <kevanschwitzer@gmail.com>


    You've received an encrypted message from kevanschwitzer@gmail.com
    [Quoted text hidden]


          message.html
          106K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                               Wed, Mar 2, 2022 at 6:22 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          108K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                               Wed, Mar 2, 2022 at 7:39 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          110K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                               Wed, Mar 2, 2022 at 8:43 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          117K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                              Wed, Mar 2, 2022 at 10:36 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-73568040002333…   13/19


                                                                                                                                                     Schwitzer000000111
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 175 of 186 Page ID #:1223

4/16/22, 3:43 PM                                                            Gmail - State Bar of California + judyrecords.com connect

          message.html
          24892K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                              Wed, Mar 2, 2022 at 10:41 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          128K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                               Thu, Mar 3, 2022 at 6:45 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          506K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                              Sun, Mar 6, 2022 at 11:02 AM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          231K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                               Sun, Mar 6, 2022 at 2:13 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          9221K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                                              Sun, Mar 6, 2022 at 2:21 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-73568040002333…   14/19


                                                                                                                                                     Schwitzer000000112
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 176 of 186 Page ID #:1224

4/16/22, 3:43 PM                                                            Gmail - State Bar of California + judyrecords.com connect
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          184K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                               Sun, Mar 6, 2022 at 2:26 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          2321K


  Nicholas Albright <NicholasAlbright@emagined.com>                                                                                                Sun, Mar 6, 2022 at 2:45 PM
  To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>


    You've received an encrypted message from NicholasAlbright@emagined.com
    [Quoted text hidden]


          message.html
          150K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                                             Fri, Mar 11, 2022 at 12:56 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>
  Cc: Kevan Schwitzer <kevanschwitzer@gmail.com>


    You've received an encrypted message from kevanschwitzer@gmail.com
    [Quoted text hidden]


          message.html
          1164K


  Nicholas Albright <NicholasAlbright@emagined.com>                                                                                                Fri, Mar 11, 2022 at 1:59 PM
  To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>


https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-73568040002333…   15/19


                                                                                                                                                     Schwitzer000000113
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 177 of 186 Page ID #:1225

4/16/22, 3:43 PM                                                            Gmail - State Bar of California + judyrecords.com connect


    You've received an encrypted message from NicholasAlbright@emagined.com
    [Quoted text hidden]


          message.html
          161K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                                              Fri, Mar 11, 2022 at 2:22 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>
  Cc: Kevan Schwitzer <kevanschwitzer@gmail.com>


    You've received an encrypted message from kevanschwitzer@gmail.com
    [Quoted text hidden]


          message.html
          151K


  Nicholas Albright <NicholasAlbright@emagined.com>                                                                                                Fri, Mar 11, 2022 at 2:57 PM
  To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>

    [Quoted text hidden]


          message.html
          164K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                                              Fri, Mar 11, 2022 at 3:05 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: Nicholas Albright <NicholasAlbright@emagined.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>
  Cc: Kevan Schwitzer <kevanschwitzer@gmail.com>


    You've received an encrypted message from kevanschwitzer@gmail.com
    [Quoted text hidden]


          message.html
          152K


  Nicholas Albright <NicholasAlbright@emagined.com>                                                                                                Fri, Mar 11, 2022 at 3:49 PM
  To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>, "Rankin, Rick" <rick.rankin@calbar.ca.gov>
  Cc: Kevan Schwitzer <kevanschwitzer@gmail.com>
https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-73568040002333…   16/19


                                                                                                                                                     Schwitzer000000114
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 178 of 186 Page ID #:1226

4/16/22, 3:43 PM                                                            Gmail - State Bar of California + judyrecords.com connect



    You've received an encrypted message from NicholasAlbright@emagined.com
    [Quoted text hidden]


          message.html
          159K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                                             Thu, Mar 24, 2022 at 2:36 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: "rick.rankin@calbar.ca.gov" <rick.rankin@calbar.ca.gov>
  Cc: Kevan Schwitzer <kevanschwitzer@gmail.com>


    You've received an encrypted message from kevanschwitzer@gmail.com
    [Quoted text hidden]


          message.html
          268K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                                             Thu, Mar 24, 2022 at 7:08 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: "rick.rankin@calbar.ca.gov" <rick.rankin@calbar.ca.gov>
  Cc: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          266K


  Rick Rankin <Office365@messaging.microsoft.com>                                                                                                  Fri, Mar 25, 2022 at 8:11 AM
  Reply-To: "rick.rankin@calbar.ca.gov" <rick.rankin@calbar.ca.gov>
  To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  Cc: Rick Rankin <rick.rankin@calbar.ca.gov>


    You've received an encrypted message from rick.rankin@calbar.ca.gov
    [Quoted text hidden]


          message.html
          268K



https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-73568040002333…   17/19


                                                                                                                                                     Schwitzer000000115
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 179 of 186 Page ID #:1227

4/16/22, 3:43 PM                                                            Gmail - State Bar of California + judyrecords.com connect
  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                                              Fri, Mar 25, 2022 at 8:22 AM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: "rick.rankin@calbar.ca.gov" <rick.rankin@calbar.ca.gov>
  Cc: Kevan Schwitzer <kevanschwitzer@gmail.com>


    You've received an encrypted message from kevanschwitzer@gmail.com
    [Quoted text hidden]


          message.html
          310K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                                              Fri, Mar 25, 2022 at 8:23 AM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: "rick.rankin@calbar.ca.gov" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          328K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                                           Wed, Mar 30, 2022 at 11:56 AM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: "rick.rankin@calbar.ca.gov" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          335K


  Rick Rankin <Office365@messaging.microsoft.com>                                                                                               Wed, Mar 30, 2022 at 12:22 PM
  Reply-To: "rick.rankin@calbar.ca.gov" <rick.rankin@calbar.ca.gov>
  To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>


    You've received an encrypted message from rick.rankin@calbar.ca.gov
    [Quoted text hidden]


          message.html
          333K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                                           Wed, Mar 30, 2022 at 12:33 PM
https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-73568040002333…   18/19


                                                                                                                                                     Schwitzer000000116
                           Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 180 of 186 Page ID #:1228

4/16/22, 3:43 PM                                                            Gmail - State Bar of California + judyrecords.com connect
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: "rick.rankin@calbar.ca.gov" <rick.rankin@calbar.ca.gov>
  Cc: Kevan Schwitzer <kevanschwitzer@gmail.com>


    You've received an encrypted message from kevanschwitzer@gmail.com
    [Quoted text hidden]


          message.html
          339K


  Kevan Schwitzer <Office365@messaging.microsoft.com>                                                                                           Wed, Mar 30, 2022 at 12:37 PM
  Reply-To: "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>
  To: "rick.rankin@calbar.ca.gov" <rick.rankin@calbar.ca.gov>, "kevanschwitzer@gmail.com" <kevanschwitzer@gmail.com>

    [Quoted text hidden]


          message.html
          342K




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-f%3A1725971756085106240&simpl=msg-f%3A1725971756085106240&simpl=msg-a%3Ar-73568040002333…   19/19


                                                                                                                                                     Schwitzer000000117
                     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 181 of 186 Page ID #:1229

4/16/22, 3:44 PM                                                                          Gmail - amended complaint



                                                                                                                              Kevan Schwitzer <kevanschwitzer@gmail.com>



  amended complaint
  1 message

  Kevan Schwitzer <kevanschwitzer@gmail.com>                                                                                                      Wed, Apr 13, 2022 at 9:31 AM
  To: "Rankin, Rick" <Rick.Rankin@calbar.ca.gov>

    Just got this a bit ago (attached).

    Hope you're doing well.

          DataBreach - Class Action Complaint FAC.pdf
          330K




https://mail.google.com/mail/u/0/?ik=51338fdbf1&view=pt&search=all&permthid=thread-a%3Ar1253987221705886029&simpl=msg-a%3Ar-1873554863706341255                              1/1


                                                                                                                                                     Schwitzer000000118
     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 182 of 186 Page ID #:1230



1                               PROOF OF SERVICE OF DOCUMENT
2
3      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding.
4      My business address is: 1968 S Coast Hwy #3960, Laguna Beach, CA 92651
       A true and correct copy of the foregoing document entitled:
5
       DECLARATION OF KEVAN SCHWITZER FILED IN SUPPORT MOTION
6      FOR PRELIMINARY INJUNCTION
7      will be served or was served (a) on the judge in chambers in the form and manner
8      required by LBR; and (b) in the manner stated below:
9
       3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
10
       TRANSMISSION OR EMAIL (state method for each person or entity served):
11     Pursuant to F.R.Civ.P. on 08-05-2022, I served the following persons and/or entities ECF
12
       or email as follows:

13     X Service information continued on attached page
14     I declare under penalty of perjury under the laws of the United States that the foregoing
       is true and correct.
15
16      08-06-2022               James D. Ocon                   /s/James D. Ocon
17      Date                 Printed Name                        Signature
18
19
20
21
22
23
24
25
26
27
28
                                                          2
       DECLARATION OF KEVAN SCHWITZER FILED IN SUPPORT MOTION
       FOR PRELIMINARY INJUNCTION
                     Roe v The State Bar of California, et al.     22-CV-00983-DFM
     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 183 of 186 Page ID #:1231



1                                           SERVICE BY ECF
2      Defendant
3      The State Bar of California               represented by Michael G Rhodes
4                                                               Cooley LLP
                                                                3 Embarcadero Center 20th Floor
5                                                               San Francisco, CA 94111
6                                                               415-693-2000
                                                                Fax: 415-693-2222
7
                                                                Email: rhodesmg@cooley.com
8                                                               LEAD ATTORNEY
9                                                               ATTORNEY TO BE NOTICED
10                                                             Barrett J Anderson
11                                                             Cooley LLP
                                                               4401 Eastgate Mall
12
                                                               San Diego, CA
13                                                             858-550-6000
14
                                                               Fax: 858-550-6420
                                                               Email: banderson@cooley.com
15                                                             ATTORNEY TO BE NOTICED
16
                                                               Gregory John Merchant
17                                                             Cooley LLP
18                                                             3175 Hanover Street
                                                               Palo Alto, CA 94304
19
                                                               650-843-5620
20                                                             Email: gmerchant@cooley.com
21                                                             ATTORNEY TO BE NOTICED
22                                                             Walter Waidelich
23                                                             Cooley LLP
                                                               4401 Eastgate Mall
24
                                                               San Diego, CA 92121
25                                                             858-550-6000
26                                                             Fax: 858-550-6420
                                                               Email: cwaidelich@jonesday.com
27                                                             ATTORNEY TO BE NOTICED
28
                                                        3
       DECLARATION OF KEVAN SCHWITZER FILED IN SUPPORT MOTION
       FOR PRELIMINARY INJUNCTION
                   Roe v The State Bar of California, et al.        22-CV-00983-DFM
     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 184 of 186 Page ID #:1232



1      Defendant
2      Tyler Technologies, Inc.                  represented by Jason Nathaniel Haycock
3      also known as                                            K and L Gates LLP
       Doe 1                                                    Four Embarcadero Center Suite
4                                                               1200
5                                                               San Francisco, CA 94111
                                                                415-882-8200
6
                                                                Fax: 415-882-8220
7                                                               Email:
8                                                               jason.haycock@klgates.com
                                                                LEAD ATTORNEY
9                                                               ATTORNEY TO BE NOTICED
10
                                                               Christina N Goodrich
11
                                                               K and L Gates LLP
12                                                             10100 Santa Monica Boulevard
13                                                             8th Floor
                                                               Los Angeles, CA 90067
14                                                             310-552-5000
15                                                             Fax: 310-552-5001
                                                               Email:
16
                                                               christina.goodrich@klgates.com
17                                                             ATTORNEY TO BE NOTICED
18     Defendant
19     Kevan Schwitzer                           represented by David Belcher
20
                                                                Faegre Drinker Biddle and Reath
                                                                LLP
21                                                              1800 Century Park East Suite 1500
22                                                              Los Angeles, CA 90067
                                                                310-203-4000
23                                                              Fax: 310-229-1285
24                                                              Email:
                                                                david.belcher@faegredrinker.com
25
                                                                LEAD ATTORNEY
26                                                              ATTORNEY TO BE NOTICED
27
                                                               Peter William Baldwin
28
                                                        4
       DECLARATION OF KEVAN SCHWITZER FILED IN SUPPORT MOTION
       FOR PRELIMINARY INJUNCTION
                   Roe v The State Bar of California, et al.        22-CV-00983-DFM
     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 185 of 186 Page ID #:1233



1                                                              Faegre Drinker Bibble and Reath
2                                                              LLP
                                                               1177 Avenue of the Americas 41st
3
                                                               Floor
4                                                              New York, NY 10036
5                                                              212-248-3140
                                                               Fax: 212-248-3141
6                                                              Email:
7                                                              peter.baldwin@faegredrinker.com
                                                               ATTORNEY TO BE NOTICED
8
9
       Defendant                                               Michael Gold
       Rick Rankin                                             MAG@jmbm.com via Email
10
11
       Tiana A. Demas     tdemas@cooley.com
12
13     Christina N. Goodrich     klgateseservice@klgates.com, christina.goodrich@klgates.com
14
15     Michael Allan Gold      mgold@jmbm.com, cl7@jmbm.com, mastercalendar@jmbm.com
16
17     Lenore L Albert docket@interactivecounsel.com, lenorealbert@msn.com,
18     lenalbert@interactivecounsel.com
19
       Justin Alexander Anderson learly@jmbm.com, janderson@jmbm.com,
20     mastercalendar@jmbm.com
21
       Michael G Rhodes mrhodes@cooley.com, john-brocales-7263@ecf.pacerpro.com,
22     efiling-notice@ecf.pacerpro.com, efilingnotice@cooley.com, rhodesmg@cooley.com,
23     smartinez@cooley.com
24
       Walter Waidelich     cwaidelich@cooley.com, kjones@cooley.com
25
26
       David Belcher docketgeneral@faegredrinker.com, shanta.teekah@faegredrinker.com,
       david.belcher@faegredrinker.com
27
28     Beth W. Petronio     beth.petronio@klgates.com
                                                        5
       DECLARATION OF KEVAN SCHWITZER FILED IN SUPPORT MOTION
       FOR PRELIMINARY INJUNCTION
                   Roe v The State Bar of California, et al.       22-CV-00983-DFM
     Case 8:22-cv-00983-DFM Document 78 Filed 08/06/22 Page 186 of 186 Page ID #:1234



1
2      Gregory John Merchant       gmerchant@cooley.com
3      Peter William Baldwin peter.baldwin@faegredrinker.com,
4      usacac.criminal@usdoj.gov, peter.baldwin@usdoj.gov
5
       Barrett J Anderson banderson@cooley.com, mdejesus@cooley.com, efiling-
6      notice@ecf.pacerpro.com
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                        6
       DECLARATION OF KEVAN SCHWITZER FILED IN SUPPORT MOTION
       FOR PRELIMINARY INJUNCTION
                   Roe v The State Bar of California, et al.   22-CV-00983-DFM
